Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 1 of 168

JS 44 (Rc\'. 12."12)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the fni`ormatt`on contained herein neither rct:_piace no;_ s}upp_}emcnt the iiiin and service of` pleadings or other papers as required by law, except as
erence o ti

provided by loca|_ rules oi`eourt. This form_ approved by the ludicial Con
purpose of initiating the civil docket shect.

l. (a) PLAlNTlFFS
sYCAMORE PETRoi_EuM-Kc oiL, LLC, et ai.

(b) County of` Residcnce 0[` First Listed P|nintift`
(!:`/\'Cl:`l"i"lN U.S. I’!A!N'i"i'l"i'" CASI:`.§J

(C) Atiomcys (i'"r‘rm Name. Arlz.'res.\'. amf 7bh.'pi'rurre Nwribed
Pepper Hami|ton LLP, Francis .J. Lawal| & John L. Schweder, ll
3000 Two Logan Sq., 1Bth 81 Sts., Phi|adeiphia, PA 19103

Chester, PA

c nited Siates in cptembcr 1974, is required for the use ofihe C,lerk ofCourt for the

(.\'l:`i':` JMS`TT£UCHONS ()N Ni':`Xf`I'AGI:' OF '1"HIS I"ORM.)

DEF`ENDANTS
KC O|L. lNC., et a|.

County oi`Residence oi`First Listed De(endtmt M@rcer NJ
(JN U.S. I’JA!AFI‘H"I-'CA.S'!:B` ONLY)

IN LAND CONDEI\'INAT|ON CASES, USE THE LOCAT]ON OF
THE TR.ACT OF L.AND INVOLVED.

NO'I'E:

Ailot'rlcys (HKmJ\t'ri}
Lewis & Forrey, LLC, David F. Forrey
15 Chambers St.

215.981.4000

 

Princeton, NJ 08542

 

II. BASIS OF JUR[SDICTION (Place nn “.\’”r`nOne lio.\'Om'y)

U 1 U.S. Gnvemment

Plaintii`f

13 2 U.S. Governmem
Dcfendnnt

Cl 3 Federa[ Qu¢:stion
(U.S. G'averrr.uien.' Nor a l’ar.ry}

25 4 Diversity
floridaan Cr'rizen.s'!u;r) ofi"ar.'r'e.\' in hem H.U

 

(For Diver.\'iiy Ca.s'e.s' 011.51)

ll I. CITIZENSHIP OF PRINCIPAL PART]ES (Plcrr:e an "X" m One Bo.rjbr l’.l'ar'.'rrr'g?'

and One .anfar De_j%ndmil)

PTF DEF PTF D EF
Citizcn of'l"liis State H 1 ij l lncorpomted or Princt'p:tl l"lzlcc C| 4 Cl 4
ofBusiness In Tl)is Sl:ttc
Cilt`zen ot`Anot.her Stule l:l 2 H 2 [ncorporuted and Principnl Pl:lce D 5 d 5
of`Business in Anelhcr State
Citizen or Sttbject ot'a Cl 3 ij 3 Fereign Na\t'on |J 6 ij 6

Foreirzn Cotmtrv

 

 

 

 

 

 

 

 

 

lV. NATURE OF SUIT (f’lace an "X" in Om: b‘u:r Om'y)
1` `CONTRA`CT.: ' : ' ;… ‘? " - *?~ ~.".`iil-T()RTS-' iFORFElTUREIPENiAL'I_§Y£ ANKRUP.TGY"~‘
110 Insttranec PERSONAL lNJURY PERSONAL lNJURY El 625 Drug Re!ated Seizure E'l 422 Appea! 28 USC 158 375 False C[aims Act
120 Murine ij 310 Airplane EI 365 I’ersonal Injury - ofProperty 21 USC 381 Cl 423 Wit.hdrawal 400 Stute Reapponionment

130 Miller Act

140 Negetiablc lnstmiuent

150 Recevcry of Overpaymcnt
& En{`orcement ofJudgment

151 Mr:dii::tre Acl

152 Reeovery nfDefuulted
Studem Loans
(Excludes Veterans)

153 Rccovery of Overpayment
ofVeter:in's Bcnet`its

Cl 160 Stockl\e]ders' Suits

§ 190 Other Contract

ij 195 Contract Product I_,iabiliiy

ij 196 Fr:lrtc]l:'se

C||:| C]UDUC|

D

     

  

RE RROBER
|J 210 Land Condcmnation
Cl 220 Fore::losure
ij 230 Rem Lease &. Ejectment
ij 240 Torts to Land
Cl 245 Tort Froduet Liabi]ily
ij 290 All Olher Rea] Propeny

   

 

D 315 Airplane Produet Producc Liability

['l 690 Ot.her

28 USC 157

 

 

~ROPER'HY€RIGHTS
13 320 Copyrigltis

Cl 830 Paient

|:l 340 Traclemark

 

 

 

OGI‘A"[Z~‘SEGURETY

 

 

Li::b:'lity Ei 367 HeaIlh Care.'
Cl 320 Assau]t, I_ihe[ & P]iarmaceutical
Slander Personai Injl.try
ij 330 Federal Employcrs’ Product Liability
Lial:i]ity |J 368 Asl:=stos Personal
i:l 340 Mariue Injury Produci
D 345 Marirte Prodttci liability B\'BOR
Liability PERSONAL PROPERTY C| 710 Fair I.al)or Standards
ij 350 Moror Vehicle ij 370 Other qud Ac\
D 355 Motor Vehic]e ij 371 Truih in Lending Cl 720 Labor/szn:igement
Prciduct liability ij 380 Othcr Personal Relazious
D 360 Other Persona[ Property Damage l:l 740 Railway Labor Act
lnjury ij 385 Property Damage Cl 751 anily and Medical

Product Liability

U 362 Personal Injury -
Medica] Mai raciiee

GI';V;I[§§RIGH§ITS

ij 440 Ot]lcr Civil Rights

C] 441 Veiiug

l:l 442 Employment

|:l 443 Housing."

Acoommorlalions
ij 445 Amcr. \vaisabiliticS -

Haheas Cor|)us:
E.`| 463 Alien Detaince
|'.J 510 Motions to Vacate
Sentence
U 530 Genera[
ij 535 Dcath Penalty

  

Employm¢:nt Otlter:
|:| 446 Amer_ waisabilities - Ef 540 Mandamus &. Other
Othcr ij 550 Ci\'il Rig[lts

C] 555 Prison Condition

Cl 560 Civil Detaincc -
Condiliens of
Confirtenlent

ij 448 Educ:ttion

 

   
  

Leave Act
C| 790 Other Labor Lt'tigation

D 791 Employee Reiirement

      

income Secun`ty Act

    
 
 

2 Naturall`zation Applicatton
ij 465 Other Inum`_gration
Actiorts

 

  

ij 870 Taxes [U.S, Plafrtiiff

 

 

rJ 861 HiA(i395ft‘)

El 862 Bl:tck Lung {923)

IJ 863 DlWC/DIWW {405(3))
ij 864 SSID Titlc XVl

cl 865 Rsl (405(g)}

U|;l |:IUC||:| UOEI UE|C|DUUC|

EDERLW£B‘=T`[“A?§§SU!T

 

or Defendant)
Cl 871 IR.S_Third Party
26 USC 7609

Cl

 

410 Amiit'nst

430 Banlts and Banking

450 Commeree

460 Deportaiien

470 Rackeleer [nfluenced and
Cerrupt Organimrions

480 C`onsumcr Credit

490 Cable/Sat TV

850 Securitiestommodities/
Excltang€

390 OLl)er Statutory Actiuns

891 Agricullura] Aets

393 Environmencal Maticrs

895 Frcedom of Irtforma\icn
Act

896 A.rbitration

899 Adrninistrative Procedut‘e
Actchvie\v or Appeal of
Agency Decision

950 Censt.itutiunality of
Srzne Statures

 

V. ORIGIN (P.l'ace an “X" in One Bo.r Om'y)

Ml Original
Proceeding .

VI. CAUSE OF ACTION

ij 2 Removed from
State Court

lIl 3 Remanded from
Appellate Court

Cl

Cite the U,S. Civii Statute under which
28 U.S.C. 1332{3)(1)

Brief description ofcause:

 

4 Reinstated or
Reopened

Ei 5 Transferrcc_l from
Another Distnct
(SF€¢`D§’)

you arc 111 ing (Dc) not ci!ejurisdieriomri' stands unless a'r`versr°ty):

i:l 6 M_ultidistriet
I.,ltigation

Defendants breached the representation and warranty provision of written contracts, which damaged plaintiffs

 

 

 

 

 

 

VII. REQUESTED IN lfl cHEcK rF THIS ls A cLAss ACTION DEMAND S CHECK YES vuly if demanded in compfaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY I)EMAND: >:i Yes i:l No
vIII. RELATED CASE(S) 3
.r`m:! ' s .‘
IF ANY ( ge mc'm") JUDGE DOCKET NUMBER
DATE SIGNATURE OF A'I`TORNEY OF RECORD
01728/2015 /S/ John L. Schweder, i|; Pepper Hami|ton LLP
FOR OFFICE USE ONLY
RECEIPT# AMOUN'I` APPLYING IFP JUDGE ` MAG. JUDGE

 

-___“

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 2 ot 168
JS 44 Rcvcrsc (Rcv. 12/|2)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Autliority For Civil Cover Slieet

Tlic JS 44 civil cover sheet and the information contained fiercin neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. Tliis form, approved by t|ie Judicial Conference oft|ie United States in Septecnber 1974, is
required for the use ofthc Cleric ol`Court t`or the purpose ofinitiating the civil docket sliect. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint tiled. Tlic attorney filing a case should complete the form as follows:

1.(a) Plaintiffs-Dcfendants. Enter names (1ast, lirst, middle initial) ofplaintil`fand defendant Il`t|ie plaiiitiff`or defendant is a government ageiicy, use
only the full name or standard abbreviations. ll`the plaiiitifl`or defendant is an official within a government agency, identify first the agency and
then tlic ofticial, giving both name acid title.

(b) County ochsidcnee. For each civil case filcd, except U.S. plaintiffcases, enter the name oftlie county where tlie first listed plaintiffresides at tlie
time offiling. ln U.S. plaintiff cases, enter the name oftlie county iii which the first listed defendant resides at the time offiling. (NOTE: In land
condemnation cases, tlie county of residence of the "del`endaiit" is the location of the tract of land involved.)

(e) Attorneys. Enter the firm name, address, telephone number, and attorney of record. lf there are several attorneys, list them on an attachment, noting
iii this section "(see attachment)".

II. Jurisdiction. Tlie basis of jurisdiction is set forth under Rule S(a), F.R.Cv.P., which requires tliatjurisdictions be shown iii pleadings Place an "X"
in one ofthe boxes. Ifthere is more than one basis ofjurisdictioii, precedence is given in the order shown belo\v.
United States plaintiff (l) .ltirisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers ofthe United States are included here.
United States defendant (2) Wlien the plaintiff is suing tlie United States, its officers or agencies, place an "X" in this box.
Federal question. (3) Tliis refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty oftlie United States. ln cases where the U.S. is a party, the U.S. plaiiitiffor defendant code takes
precedence, and box 1 or 2 should be niarked.
Divcrsity of citizenship (4) Tliis refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checkcd, the
citizenship oftlie different parties must be checked. (See Section 111 below; NOTE: federal question actions take precedence over diversity
cases.)

III. Residenec (citizenship) of Principal I’artics. This section ofthe JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

IV. Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of` action, in Section VI below, is
sufficient to citable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
one nature of suit, select tlie most definitive

V. Origin. Place an "X" iii one ofthe six boxes.
Original Proeeedings. (l) Cases which originate in the United States district courts.
Removed from Statc Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441 .
When the petition for removal is granted, check this box.
Remanded from Appcllate Court. (3) Checl< this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district eourt. Use the reopening date as the filing datc.
Transferred front Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(3). Do not use this for within district transfers or
multidistrict litigation transfers.
Multidistriet Litigation. (6) Clieel< this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
When this box is checked, do not check (5) above.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Examp|e: U.S. Civil Statute: 47 USC 553 Brief Dcscription: Unauthorized reception of cable service

VII, chuestcd in Complaint. Class Action. Place an "X" in this box ifyou are filing a class action under Rule 23, F.R.Cv.P.
Dernand. ln this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction

.lury Deinand. Clieck the appropriate box to indicate whether or not ajury is being demanded

VIII. Related Cascs. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names f`or such cases.

Date and Attorney Signaturc. Date and sign the civil cover sheet.

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 3 of 168

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

sYCAMoRE PETROLEUM-t<c orL, LLC ; CIVIL ACTION
et al. ‘
v.

KC OIL, INC. et al.
NO.

In accordance with the Civil Justice Expense and Delay Rcduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (Sec § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Fonn specifying the track
to which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U,S.C. § 2241 through § 2255. ( j

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benetits. ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civii Rule 53.2. ( )

(d) Asbestos _ Cases involving claims for personal injury or property damage from
exposure to asbestos . ( )

(e) Special Management ~ Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )

(f) Standard Management - Cases that do not fall into any one of the other tracks (X)

Pepper Hamilton LLP

 

 

 

January 28, 2015 John L. Schweder, II Plaintiffs Sycamore Petroleum-KC OIL,
Date Attorney-at-law Attorney for LLCl et al.
215.981.4170 800.259.7739 schwedej@pepperlaw.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10f02

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 4 of 168

Civil Justice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading

(b) In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned

(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time. '

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment ofI-Iabeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (e) Management Track Definitions of the
Civil Justiee Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly referred to as "cornplex
litigation" as that term has been used in the Manuals for Complex Litigation. Thc first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment See §().l of the
first manual Cases may require special or intense management by the court due to one or more of the
following factors: (l) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition lt may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholders derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues See §0.22 of the first Manual for Complex Litigation and Manual for Cornplex Litigation
Second, Chapter 33.

Case 2:15-cv-0039@Nf5[1;5@1m'g I;IStf-itq@'py§$;'§& Page 5 of 168

FO|?. 'l`HE EAS'|`ERN D|S'l`R|C'l` OF` l’ENNSYLVANlA - DESICNATION I\`ORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendnr. `

Addressorp|mmm-: Sycamore Petroleum-KC OIL, LLC, 998 Old Eagle School Rd., St:e. 1250, We.yne, PA

Addressomcrc“dmmt<€ Oil, Inc., l Union St., Ste. 208,. Robbinsville, NJ

place OFACcidcml [“cidcm or Tmnsaclion: Breach of Cont:ract: with Pennsylvania forum selection provision
(Use Revcrse Sr'de For Addin`onal Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more ol` its stock?

 

 

(Attach two copies oi`thc Disclosure Statcrnent Form in accordance with Fed.R.Civ.P. 7. l(a)) Yesl:| No|§
Does this case involve multidistrict litigation possibilities? chl:t Nol?.i
RELA TED CASE. H"`AN}’:

Case Numbcr: Judge Date Terminated:

 

Civil cases arc deemed related when yes is answered to any ot`the following questions:

l. ls this case related to property included in an earlier numbered suit pending er within one year previously terminated action in this court?
Yesl:l No@
2. Does this case involve the same issue of Fact or grow out oftbe same transaction as a prior suit pending or within one year previously temiinated
action in this eourt?

Yesl:l Nog
3. Does this case involve the validity or infringement ofa patent already in suit or any earlier numbered case pending or within one year previously
terminated action in this court? Yesl:l No|z

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights ease filed by the same individual?
Yes\:l NO[X|

 

civn.: (Place l/ in one cArEGoRY oNLY)

A. Federal ercstion Cases: B. Diversity Jru'r'sdiction Cases:

l. El Indemnity Contract, Marine Contract, and All Other Contracts 1. li Insurance Contract and Other Contracts
2. El FELA 2. Cl Airp]ane Personal Injury

3. Ei .lones Act-Personalinjury 3. El Assault,Defamation

4. El Antitrust 4. El Marine Personalinjury

5. lIJ Patent 5. El Motor Vehicle Personal Injury

6. El Labor-Management Relations 6. EI Other Personal Injury (Please speeify)
7. lJ Civil Rights 7. El Produets Liability

S. El Habeas Corpus 8. El Products Liability_ Asbestos

9. El Securities Act(s) Cases 9. E! All other Diversity Cases

10. E! Social Security Review Cases (Ptease specify)

 

ll. El All other Federal Question Cases
(Please specify)

 

ARBI'I`RATION CERTIFICATION
(Check Appropriare Caregory)
l, John L ' Schweder 1 I I , counsel of record do hereby certify:

li{ Pursuant to Local Civi[ Rule 53.2, Section 3(e)(2), that to the best of my knowledge and beliet`, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;

El Relief other than monetary damages is sought.
Pepper Hamilton LLP

DA-l-E: January 28, 2015 John L. Schweder, II 208595
Attomey-at-I_aw . Attomey t.D.#
NOTE: A trial de novo will be a trial by jury only iftherc has been compliance with F.R.C.P. 38.

 

 

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court

 

except as noted ahove. Pepper Hamilton LLP
DATE:January 28, 2015 7 Johrt L. Schweder, II 208595
Attorney-at-Law Attorney I.D.#

civ. 609 (5/2012')

Case 2:15-cv-OOSQB`1BIEII&HUEM1D1$TRI§H`GJ(DZBH5 Page 6 of 168

FOR THE EAS‘I`ERN DISTR|CT OF PENNSYLVAN|A _ DESIGNAT|ON FORM to be used by counsel to indicate the category ot` the case for the purpose ot'
assignment to appropriate calendnr.

Addressorp|aimim gycamore Pet;roleum_}{(j OIL, LLC, 998 Old Eagle School Rd., Ste. 1250, Wayne, PA

Addressomefcndam:lcc Oil, Inc,, l Union St., Ste. 208, Robloinsv':i.lle, NJ

place omccidem_|ncidemorT,ansacliom Breach of Contract with Pennsylvania forum selection provision
(Use Reverse .S`J'de For Additt'ona! Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning ltJ% or more ofits stock?

 

(Attach two copies ot`thc Disclosure Statement Form in accordance with Fed.R.Civ.P. T.l(a)) Yes\:\ NolH
Does this case involve multidistrict litigation possibilities'i' a Yesl:l Nol`li:
RELA TED CASE. !FANY:

Case Number: Judge _ Date Terminated:

 

 

Civil cases are deemed related when yes is answered to any of` the following questions:

l. ls this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court‘?
Yesl;l NoE
2. Does this case involve the same issue of fact or grow out ofthe same transaction as a prior suit pending or within one year previously terminated
action in this court?

Yesi:l NOm
3. Does this case involve the validity or infringement ofa patent already in suitor any earlier numbered case pending or within one year previously
terminated action in this court? Yesl:l Nol__X

4. ls this ease a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual'?
Yesl:| Nom

 

civIL; trace \/ in one cATEGoRY ONI.Y)

 

A Federat' Quesn'on Cases: B. Diversin).fur¢`sdiction Cases:

l. l:l Indemnity Contract, Marine Contract, and All Other Contra'cts l. tx Insurance Contract and Other Contracts
_2. El FELA 2. itt Airplane Personal Injury

3. El Iones Act-Personallnjury 3. El Assault,Defarnation

4. El Antitrust 4. El Marine Personallnjury

5. El Patent 5. El Motor Vehicle Personallnjury

6. E! Labor-Management Relations 6. D Other Personal Injury (Please specify)
7. El Civil Rights 7. El Products Liability

8. El Habeas Corpus S. Et Products Liability_ Asbestos

9. Et Securities Act(s) Cases 9. E All other Diversity Cases

10. El Social Security Review Cases _ d (Please specify)

ll. El All other Federal Question Cases

(Please specify)

 

ARBITRATION CERTIFICATION
(Check Appropriate Category)
I, John L ' Schweder ' II , counsel of record do hereby eertify: ‘

lX Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
3150,000.00 exclusive of interest and costs;

El Relief other than monetary damages is sought ,
Pepper Hami lton LLP

DATE: January 28, 2015 John L. Schwecler, II 203595
Attorney-at-Law . - _ Attomey I.D.#
NOTE: A trial de novo will be a trial by juryiz_'nly if there has been compliance with F.R.C.P. 38.

 

I certify that, to roy knowledge, the within case is not related to any case now peii_ding or within one year previously terminated action in this court

 

 

except as noted above. Pepper Hami lt`on LLP
DATE:January 28, 2015 . Jolin L. Schweder, II . 208595
Attomey-at-Law Attorney I.D.#

civ. 609 (5/2012')

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 7 of 168

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

SYCAMORE PETROLEUM-KC OIL, LLC,
SYCAMORE ENERGY~KC OIL, LLC and

STERLING FUELS & LOGISTICS, LLC
CIVIL ACTION

Plaintit`fs,
v. l : No.

KC OIL, INC., GREENWOOD :

ENTERPRISES, lNC., BUCKS COUNTY : JURY TRIAL DEMANDED
PETROLEUM LLC, TRENTON :

PETROLEUM INC., CREIGHTON FAMILY

PROPERTIES, LP, JAN CREIGHTON and

KIMBERLY CREIGHTON

Det`endants.

 

COMPLAINT

Plaintiffs Sycamorc Petroleurn-KC Oil, LLC, Sycamore Energy-KC Oil, LLC and
Sterling Fuels & Logistics, LLC (successor by merger to both Sycamore Petroleum, LLC and
Sycarnore Energy, LLC) (collectively, “Sycamore”) files this complaint against Defendants KC
Oil, Inc., Greenvvood Enterprises, Inc., Bucks County Petroleum LLC, Trenton Petroleurn Inc.,
Creighton Family Properties, LP, Jan Creighton, and Kimberly Creighton (collectively,
“Defendants” or “Sellers”), and allege as follows:

NATURE OF THE CASE

1. Pursuant to the terms of two asset purchase agreements, Sycamore
purchased from Sellers certain real and personal property assets, including twelve (12) property
locations engaged in'the sale of petroleum, as well as Sellers’ heating oil business

2. A critical component of that transaction was a representation by Sellers

With respect to the historical volume of products sold by the Sellers in the year prior to closing.

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 8 of 168

3. Sellers represented and warranted in the asset purchase agreements and
closing certificates that the historical volume of products sold from January 201 l through
November 201 l was accurate and complete

4. Ai`ter the transaction closed, Sycamore determined that Seliers
misrepresented the historical volume of products sold.

5. Sellers overstated the volume of petroleum products sold by

approximately 2,700,000 gallons and the volume of heating oil, diescl, and kerosene product sold

by more than 70%.

6. Thc misrepresentations inflated the value of the transaction by at least
$2,900,000.

7. As direct result of Sellers’ breach of the asset purchase agreements and

closing certiticate, Sycamore has been damaged in an amount equal to what it overpaid for the
assets, the lost profits on what Sycamore would have earned had the historical volume
representations been accuratc, and interest payments paid to lenders and under certain

promissory notes.

8. Sycamore brings this civil action against Sellers for breach of contract
THE PARTIES
9. Plaintiff Sycamore Petroleurn_-KC Oil, LLC is a Pennsylvania limited

liability company with a principal place of business at 998 Old Eagle School Road, Suite 1205,
Wayne, Pennsylvania. Sycamorc Pctroleum-KC Oil, LLC acquired the assets that were
purchased from Sellers under the Petroleum Agreement and described more fully below.

lO. Plaintiff Sycamorc Energy-KC Oil, LLC is a Pcnnsylvania limited liability

company with a principal place of business at 998 Old Eagle School Road, Suite 1205, Wayne,

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 9 of 168

Pennsylvania. Sycamore Energy-KC Oil, LLC acquired the assets that were purchased from
Sellers under the Tank Wagon Delivery Agreement and described more fully below.

lL PmdeSwdngmB&lmgmw&LLCEaPmmWhmnammwd
liability company at 998 Old Eagle School Road, Suite 1205, Wayne, Pennsylvania. Sterling
Fuels & Logistics, LLC is the successor by merger to both Sycamore Petroleum, LLC and
Sycamore Energy, LLC,

12. Defendant KC Oil, Inc. is New Jersey corporation with an address at
l 1056 Harbour Yacht Court, Unit 202, Fort Myers, Florida 33908.

13. Defendant Greenwood Enterprises, Inc. is New Jersey corporation with an
address at 11056 Harbour Yacht Court, Unit 202, Fort Mye_rs, Florida 33908.

l4. Defendant Bucl<s County Petroleum LLC is either a New Jersey or Florida
single-member limited liability company with an address at 11056 Harbour Yacht Court, Unit
202,Forthdyms,Flonda33908.

15. Defendant Trenton Petroleum Inc. is a New Jersey corporation with an
address at 11056 Harbour Yacht Court, Unit 202, Fort Myers, Florida 33908.

16. Defendant Creighton Family Properties, LP is either a New Jersey or
Florida limited partnership with an address at 11056 Harbour Yacht Court, Unit 202, Fort Myers,
Florida 33908. l

17. Defendant Jan Creighton is an adult individual and resident 'of the State of
Florida with an address at 11056 Harbour Yacht Court, Unit 202, Fort Myers, Florida 33908.

18. Defendant Kimberly Creighton is an adult individual and resident of the
State of Florida with an address at 11056 Harbour Yacht Court, Unit 202, Fort Myers, Florida

339()8.

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 10 of 168

JURISDICTION AND VENUE

l9. The Court has subject matterjurisdiction pursuant to 28 U.S.C. §
l332(a)(l) because the parties are citizens of different states and the amount in controversy
exceeds the sum or value of 375,000, exclusive of interest and costs.

20. The Court has personal jurisdiction over the parties who consented to
jurisdiction in the United States District Court for the Eastern`District of Pennsylvania under
section 8.] l of the Asset Purchase Agreements. The Court also has personal jurisdiction over
Sellers who conducted business in Pennsylvania, and sold or shipped product into Pennsylvania.

21. Venue is proper in this district because the parties consented to venue in
the United States District Court for the Eastern District of Pennsylvania under section S.ll of the
Asset Purchase Agreements.

FACTUAL ALLEGATIONS

Petroleum Agreement

22. On or about November 14, 2011, Sycamore and Sellers entered into an
Asset Purchase Agreement (“Petroleum Agreement”), the terms of which provided for the sale
by Sellers to Sycamore often (10) fee real property locations and the assignment of two (2)
leasehold property locations (the “Properties”), as well as other assets.

23. A true and correct copy of the Petroleum Agreement is attached as Exhibit

24. Thc purchase price for the assets Was $8,000,000, plus the value of the
fuel inventory calculated on the date of closing. Ex. A. at § 2.1

25. At closing, Sycamore paid Sellers $7,250,00 in cash and gave Sellers a
promissory note in the amount of S750,000 payable over ten (10) years at six percent interest

]d. at 2.3.

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 11 of 168

26. A key component of the transaction and purchase price was the historical
volume ot` petroleum products sold by Sellers at the Properties in the year prior to closing.

27. Accordingly, at Section 5.2(5) of the Agreement, Sellers represented and
warranted that “[t]he sales figures and volume history for each of the Properties furnished by
Seller to Buyer are accurate and complete." Id. at § 5.2(3).

28. The Agreement further provides that “[t]he representations and warranties
made by Seller in this Agreement shall be true in all material respects when made and on and as
of the date of the Closing as though such representations and warranties were made on and as of
the Closing.” Id. at § 7.2(a).

1 29. On January 20, 2012, Sellers provide Sycamore with their year-to-date
volume data from January 2011 through November 2011. See Jan. 20, 2012 email, a true and
correct copy is attached as Exhibit B.

30. Sellers represented and warranted that the volume of petroleum products
sold from January 2011 through November 2011 was approximately 8,343,015 gallons.

31. On January 30, 2012, the parties closed on the transaction

32. Subsequent to closing, Sycamore determined that the historical volume
represented and warranted by Sellers was grossly inaccurate

33. An audit of Sellers’ records, including their Quicl< Book files, and an
analysis of the actual sales and the Oil Price Int`ormation Service (“OPIS”) sales price during the
relevant time period, show that Sellers misrepresented the historical volume of petroleum

products sold by approximately 2,700,000 gallons.

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 12 of 168

34. Sellers’ breach of the representation and warranty provisions ol` the
Petroleum Agreement caused Sycamore to pay between $2,900,000 and $4,200,000 more for the
assets than the true value of the poi'tf`olio.

35. Sellers’ breach has caused Sycamore to suffer lost profits on what
Sycamore would have earned had the historical volume representation been accurate.

36. Sellers’ breach has caused Sycamore to suffer damages in the form of
interest paid to lenders and on the promissory note(s) as a result of paying a higher purchase
price based on Sellers’ misrepresentations

Tank Wagon Delivery Agreement

37. On or about Novernber 14, 201 l, Sycamore and Sellers entered into an
Asset Purchase Agreement (“Tank Wagon Delivery Agreement"), the terms of which provided
for the sale by Sellers to Sycamore of Seller’s heating oil business, including a customer list,
inventory, and other assets.

38. A true and correct copy of the Tanl< Wagon Delivery Agreement is
attached as Exhibit C.

39. Thc purchase price for the assets was $2,000,000, plus the value of the
fuel inventory calculated on the date of closing. Ex. C. at § 2.1

40. At closing, Sycamore gave Sellers a promissory note in the amount of
l $1,000,000 payable over ten (10) years at six percent interest. Id. at 2.3. Sycamore also
` executed promissory notes in favor of Sellers in the amounts 324,609.27, $6,028.12, and

$32,339.64 of as part of this transaction.

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 13 of 168

41. The l_<ey component of the transaction and purchase price was the `
historical volume of heating oil, diese[, and kerosene products sold by Sellers in the year prior to
closing.

42. Accordingly, at Section 5.2(t) of the Tanl< Wagon Delivery Agreement,
Sellers represented and warranted that “[t]he sales figures and volume history for each of the
Properties and for the Business furnished by Seller to Buyer are accurate and complete.” Ia’. at §
5.2(t).

43. The Tank Wagon Delivery Agreement further provides that “[t]he
representations and warranties made by Seller in this Agreement shall be true in all material
respects when made and on and as of the date of the Closing as though such representations and
warranties were made on and as of the Closing.” Id. at § 7.2(a).

44. On January 31, 2012, the parties executed a Second Amendment to Tanl<
Wagon Delivery Agreement that provided “[t]he Seller represents and warrants that the heating
oil sales volumes depicted in the Exhibit A to this Second Amendment are true and complete.”
See Second Amendment to Tank Wagon Delivery Agreement at il 1.5, a true and correct copy of
is attached as Exhibit D.

45. In Exhibit A to the Second Amendment to the Tanl< Wagon Delivery
Agreement, Sellers represented and warranted that: (l) the heating oil volume was 709,574
gallons; (2) the off road diesel volume was 31,729 gallons; (3) the on road diesel volume was
1,260,255 gallons; and (4) the kerosene volume was 42,931 gallons. Ia’. at Ex. A.

46. On January 31, 2012, Sellers executed a Seller’s Certificate certifying that

“[t]he representations and warranties made by Seller in the Agreement are true in all material

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 14 of 168

respects when made and on and as of the date hereof`.” See Seller’s Certificate, a true and correct
copy is attached as Exhibit E.

47. On January 31, 2012, the parties closed on the transaction.

48. Subsequent to closing, Sycamore determined that the historical volume
represented and warranted by Sellers was grossly inaccurate

49. A review of Sellers’ records and analysis of Sycamore’s post-closing sales
volumes show that Sellers inaccurately overstated the historical volume of heating oil, off road
diesel, on road diesel, and kerosene products sold by at least 70%.

50. Sellers breach of the representation and warranty provisions of the Tank
Wagon Delivery Agreement, Second Amendment, and Seller’s Certificate caused Sycamore to
pay more for the assets than the true value of the portfolio.

51. Sellers’ breach has caused Sycamore to suffer lost profits on What
Sycamore would have earned had the historical volume representation been accurate

52. Sellers’ breach has caused Sycamore to suffer damages in the form of
interest paid to lenders and on the promissory notes as a result of paying a higher purchase price
based on Sellers’ misrepresentations.

COUNT I - BREACH OF CONTRACT/PETROLEUM AGREEMENT

53. Sycamore incorporates the allegations set forth above as if fully set forth
herein.

54. Sycamore and Sellers executed the Petroleum Agreement dated as of
November 14, 2011, which transaction closed on January 30, 2012.

55. In Section 5.2 of the Agreement, Sellers represented and warranted that
“[t]he sales figures and volume history for each of the Properties furnished by Seller to Buyer are

accurate and complete.”

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 15 of 168

56. Sellers further agreed that “[t]he representations and warranties made by
Seller in this Agreement shall be true in all material respects when made and on and as of the
date of the Closing as though such representations and warranties were made on and as of the
Closing.”

57. Sellers’ representations regarding the historical volume of petroleum
products sold between January 2011 and November 2011 was inaccurate

58. Sellers misrepresented the historical volume of petroleum products sold
between January 2011 and November 2011, and overstated the volume by approximately
2,900,000 gallons.

59. Sellers’ misrepresentations constitute a breach of the Petroleum
Agreement

60. As a direct result of Sellers’ breach, Sycamore has been damaged in the
amount equal to what it overpaid for the assets, Sycamore’s lost profits, and interest paid to
lenders and under the promissory notes.

WHEREFORE, Plaintiffs Sycamore Petroleum-KC Oil, LLC, Sycamore Energy-
KC Oil, LLC, and Sterling Fuels & Logistics, LLC request judgment in their favor and against
Defendants KC Oil, Inc., Greenwood Enterprises, Inc., Bucl<s County Petroleum LLC, Trenton
Petroleum Inc., Creighton Family Properties, LP, Jan Creighton, and Kimberly Creighton for
breach of contract, and an order granting the following relief:

a. an award of direct and consequential damages equal to the

difference between the purchase price Sycamore paid under the Petroleum and Tank Wagon

Delivery Agreements and the true value of` the assets had Sellers accurately represented the

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 16 of 168

historical volume of products sold between January 201 l and November 201 1, which exceeds
$2,900,000;

b. an award of direct and consequential damages equal to the lost
profits that Sycamore would have earned had the historical volume representation been accurate;

c. an award of direct and consequential damages equal to the amount
of interest payments Sycamore paid to lenders and under the promissory notes on the overstated
purchase]mdce;and

d. attorneys’ fees, costs, and other relief the Court deemsjust and
propen

COUNT II - BREACH OF CONTRACT/TANK WAGON DELIVERY AGREEMENT

61 . Sycamore incorporates the allegations set forth above as if fully set forth
herein.

62. Sycamore and Sellers executed the Tank Wagon Delivery Agreement
dated as ofNovember 14, 2011, which transaction closed on January 31, 2012.

63. ln Section 5 .2 of the Tank Wagon Delivery Agreement, Sellers
represented and warranted that “[t]he sales figures and volume history for each of the Properties
and for the Business furnished by Seller to Buyer are accurate and complete.”

64. Sellers further agreed that “[t]he representations and warranties made by
Seller in this Agreement shall be true in all material respects when made and on and as of the
date of the Closing as though such representations and warranties were made on and as of the
Closing.”

65. In the Second Amendment, “[t]he Seller represents and warrants that the
heating oil sales volumes depicted in the Exhibit A to this Second Amendment are true and

complete.”

_10_

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 17 of 168

66. ln the Seller’s Certificate, Sellers certified that “[t]he representations and
warranties made by Seller in the Agreement are true in all material respects when made and on

and as of the date hereof.”

67. Sellers’ representations regarding the historical volume of heating oil, off
road diesel, on road diesel, land kerosene products sold between January 201 1 and November
2011 was inaccurate

68. Sellers misrepresented the historical volume of heating oil, off road diesel,
on road diesel, and kerosene products sold between January 2011 and November 2011, and
overstated the volume by approximately 70%.

69. Sellers’ misrepresentations constitute a breach of the Tank Wagon
Delivery Agreement, Second Amendment, and the Seller’s Certificate.

70, As a direct result of Sellers’ breach, Sycamore has been damaged in the
amount equal to what it overpaid for-the assets, Sycamore’s lost profits, and interest paid to
lenders and under the promissory notes.

WHEREFORE, Plaintiffs Sycamore Petroleum-KC Oil, LLC, Sycamore Energy-
KC Oil, LLC, and Sterling Fuels & Logistics, LLC requestjudgment in their favor and against
Defendants KC Oil, Inc., Greenwood Enterprises, Inc., Bucks County Petroleum LLC, Trenton
Petroleum lnc., Creighton Family P_roperties, LP, Jan Creighton, and Kimberly Creighton for
breach of contract, and an order granting the following relief:

a. an award of direct and consequential damages equal to the
difference between the purchase price Sycamore paid under the Petroleum and Tank Wagon

Delivery Agreements and the true value of the assets had Sellers accurately represented the

_11_

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 18 of 168

historical volume of products sold between January 201 l and November 201 l, which exceeds
$2,900,000;
b. an award of direct and consequential damages equal to the lost
profits that Sycamore would have earned had the historical volume representation been accurate;
c. an award of direct and consequential damages equal to the amount
of interest payments Sycamore paid to lenders and under the promissory notes on the overstated

purchase price; and

 

d. attorneys’ fees, costs, and other relief the Court deems just and
proper.
COUNT III - UNJUST ENRICHMENT
71. Sycamore incorporates the allegations set forth above as if fully set forth
herein.
72. Sycamore purchased from Sellers the assets described in the Petroleum

Agreement and the Tank Wagon Delivery Agreement for approximately $8,000,000 and
$2,000,000, respectively

73. The purchase prices were inflated because Sellers misrepresented the
historical volume of products sold, which caused Sycamore to pay higher purchase prices.

74. Sycamore conferred a benefit on Sellers in the amount it overpaid for the
assets under the Petroleum and Tank Wagon Delivery Agreements.

75. Sellers appreciated and retained the use and benefit of the purchase-price
funds that exceeded the true and accurate value of the assets had the historical volume of

products sold not been misrepresented

_12_

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 19 of 168

76. It would be inequitable for Sellers to retain the purchase-price funds that
exceeded the true and accurate value of the assets because Sellers made the misrepresentations
that caused Sycamore to pay an inflated price.

77. Sellers have therefore been unjustly enriched, and Sycamore has been
damaged

WI-IEREFORE, Plaintiffs Sycamore Petroleum-KC Oil, LLC, Sycamore Energy~
KC Oil, LLC, and Sterling Fuels & Logistics, LLC requestjudgment in their favor and against
Defendants KC Oil, lnc., Greenwood Enterprises, Inc., Bucks County Petroleum LLC, Trenton
Petroleum Inc., Creighton Family Properties, LP, Jan Creighton, and Kimberly Creighton for
breach of contract, and an order granting the following relief:

a. an award of direct and consequential damages equal to the
difference between the purchase price Sycamore paid under the Petroleum and Tank Wagon
Delivery Agreements and the true value of the assets had Sellers accurately represented the
historical volume of products sold between January 2011 and November 2011, which exceeds
$2,900,000;

b. ' an award of direct and consequential damages equal to the lost
profits that Sycamore would have earned had the historical volume representation been accurate;

c. an award of direct and consequential damages equal to the amount
of interest payments Sycamore paid to lenders and under the promissory notes on the overstated
purchase price; and

d. attorneys’ fees, costs, and other relief the Court deems just and

proper.

_13..

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 20 of 168

DEMAND FOR JURY

Sycamore hereby demands a trial byjury on all issues in this case.

Dated: January 28, 2015

Respectfully submitted,

/s/ Francis J. Lawall
Francis J. Lawall
Attorney I.D. No. 43932
John L. Schweder, ll
Attorney I.D. No. 208595
PEPPER HAMILTON LLP
3000 Two Logan Square
Eighteenth and Arch Streets
Philadelphia, PA 19103-2799
Tel: (215) 981-4000
Fax: (215) 981-4750
Email: lawallf@pepperlaw.com
schwederj@pepperlaw.com

ATTORNEYS FOR PLA[NTIFFS SYCAMORE
PETROLEUM~KC OIL, LLC, SYCAMORE
ENERGY-KC OIL, LLC, and STERLING FUELS
& LOGISTICS, LLC

-14_

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 21 of 168

EXHIBIT A

 

' Case 2:15-cv-00396-.]D Documentl Filed 01/28/15 Page 22of 168

ASSET'PURCHA'SE_ AGREEMENT
('l`welve_ Sites)

FORAND I_N `CONSIDERATION-of` the mutual benefits accruing and expected.`to'
accqu hereunder, this Asset Purchase Agreement (-"Ag_reemeni’?) is entered-into as of the

PE"'FR~`OI-LEUM, .LLC',. a Pennsylvania limited liability company with its principal place .o‘f'

day of 1`\1:_0ven1_l)er,l 201','15 (“Eff`ective .D_'ate“);,_ by and between SYGAMORE

business al 630 S]<ippac`k Pike‘,¢ Blue `Bellj PA 19422-_01‘ its designee', ("B`uyer"), and KG
OIL, j`lN,C., -GREBNWOOD-BNTERPRISES INC,, BUCKS~' COUNTY~ PETR.OLEUM LLC,
TRENTC}N PBJ`ROLEUM INC., CREIGFI'PON FAM{LY PROPERTIES, LLC and `FAN &
KIMBER-_LY C-RElGHTON, with their principal place of business at l Union Street_, Suite
208, Robbins.ville, NJ 0869l(i11dif*_.'itl_tially an_d collectively the l‘Seller” jor “Sellers”), all of
whom, intending to be legally bound, hereby agree as follows:

Seller desires to sell or assign to" Buyer, and Buyer desires to purchase or accept
assignment fi'.'on`t Sell`e’r, on the ferris set foi‘f`h'herein,. ten (`_1(1) fee real property locations and the
assignment of ~t'wo leasehoch property locations (togeth.er, the fee and leasehold properties
lierei'ualier reli`el"i'ed to `as the “Prcperlies”_) more-fully described in 'Eiihibit A' ,

Accorclingly, the partiesz intending to he legally bound hereby agree as follows-s

`l;. "I"URCI'IASE AND SHLE OF ASSETS.- __

l.i Assets to be -`Sold`. Seller shall sell, transfer and assign to Buyer, at the Closing

 

[as defined in Section 2.6 below), and Buyer shall purchase and receive, at the

Cl;osing,_'all' righ_t',, title and interest of Seller in the following assets `("As_sets“):

 

Nove`mber'_s',_z_eii t

 

 

f "
1 "

(a)

 

co

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 23 of 168

Real Property Assets.

(i) Real Property_. Thc twelve (12) fee and leased Properties listed
in attached Exliil)it A together with {A} all structurcs, buildings,
compressors, appliances electrical, plumbing heating, ventilating and
air conditioning machinery and of every kind, character and
description appurtenant to the Properties, and all parking facilities and
other improvements located on the Properties, which machinery and
equipment shall be in working order at the time of the Closing; and (B)
all the right, title and interest of Seller in any land lying in the bed of
any public street, road or avenue opened or proposed in front of or
adjoining the Properties, and all right, title and interest of Seller in and
to any award made or to be made in lieu thereof and to any unpaid
award for damage to the Properties by reason of a change of grade of
any strect, and all rights cf way, privileges and appurtenances

pertaining to the Properties.

Personal Property Assets

{i) Personal Property. Thc tangible personal property, including
goods, f`urniture, f`urnishings, fixtures, equipment, usable supplies and
all other tangible personal property currently located on or at the

Properties by Seller, as listed on attached Exhibit B ("Personal

 

November 9, 2011

2

 

_,r

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 24 ot 168

(G)

(d)

Property").

(ii) Inventor§,{. Inventories of fuel products at the Properties, to be
valued at the Closing in accordance with Section 2.3 below.

(iii) Vehicles. Tractor trailers and tankers listed in Exhihit C.

(iv) l\_la;ne_s,._,‘l`he right and license for Buyer to use the names 1‘GasCo”
and ali other trade names and trademarks and Sirnilar derivatives used in
operation of the Pl‘Opel‘tieS.

Cash and Credit Card Receipts. Seller shall be entitled to keep all cash in
the drawer and to collect ali credit card payments arising from all
transactions at the Propcrties prior to the Closing; Buyer shall be entitled
to keep all cash and collect all credit card payments arising from
transactions at the Properties on and after the Closing date.

No Merger; No Snccessor in Interest. Buyer and Seller affirm that they
intend this Agreement to provide the terms and conditions for the purchase
and sale of certain specified assets and the assumption of several explicitly
described llabilities; Buyer is not purchasing all of the Seller’s assets;
Buyer will not be offering employment to all of the Seller’s owners and/or
employee-cg and the parties expressly acknowledge and agree that neither
this transaction nor the Agreement is intended to (i) create a merger
between the parties, either by contract or operation of law, or confer

“suocessor in interest" status on thc.Buyer.

 

Novem her 9, 2011

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 25 ot 168

1.2

1.3

Conveyancing Instruments. Thc title to the Fee Properties to be conveyed by
Seller pursuant to Section 1.1 above shall be conveyed by means of bargain
and sale deed With covenant against grantor's acts in the form of attached

§ xhiig§t D. Thc remaining Asscts shall be conveyed pursuant to one or more

bills of sale and assignments in the form of attached Exllil)it E.

Covenants Not to Comnete. At the Closing, all Sellers shall agree to be bound

by the following restrictive covenants commencing at the Cicsing, each of

which is hereby acknowledged to be fair and reasonable and each of which
will be memorialized in a separate instrument to be signed by each Seller:

(a) Covenant. Sellers covenant and agree tliat, for the sixty (60} months
commencing at the Closing, Sellers shall not sell any distillate,
kerosene, diesel fuel, off road diesel, gasoline, heating oil, natural gas
or electricity to (l) any customers en the Customer List; or (Il) any

location in the Territory or any counties adjacent to the Territcry.

2. PURCHASE PRICE AND TERMS OF PAYMENT.

2.1

23

Purchase Price. Thc purchase price for the Assets ("Purchase Price“) shall be
Eight Million Dollars ($3,000,000) plus the value of the Fuel Inventory,
calculated as set forth below

Determination of Fuel lnventory. Buyer and Sei[er shall (i} jointly determine
the actual quantities of fuel at the twelve Propcrties entire day of the Closing;
and (ii) jointly compute tire value of the t`nei inventory using the lower of

Seller's delivered cost or market value as evidenced by documentation

 

November 9, 2011 4

 

 

Case 2:15-Cv-00396-.]D Documentl Filed 01/28/15 Page 26~0t 168

furnished by Seller.

2.3 Payment of Purchas§ Eri§e. At the Closing, Buyer shall pay Seller the

Pnrchase Pricc as follows:

2‘3.1 Soven Million Two Hundrcd Fifty ’I`housand Dcllars ($7,250,000 in

cash. l

2.3.2 Seller shall accept a Promissory Note from Buyer in the amount of

Seven Huncircd Fit`ty Thousand Dollars ($750,000), payable in equal monthly

payments of principal and interest over Ten (10) years at Six Percent (6.00%),

in the form attached as Exln'bit F. 'l`he Promissory Note shall be secured by

(a} a personal guaranty from Mr. Kenncth C. Morrison, one of the Menibers of

the Purchaser, in the form attached to the Promissory Note in Exhibit I; and

(b) subject to the approval of Buyer‘s lender, a fee or leasehold mortgage on

the napa-aes nasd in nxhibn A. `

2.4 limited Assumption ofLiabilities; Disclainler.

(a) liabilities Assumcd. On the date of Closing Buyer shall assume and
undertake only Seller’s obligations with respect to the vehicle leases
and loans set forth in attached Exln`bit Gr, and no other obligationsl

(b) Liabilities Not Assutned.

(i) Buyer is not assuming, and Buyer hereby does not assumc, any
colum itment, liability or obligation of Seller as a result of Buyer's
purchase of the Propertics except as expressly set forth in

attached Exhibit Gt and Buyer hereby expressly disclaims

 

November 9, 2011 5

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 27 ot 168

responsibility for any liability not listed on Exhibit G.

(ii) With respect to equipment, Buyer is acquiring only those items of
equipment specifically identitied in attached Exhibit B and is not
acquiring or assuming any obligation or liability whatsoever
with respect to any underground or above-ground storage tanks
and related piping er any other equipment of Seller or third
parties at any locations except the equipment specifically
identified in attached Exl\ibit B, which are te be conveyed
pursuant to the deeds and bills cf sale as more fully set forth in
Section 6 below, and Buyer hereby expressly disclaims
responsibility for any liability not listed on 1§ xhibit B.

- 2.5 Lsing. Thc Closing of the transactions contemplated hereby and the transfer
ot` the Assets {"Closing") shall occur on or before seventh calendar day
following expiration of the Due Diligenee Period, at the offices of Hopewell
Valley Bank in Pelmington, New Jersey or at such other time and place as
Seller and Buyer may agree in writing; provided, Buyer shail have the right to
postpone the Closing one time by up to eight (8) days by delivery of written
notice to Seller prior to the scheduled Closing date.

3. EMPLOYEES AN]) BENEFITS.
3.1 Empleyees. Buyer shall have the right but not the obligation to offer
employment to any cr all of Seller's employees who currently Work as drivers,

office personnel and managers at the i’roperties, such employment offers being

 

November 9, 2011 ' 6

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 28 ot 168

3.2

.M.,/‘"si.__. w _ ..__.___.__...._..r.

4.1

under whatever terms and conditions that the Buyer shall deem appropriate lt
shall be in the sole discretion of the affected employees or supervisory
personnel to elect to accept any such offers of employment Neither Seller nor
any of its affiliate corporations shall offer employment to said employees
unless Buyer does not offer them employment within 30 days following the
Closing. '

Beneflt Plans. Buyer is not assuming any liability for any employee plans,
progralns, practices and arrangements, including but not limited to any
employee benefit plan as that tenn as is defined in Section 3(s) of the
Employee Retirelnent lncome Security Act of 1974 .("Exnployee Plans“}.
Seller shall indemnify and held Buyer harmless from any such liability arising

under any Employee Plans in accordance with Section 6.8 below.

4. TAXES AND ALLOCATED EXPENSES,

Payment of Excise Tax__es. Seller shall collect from Buyer at the Closing, make
all required reports, and pay directly to each and every taxing authority any
and all taxes, fees and assessments which arise as a result of this Agreement
{eo]|ectively "Excise Taxes"), to the extent that the statute imposing any such
Excise 'l`ax imposes an obligation on a buyer, user or operator to pay such
taxes. Follewing the Closing, Seller shall have no further obligation in this
regard "Excise '[`axes" shall include, Without limitation, any license,
registration or fees and all sales, use, excise, motor t`uel, gross receipts, stamp,

plus any penalties or interest thereon, which shall be levied or assessed by any

 

November 9, 2011 7

Case 2:15-Cv-00396-.J|§_.) Document 1 Filed 01/28/15 Page 29 ot 168

4.2

4.3

4.4

foreign, federal, state or local government or other taxing authority with
respect to the Assets conveyecl, assigned or transferred pursuant to this
Agreement "Excise Taxes" shall exclude inconle, franchisc, or like taxes
levied on or measured by Buyer's net incotne.

Property Taxes. All real estate (except transfer), ad valorem and personal
property taxes and charges on any of the Assets (collectively "Property
Taxes") shall be prorated between Seller and Buyer as of the date of the
Closing. With regard tc any special or general assessments against any cf the
Assets which are payable in installments, Buyer shall be responsible for all
payments which fail due subsequent to the date of the Closing and Seller shall
be responsible for all payments which fall due on or prior to the date of the
Closing. Buyer shall account to Seller for and shall pay to Seller at the
Closing, Buyer's pro rata share of any Propeity Taxes paid l)y Seller prior to
the date of the Closing.

Transfer Tax. Thc expense and cost of all federal, state and local documentary
stamp, conveyance, transfer and other taxes or charges in lien thereof relating
to the sale and conveyance of the i"'ee Propcrties shall be paid by Seller. AI|
federal, state or local taxes, including sales taxes, relating to the sale and
conveyance of the personal property hereunder shall be paid by Buyer.
lagq__Li_a_bMty. Exeept as otherwise provided herein (i) Seller shall be
responsible for and pay all taxes levied or imposed upon or in connection with

the conduct or operation of the Properties prior to the date of the Closing; and

 

November 9, 2011 8

 

........_...__.___._.-..__.!.»"-\:\!,.‘.. ..

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 30 of 168

4.5.

4.6

(ii) Buyer shall be responsible for and pay all taxes levied or imposed upon or
in connection with the conductor operation of the Properties on and after the
date of the Closing. Any interest and penalties arising in commotion with taxes
due under this Section 4.5 shall be the responsibility of the party required to
timely tile correct tax returns concerning such taxes and pay the taxes required
to be paid tliereunder.

'l`ax Filings. Seller shall be responsible for timely filing cf all tax returns
required by law to be filed in respect to the ownership of the properties as of
the date of the Closing. All taxes indicated as due and payable on such returns
shall be paid by Seller as and when required by law, except for such taxes as
may be contested by Seller in good faith. Buyer shall be responsible for timely
filing of all tax returns required by law to be filed in respect of the ownership
and the operation of the Properties after the date of the Closing. All taxes
indicated as due and payable on such returns shall be paid by Buyer as and
when required by law, except for such taxes as may be contested by Buyer in
good faith

Tax Information. Bach party to this Agreement shall provide the other party
with access to all relevant documents data and other information which may
be required by the other party for the purpose of preparing tax returns and
responding to any audit by any governmental agency. Eaclt party to this
Agreement shall cooperate With all reasonable requests of the other party made

in connection with resisting or contesting the imposition of taxes.

 

November 9, 2011 9

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 31 of 168

4.8

4.9

Notwithstanding anything to the contrary in this Agreernent, neither party to
this Agreement shall be required at any time to disclose to the other income
tax returns or other confidential tax information except to the extent required
by government subpoena

Dencsits and Prenaid Exnenses. Any refundable deposits, prepaid expenses,
prepaid rents and similar items relating to the Assets shall be prorated between
the parties at and as of the date of the Closing.

M. Charges for water, gas, power, light, Internet and other utility service
shall be Seller's with respect to service up to and through the date of the
Closing and shall be Buyer's with respect to service after the date of the
Closing.

Environtnental and Underground System Test'tng. Thc cost of underground
system and enviromnental testing done in accordance with Section 6.1, 6 .2 and

6.3 below shall be allocated in accordance with Section 6.1, 6.2 and 6.3 belcw.

 

 

5. REPRESENTATIONS AND WARRANTIES.
S.l Disclcsnres. Int`ormation may be added to the disclosures in attached E§M
§ (see below) between the date of execution of this Agreement and the date of
the Closing; provided hott'evcr, that if any additional disclosure materially
and adversely affects Buyer‘s ability to own er operate the Properties, then
Buyer shall have the right to terminate this Agreement
November 9, 2011 10

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 32 of 168

5.2 §eller's Representatigps and Warrgnties. Seller represents and Warrants that,

except as disclosed by Seller in writing prior to the C]osing as shown on

attached § xiiibit I~I:
{a) Cgrporate Organization. Each of the corporate Sellers is a corporation

(b)

,,_m____n_.__nf.,_~\_\a_._,.____,_...

‘ (c)

duly organized, validly existing, and in good standing under the laws
of the State of New Jersey and has the corporate power and authority to
own its property and to carry on the its operations as now conducted,
and to enter into and to carry out the terms and conditions of this
Agreement

Corporate Authcriaation. Thc execution and delivery of this
Agreement and the consummation of the transactions contemplated
hereby have been duly authorized by all necessary corporate action on
behalf of Seller. Seller is net subject to any by~taw, agreement,
instrtnnent, order or decree of any court or governmental body which
would prevent or prchibit, in whole or in part, consummation of the
transactions contemplated by this Agreement

No Brcl-ters. Seller is neither a party to nor in any Way obligated under
any contract or outstanding claim for the payment ot` any broker's or
finder's fee or similar agency, and no person is entitted to a
commission or other compensation in connection with the origin,

negotiation, execution or performance of this Agreement

 

November‘§, 2011

11

 

...__. . ........._._.._.-... .../
r

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 33 of 168

(d)

(B)

(f)

tel

Litigation or Claiins. There is no legal action, claim or controversy, cr
govermnental proceeding or investigation, pending or threatened
against Seller which would materially and adversely affect Buyer's
ability to operate the Properties in the manner in which they are now
being operated or which would materially and adversely affect the
value of the Assets.

Operation in Cgmpliance with Laws. ’I`he Assets are being operated in
substantial compliance with all applicable laws, regulations and
ordinances in all material respects

Title to Personal Property. Seller has good and meichantable title to the
Personal Property transferred hereunder free of liens, charges or
encumbrances of any nature, except any liens to be discharged at the
Closing from the proceeds cf the sale.

Title to the Properties. Seller's interest in the Properties transferred
hereunder shall be conveyed free of any rights of first refusal cr other
enournbrances, mortgages, liens, mechanics liens, security interests and
other simiiar forms of financial obligations or liabilities, excepting
liens for real property taxes or franchises taxes which are not yet due
and payable Seller is not in material violation of any law, regulation or

ordinance relating tc zoning or city planning at the Properties.

 

November 9, 2011

12

 

Case 2:15-Cv-OO396-.]D Document 1 Filed 01/28/15 Page 34 of 168

(h)

(i)

/

-.-..--...-._-,----.\_-_--.-_r~.._.-....~.......H.... ., ,. .,
\

(k)

(1)

Collective Bgrgaining. None of Seller‘s employees related to the
Propetties arc covered under any collective bargaining agreements and
there are no labor unions or pending petitions to or for labor unions
representing employees of Seller employed in any capacity related to
the Properties_, nor are there any material grievances of employees that
would materially and adversely affect the Buyer's ability to operate the
Properties as they are now being operated at the Properties.

Good Faith Due Diligencc. Thc representations and warranties made
by Seller in this Agreement and any certificates to be furnished by
Seller pursuant to this Agreement are made in good faith, and Seller
has used due diligence to determine that there are no untrue or
misleading statements or omissions of material facts contained therein
All of the information in the Exhibits and other material furnished by
Seller to Buyer is tiue and complete in all material a lien against
Assets, have been or will be paid by Seller.

Maintenance. The Assets have been maintained in operable condition
and rcpair, and all equipment at the Properties is in good working
order.

wis All taxes, whether federal, state or local, which are or may
become a lien against Assets, have been or will be paid by Seller.
§;rlployg;;ent §;ontiacts. There are no outstanding contracts for services

with ofticers, employees, professional persons or firms or independent

 

November 9, 2011

13

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 35 ot 168

(m)

(H)

(O)

contractors to which Seller i's a party which materially and adversely
affects its Properties or its employees and which, as a result of the
purchase contemplated by this Agreement, Buyer shall be responsible to
assume

w l~lealth and Pgnsign Plans. Except the group health plan described
on Exiiil)it G, which Buyer_has agreed to assume and maintain until the
Seller employees offered employment by Buyer are transferred to the
Buyer’s health plan, there are no plans in effect or commitments for group
health insurance, group life insurance, prciit-sharing, pension or
retirement or any other plans or similar benefits to which any employees at
the Properties may be entitled and which, as a result of the purchase

contemplated by this Agreement, Buyer shall be responsible to assume

Defaults on Contraets Assumed by Buyer. There has not occurred any
material default c;f Seller in respect of any contract or obligation to be
assumed by Buyer under this Agreement or any event whieh, with the
lapse of time, shall become a material default under any such contract.

Compliance With l_.aws. Seller has complied with all applicable laws,
orders and regulations of the t`ederal, state and/or local governments or
any agency thereof affecting the Properties, including but not limited to
the provisions thereof relating to Wages, hours, collective bargaining
and the payment of social security and unemployment taxes, and Buyer

is not liable for any arrears of wages or any tax, damage or penalties

 

November 9, 2011

14

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 36 of 168

t'P)

(q)

for failure to comply with any of the foregoingl

Execution and Delivery. ’l`he execution and delivery of this Agreement,
and the consummation of the transactions herein contelnplated, shall
not conflict with, or result in the breach of, or accelerate the
performance required by, any terms of any agreement to which Seller
is a party or constitute a default thereunder, or result in the creation of
any lien, charge or encumbrance on the Propertics or any of the Assets.
Operations and Maintenanc§_ of Assets Prior to Closing. After the
Effective l)ate and prior to the Ciosing, Seller shall use and maintain the
Properties in substantially the same manner in which they have been used
and maintained prior to the date hereof, with a View toward maintaining
such Properties on at least as high a level as enjoyed on the date hereof
Seller shall use all reasonable efforts to preserve existing relations with the
eniployees, suppliers and customers associated with the Properties. Seller
shall not materially alter the assets or remove any improveinents,
equipment or properties which comprise the assets, With the exception of
items soid, transferred disposed of cr consumed in the ordinary course of
business, without the written consent of Buyer. Seller shall promptly
notify Buyer of any material matter affecting the Properties which arises

from the date of this Agreement to the date of the Ciosing.

 

November$, 2011

15

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 37 of 168

(r) Insnrance,` Seller has maintained, and will continue to maintain
through the Closing, adequate insurance for the operation of the
Properties, and such insurance coverage will remain in place for claims
arising after the Closing for events occurring on or at the Properties on or
prior to the Closing.

(s) Sales and Volumes. The sales figures and volume history for each of the

Properties furnished by Seller to Buyer are accurate and complete

5.3 Buyer's R.epresentations and Warranties. Buy,er_rc-:_EM:

(a) Corporate Organization. Buyer is a limited liability company duly
organized, validly existing, and in good standing linder the laws of the
Commonwealth of Pennsylvania, and has the corporate power and
authority to own its property and to carry on its business as now
conducted and to enter intc, and to carry out the terms and conditions
of this Agret.=,nientl v

(b) Corp_orate §uthgrizatig . Thc execution and delivery of this
Agreement and the consummation the transactions contemplated
hereby have been duly authorized by ali necessary corporate action on
behalf of Buyer.' Buyer is not subject to any charter, by-law,
agreement, instrument, order or decree of any court or governmental
body which would prevent consummation of the transactions
contemplated by this Agreement

(c) Brglcer. Except for AKG Consultants, LLC a broker engaged by Buyer

 

November 9, 2011 16

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 38 of 168

and whose fee shall be the responsibility of` Buyer, the Buyer is not a
party to, is not in any way obligated under, and has no knowledge of
any contract or outstanding claim i"or the payment of any broker‘s or
tinder's fee in connection with the origin, negotiation, execution or

performance of this Agreement

6. DUE DILLIGENCE. ENVIRONMNTAL INVESTIGATION AND OTHER
AQDITIONAL COVENANTS.

6.1 anironmental Definitions

(a)

(b)

Novem ber 9, 2011

Enviromnental Liability. "Environmental Liability" refers to any
causes of action, tine, penalty, elaim, demand, action, proceeding,
liability, damage, loss or expense (including reasonable attorney fees)
with respect to (i) the generation, recycling, processing handling
presence, transportation storage, treatment, or disposal of any
"contaniinent", as said quoted tenn is defined below; (ii) the release,
emission, or discharge to surface soils, subsurface soils, surface Waters
or groundwater, including the release from the underground or above
ground storage system (including products lines) or into air of any
contaminant; (iii) exposure of any persons to contaminants; or (iv) any
Violation of any environmental iaw, ordinance, rule or regulation or
cost recovery under any other law, regulation or order.

Rernediating the Assets. “Remediating the Assets" refers to all efforts
to cleanup On~Site Contamination and Off~Site Contarnination to

applicable state and federal regulatory levels as required by state and
17

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 39 of 168

l (O)

 

(d)

(@)

‘ federal regulatory agencies which may inciude, but not be limited to,

free product recovery, clean-up of dissolved hydrocarbons, soil and
water treatment or removal, equipment purchase and rental, well
clri]llng, permit and license fees, laboratory analysis, contractor and
subcontractor costs (excluding reasonable attorneys’ fees and costs of
Buyer's or Seller's employees), preparation cf any plans, documents or
filing required by regulatory agencies, groundwater treatment
monitoring costs and landfill and other costs for proper disposal or
treatment of contaminated water and soil and transportation costs.
Contaminan_t. “Contaminant“ means (i)” "hazardous substances" as
defined by the Comprehensive Enviromnental Response,
Compensation and Liability Aot ("CERCLA"), 42 U.S.C. 9601 et. seq.;
(ii) “hazardous waste" as defined by the Resource Conservation and
Reeovery Act (“RCRA"), 42 U.S.C. 6901 ei. seq.; or (iii) "non-
hazardous" substances, materials, wastes, products, pollotants,
chemicals or raw materials that are subject to regulation as of the date
of the Closing and require monitorin,\gj investigation and/or remediation
by the appropriate governmental agency.

On~Site Contamination, "On-Site Contamination" means
contamination within the legal boundaries of the Properties in surface
soils, subsurface soils, surface waters or groundwater.

Qi`f-Site Contgmination. "Off-Site Contamination“ means

 

November 9, 2011

18

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 40 of 168

contamination outside the legal boundaries of the Properties that is
present because of the migration of any contaminant from the

Properlies.

6.2 Euvirgnmental Tests and Insgections.

(t\i

anironmental Assessment. Prior to the Closing, Buyer shall exercise
its best efforts to complete an Enviroinnental Assessnient .of tire
Properties. If the Environmental Assessment is not completed prior to
the Closing, Buyer may elect to close on the transaction but continue
the Envircnmental Assessment after the Ciosing, whereupon the results
shall be presented to Seller. if the Seller in good faith does not agree
with the Enviromnentai Assessment, the Buyer’s and Seller’s
consultants shall meet and mutually agree on the findings of the
Environmental Consultant. Thc Environmental Assessment shall
include, where necessary, the drilling and development of observation
weils (or soil borings only where groundwater is not encountered) and
review of existing samples, analytical results and other files and
records. Buyer shall bear the costs of all tests and inspections that it
elects to conduct pursuant to this Section 6.2(a). Ccpies of the written
results of the Environmcntal Assessment shall be promptly forwarded
to Sellcr, and Buyer shall formulate and submit all reports required by
law regarding contamination discovered by the Enviromnental

Assessment in accordance with the reporting requirements of

 

November 9, 2011

19

 

 

 

/“"”"-.

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 41 of 168

(b)

regulatory agencies, including a copy to Sellcr, and in all events prior
to the Closing cr sooner if the regulations so require. If Seller‘s
Envirorunental Assessment suggests the presence of Off-Site
Contamination, Seller shall, within one year following the Clcsing,
conduct an assessment to identify the existence and extent of such

contamination and to fully delineate the extent of such contamination

Tanks. Within two weeks prior to the Ciosing,' Seller shall have the

 

right, in its sole discretion, to decide whether to (i) arrange for (X)
Seller and Buyer jointly to visually inspect all the above ground tanks,
if any, and for (Y) Buyer to perform line testing and sticking of the
tanks for interstitial contamination or leaks on all underground tanks
located at the Properties at Buycr’s expense, which results shall
immediately be submitted to Seller; or (ii) accept Seller’s most recent
tank and line inspection rcsults, copies o'l" which have been furnished
by Seller to Buyer. The test procedure used shall be mutually agreed to
by the parties on gasoline tanks and waste oii or heating oil tanks, if
any, to be acquired Buyer shall plt)mptly furnish Seller with copies of
all system integrity test reports. Tests shall identify whether a defect is
in a tank or line. In the event a line or tank fails testing, Seller shall
correct such defect and any other defects until such line or tanks pass
such test. In the event a tank or line does not test or retest tight, the cost

cf labor and materials associated with the repair or replacement cf

 

November 9, 2011

20

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 42 of 168

(O)

individual underground tanks and lines that fail testing and any
associated treatment or disposal of contaminated soil and water
associated with the tank or line removal shall be assumed by Seller,
and ali replacements shall be cf lines or tanks as required under current
federal, state cr local underground storage tank regulations

Legal Cornpliagce in Investlgation and Renrediation. lt Buyer or Seller
does not materially comply with the law in conducting the
investigation and remediation of Assets, Buyer or Seller, as the case
may he, shall be entitled to notify tire other party in writing of the
shortcoming, and such other party shall have sixty (60) days in which
tc cornply, unless an agency with jurisdiction orders such party to

comply within a shorter deadline in which case such shorter deadlines

shall apply.

6.3 anironmental Liability.

(a)

(b)

Retention by Seller. Suhject to the limitations set forth in this Agreement,

Seller shall retain all liability and risk related to the Envircnrnental

Liability, directly or indirectly arising out of or related to the Assets and

existing or occurring on or prior to the Closing. This provision with

respect to Environnrental Liability constitutes a fundamental part of the

bargain between Seller and Buyer.

Seller"s Responsll)ilities. Seller shall be responsible for':

(i) Abandoned underground storage tanks discovered by the Buyer that

 

November 9, 2011

21

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 43 ot 168

r/’"\

 

require olosure, removal and/or remediation and floor drains discovered
that require closure and oleaning.

(ii) The costs associated with the treatment, proper removal, transportation
and/or disposal or bio treatment of contaminated soil and groundwater
existing on or prior to the Closing at the Properties.

(iii)'l`he costs of remediation of any Contaminants to applicable state or
federal regulatory standards or for any diminution in value of any
properties other than the Properties arising from the presence of Off“Site
Contamination if the Contaminants have been identified in the Baseline
Data as defined below and if the Contaminants are attributable to the
operation of the I-"roperties prior to the Closing or it is established that
Seller withheld material facts regarding contamination occurring during
Seller's period of ownership In determining Whether the Contaminants are
attributable to the operation of the Properties prior to the C|osing, there
shall be a rebuttable presumption that Contaminants first detected within
two (2) years after the Closing date are attributable to the operation of
Properties prior to the Closing, and that Contaminants first detected more
than two (2) years after the Ciosing date are not attributable to the
operation of the Properties prior to the Closing. ’I`he presumption that the
Contaminants are attributable to the operation of the Properties prior to the
Closing may be successfully rebutted by a determination, by a

preponderance of the evidenee, by a third party consultant engaged by

 

November 9, 2011

22

 

 

Case 2:15-Cv¥00396-.]D Document 1 Filed 01/28/15 Page 44 ot 168

{O)

Seller, that the Contaminants are not attributable to the operation of the
Properties prior to the Closing date. Similarly, the presumption that the
Contaminants are not attributable to the operation of the Properties prior to
the Closing may be successfully rebutted by a determination, by a
preponderance of the cvidence, by a third party consultant engaged by
Buyer, that the Contaminants are attributable to the operation of the
Properties prior to the Closing date. Thc method of selection of the
environmental consultant will be as foilows: It` Seller wishes to rebut the
rebuttable presulnption, Seller may engage a consultant of its choice; if
Buyer wishes to rebut the rebuttable presumption, Buyer may engage a
consultant of its choiee.

Seller‘s Indeinnification of Buyer. Subject to the limitations contained
herein Seller shall defend, indemnify and hold harmless Buyer from any
Envirorunental Liability arising from or relating to an environmental
condition existing or occurring on or prior to the Closing; provided
however, that Buyer shall notify Seller and seek input from Seller before
incurring any expenses arising from any Environrnental Liability except in
the event of an emergencyr

(i) It` Seller fails to discharge any or all of its environmental
responsibilities under this Section 6.3, and if such failure continues for
more than twenty (20) calendar days following written notice from Buyer

to Seller, Buyer shall have the right, but not the obligation, to complete

 

November 9, 2011

23

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 45 ot 168

(d)

(@)

Seller’s environmental responsibilities until they arc fully discharged

(ii) If Buyer exercises its right to assume part or all of Seller’s
environmental responsibilities under this Section 6.3, Buyer shall be
entitled to be rehnbursed by Seller for any and all expenses incurred by
Buyer in the performance of such responsibilities

(iii) Buyer shall have the right to collect snell reimbursement by
deducting the corresponding amounts from the monthly payments
otherwise due to he paid to Seller under the terms of the Promissory Note
referenced in Section 2.3 and set forth in Exhil)it F.

Buyer Responsibility. Subjcct to the limitations set forth in this
Agreement, Buyer shall be responsible for all liability and risk related to
the Environmental Liability, directly or indirectly arising out of or related
to the Assets and occurring after the Closing. This provision with respect
to Enviromnental Liability constitutes a fundamental part of the bargain

between Seller and Buyer.

Buyer's lndemnitieation of Seller. Subject to the limitations contained

herein Buyer shall defend, lndemnify, and hold harmless Seller from all
claimsl causes, of action, tines, penalties, losses, liabilities and expenses
(including reasonable legal fees) which Seller may suffer because of the
presence of Contaminants arising during Buyer‘s ownership or operation
of the Assets after the Closing as indicated by the Baseline Data as defined

below.

 

November 9, 2011

24

,:/-""”\.`__r._".._.` .h

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 46 of 168

(i)

Q¢Mgl_lng_ If, following the Closinp,r date and while Seller is
Remediating the Assets pursuant to Section 6.1 (b), there is a spill, leak
or release or a suspected spill, leak or release ("New Release") of a
Contaminant which impacts the Seller's remediation, Seller shall have
no responsibility for the New Release. If there is a New Relense, Buyer
and Seller Will mutually agree on an environmental consultant to make
a determination as to (i) whether there is a New Release; (ii) if there is
a New Release, the type and quantity of Contamlnants resulting from
the New Release; and (iii) the increase in the cost of remediation due to
the New Release. Buyer will assume the additional cost, responsibility
and liability i"or the reporting requirements, emergency response
actions, investigation and remediation of Contaminants in excess of the
“Baseline Data” as Set forth below. All reporting requirements,
emergency response actions, investigation, monitoring or remediation
of the New Release where it has not impacted Seller's remediation
shall be the sole responsibility of the Buyer. If the New Release has
impacted Seller's remediation, Buyer shall be responsibie for any
Contaminants above the Baseline Data and/or Seller‘s most recent
available soil and grotmdwater analytical resultsl It` the New Reiease

represents less than 50% of the Contaminants present, as determined

by the eonsultant, Seller shall have responsibility for the remediation of

the New Release and Buyer shall reimburse Seller for its allocable

 

November 9, 2011

25

 

;{ - -_

./-'"”\_

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 47 of 168

(s)

share of the remediation costs. if the New Rclease represents greater
than 50% of the Contaminants present, as determined by the
eonsultant, Buyer shall assume responsibility for the remediation and
have Seller reimburse Buyer for its allocable share of the remediation
costs. Seller as set forth in the preceding sentence, or turning the
remediation over to the Buyer and reimbursing the Buyer for only its
allocable share of the remediation eosts. In the event of any New
Release which impacts Seller's remediaticn, Buyer shall have full
responsibility for all reporting requirements, emergency response
actions and investigation of the New Release. Both Buyer and Seller
agree to reimburse the other party for their respective allocable share of
remediation costs within thirty (30} days of receipt of copies of original
invoices for such costs.

"Baseline Data" means the Contaminants and their concentrations
identified in the Environmental Assessment Report to be prepared `

pursuant to Paragraph 6.2 {a) of this Agreement

6.4 Real Pronertv Title Review.

(f\)

Title Insnranee Commitments. Within thirty (30) calendar days foilowing
execution of this Agreement by both parties, Buyer shall seetn'e title
insurance commitments for the Fee Prcperties, Which shall provide, upon
recordation or filing of appropriate deeds, for the issuance of ALTA Form

B title insurance policies insuring fee title to the Fee Properties to the

 

November 9, 2011

26

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 48 of 168

(b)

Buyer or its assignees as provided herein, tree and clear of all liens,
encumbrances, defects in title and other matters of record except real
estate taxes and assessments not then due and payable or such matters as
are acceptable to Buyer. Buyer shall pay the cost of title examination and
title insurance coverage in amounts Buyer may require. Buyer shall have
thirty {30) days after receipt to review said commitments I't` Buyer, in its
opinion, determines that there exists any exception to insurance coverage
which is not reasonably acceptable, then Buyer shall notify Seller within
such thirty (30) day period of such exception Any liens or encumbrances
or other instruments affecting title which are recorded after said thirty (30)
clay period may be considered objections to title.

Defects in Title. Seller shall within thirty (30) days following notification
of any defect diligently endeavor to cure, or to make arrangements

reasonably satisfactory to Buyer to cure, any such defect

6.5 Buyer‘s Investigation; Due Diligenee. Buyer Will have the right for twenty

one (21) days (“Due Diligence Period”) after Effective Date to inspect the

Properties, review the contracts and agreements relating to the Properties,

review the status of title to the Properties and to make such other inspections

(including environmental), feasibility determinations, or other studies as Buyer

determines Basecl on the conclusions that Buyer derives during thc Due

Diligenee Period, Buyer may notify Seller`within said Due Diligence Period in

Writing of its intent not to close the proposed transaction it if is not satisfied in

 

November 9, 2011

27

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 49 of 168

its sole and absolute discretion with any matter relating to the Propertics, in

which case neither party shall have any further liability to the other. Each

party shall be fully responsible to pay for all costs of its due diligence

activities

6.6 Loan Commitment. Buyer will have twenty one (21) days after the Effective Date

of this Agreement (“Loan Commitment Period") to secure a written commitment

for financing of up $7,25 0,000 of the Purchase Price (“Commitment”), in

accordance with the terms set forth in Section 7.2 (i') below

§.7 Indemnification.

(B)

(b)

Survival. Thc representations, warranties, indemnities, covenants and
other agreements herein set forth shall be deemed to be continuing and
shall survive the Closing for three years.

§eller's Indenmification to Buyer. Seller shall indenmify and hold Buyer
and its affiliates harmless from and against all olaims, expenses (inoluding
reasonable attorney's fees), losses and liabilities resulting from (i) any
material breach by Seller of any cf Seller‘s representations, wan'anties, and
covenants set forth in this Agreement or instrument of conveyance
delivered by Seller pursuant to this Agreement or (ii) any obligation or
liability relating to the ownership or operation of the Assets prior to the
Closing ("Loss" or "Losses"); provident hot-revert any obligation and
liability that may arise as a result of environmental contamination and

tanks ("Environmental Loss") shall be governed by Section 6.1, 6.2 and

 

November 9, 2011

28

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 50 of 168

(Cl

(d)

6.3 abovc.

Buyer's Inglemniiication to §eller. Buyer shall indemnify and hold Seller
and its affiliates harmless from and against all claims, expenses (including
reasonable attorne§,’st fees), losses and liabilities resulting from (i) any
material breach by Buyer of any of Buyer's representations, warranties and
covenants set forth in this Agreement or in any agreement or instrument
delivered by Buyer pursuant to this Agreement or (ii) any obligation and
liability relating to the ownership or operation of the Assets subsequent to
the Closing; provident however, that any obligation or liability that may
arise as a result of environmental contamination and tanks shall be
governed by Sections 6.1, 6.2 and 6.3 above.

Notice of Claims. Tlre indemnified party shall give prompt written notice

 

of any claim against it which may give rise to a claim against the
indemnifying party under the foregoing indemnities and the indemnifying
party shall undertake the defense, compromise or settlement of any such
matter. Thc indemnified party shall cooperate in and provide reasonable
assistance with respect to any such defense, compromise or settlement
Failure to provide prompt notice of a claim as provided in this Section
G.S(d) shall constitute a waiver of the right to indemnification with respect
to such claim to the extent the indemnifying party is prejudiced by the

delay in providing such notificationl

 

November 9, 2011

29

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 51 of 168

7. CONDITIONS PRECEI)ENT TO CLOSING.

7.1 Scller‘s Conditions Precegi§nt. Thc obligation of Seller to consummate the

transactions contemplated by this Agreement is subject to each of the

following ccnditions:

(a)

(b)

(C)

(d)

]§epresentations and Warmnties. 'l`lre representations and warranties made
by Buyer in this Agreement shall be true in all material respects when
nrade and on and as of the date of the Closing as though such
representations and warranties were made on and as of the Closing. Seller
shall have received from Buyer at the Closing satisfactory certificates to
such effect signed by an authorized officer of Buyer.

Compliance. Buyer shall have performed and complied with all provisions
of this Agreement required to be performed or complied with by Buyer
prior to the Ciosing.

No Litigation. No action or proceeding by or before any goverrmrental
authority shall have been instituted (and not subsequently disrnisscd,
settled or otherwise terminated}, which might restrain, prohibit or
invalidate any material portion of the transactions contemplated by this
Agreement

Guaranty. Seller shall have received a personal guaranty from Mr.
Kenneth C. Morrison in the form set forth in the attachment to the

Pr'ornissory note in Exlribit I.

 

November 9, 2011

30

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 52 of 168

(@)

(f)

ort a re. Seller shall have received a mortgage from Buyer on the
Properties listed on Exhibit A if permitted by Buyer’s lender.
All of the Exhibits attached to this Agreement shall be completed to the

mutual satisfaction of Buyer and Seller.

7.2 aner's Ccndition Precedent. Thc obligations of Buyer to consummate the

transactions contemplated by this Agreement are subject to each of the

following conditions:

(a)

(b)

(O)

Representations and Warranties. Thc representations and warranties made
by Seller in this Agreement shall be true in all material respects when
made and on and as of the date of the Closing as though such
representations and warranties were made on and as of the Closing. Buyer
shall have received from Seller at the Closing satisfactory certificates to
such effect signed by an authorized officer of Seller.

Compliance, Seller shall have performed and complied with all provisions
of this Agreement required to be performed or complied with by Seller
prior to the Cicsing.

No Litigation. No action or proceeding by or before any govemmental
authority shall have been instituted (and not subsequently dismissed,
settled or otherwise terminated), which might rcstrain, prohibit or
invalidate any material portion of thc transactions contemplated by this

Ai§',reementl

 

November 9, 2011

31

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 53 of 168

(d)

(C)

`ca

(s)

(h)

Ii_t_l_e_()gn_i@tl_n_e_nt§. A reputable title company acceptable to Buyer shall
have issued to Buycr, at least fourteen (14) business days prior to the
Closing, the commitments to issue owner's policies of title insurance
referred to in Section 6.4 above.

Environmentai Evaluations;_l itle Search; and Due Di|igencc. Thc results
of the Enviromnental Evaluations, title search and due diligence conducted
in accordance with Sections 6.2, 6.4 and 6.5 shall be satisfactory to Buyer
in its sole discretion; provided, if Buyer has not completed its
Environmental Eva]uations by the conclusion of the Due Di]igence Period,
Buyer may elect to waive this precondition and proceed to Closing, in
which case Buyer and Seller agree that all of the provisions in Sections
6.i, 6.2 and 6.3 shall remain in full force and affect

Loan Commitment. Buyer shall have received a Cominitment in
accordance With Section-66 above from a lender of Purchaser's selection
to finance the purchase of the Properties on terms acceptable to Buycr,
Assignm_eM. Buyer and Seller shall have successfully arranged for the
assignment by Seller and assumption by Buyer of all wholesale unbrandcd
supply contracts in place between Seller and its suppliers for the delivery
of fuel to the Properties.

Consents. Seller shall have secured ali consents and approvals required for
the sale of the Properties, including waiver of any and all contractual

rights of Gulf Oil with respect to the Properties and Subordination and

 

November 9, 2011

32

 

..... ......../. _ t

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 54 ot 168

Non-Disturbancc Agreements from the owners of the two leased
Properties.
(l) Exhil)its. All of the Exhibits attached to this Agreement shall be completed
to the mutual satisfaction of Buyer and Seller.
(j) Barnegat Lease. 'l`he Seller shall have arranged for a ten (lO) year

extension of the Barncgat Lease upon terms acceptable to Buyer.

S. MISCELLANEOUS.

S.l

8.2

8.3

Buli< Sales. All debts, obligations and liabilities of Seller, including taxes, not
expressly assumed pursuant to this Agreement with respect to the Properties
shall be promptly paid and discharged by it as and when they become due and
payable Seller agrees t'o indenmify Buyer against and in respect of any and ali
loss, liability and damage sustained by Buyer as a result of the failure of Seller
to pay and discharge as and when due any such debt, obligation cr liability,
including taxes, not assumed by Buyer. Seller further agrees that Buyer has the
right to offset any damages cr costs incurred against payments required to be
paid to Seller under Section 2 above.

Payment of Expenses and Fees. Buyer and Seller shall each bear their own
costs and expenses, except as may be otherwise provided in Section 6.1, 6.2
and 6.3 above, including but not limited to attorneys' fees incurred in
connection with the transactions contemplated in this Agreement

Ppl)_]"ic_ijy. Seller and Buyer shall jointly plan and coordinate all notices to third

parties and all other publicity concerning the transactions contemplated by this

 

November 9, 2011 ' 33

 

,- Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 55 of 168

Agreement Seller and Buyer agree not to disclose the Purchase Price in such
notices or publicity or otherwise

8.4 ALILU_LM__AM. From time to time at the request of Buyer, Seller shall
execute and deliver, or cause to he executed and delivered, such instruments
and documents and take such other action as Buyer may reasonably request to
more effectively assign, transfer and convey to Buyer or its permitted
assignees any of the Assets and to protect tile right, title and interest of Buyer
therein and the enjoyment by Buyer thereof and otherwise to carry out the
intent of this Agreement From time to time at the request of Seller, Buyer
shall execute such further documents and instruments as Seller may
reasonably request to consummate or evidence the transactions contemplated
by this Agreement or otherwise to carry out the intent of this Agreement

8.5 Assignrnent. Neither Seller nor Buyer may assign rights or delegate duties
hereunder without the prior written consent of the other party.

8.6 Entire riigreementl This Agreement, including the Exhibits and other writings
referred to herein er delivered pursuant hercto, constitutes the entire agreement
between Seller and Buyer with respect to the subject matter iiereof, and
supersedes all prior oral or written agreements, commitments or
understandings with respect thereto. No amendment hereof shall he binding on
the parties unless in Writing and signed by authorized representatives cf both
parties Thc headings used in this Agreement ere for convenience of reference

only and shall not be used to define the meaning of any provision

 

November 9, 2011 34

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 56 of 168

 

8.7 Severahility. Thc provisions of this Agreement shall be severabie, and in the
event any provision hereof shall be finally determined to he illegal or
unenforceable the remaining provisions shall remain in full force and cfr`ect.

z Any provision finally determined to be illegal or unenforceable may be
§ reformed to make il legal and enforceable Thc parties agree to negotiate in
good faith any such reformationl
§ 8.8 Notices,. A!l notices and consents to be given hereunder shall be in writing and
g shall be deemed to have been duly given if delivered personally, telefaxed
§ with confirmation of receipt, mailed by certified mail or delivered by a
recognized commercial courier to the pa1ty at the address set forth above or
such other address as any party shall have designated by 10 days' notice to the
§( § other party at the address set forth in the preamble to this Agreelnent, together
§ with a copy to counsel as follower
l:
§ Ifto Seller: [Name of Seller]
l Union Strect
Suite 208
Robbinsville, N.T 08691
lt” to the Creightons: Mr. and Mrs. J an Creighton `
' l Unicn Street

Suite 208

Rohbinsville, NJ 08691

With a copy to: David R, Fcrrey, Esq.

Lewis & Morey, L.L.C.

34 Chambers Street

Prhicetou, NJ 03542

Novem her 9_. 2011 35

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 57 of 168

If` to Buyer: Sycamore Petroleum, LLC
630 Skippack Pilce
Blue Bell, PA 19422

With a copy to: David A. Feldheim, Esq.
600 W. Germantown Pilce
Suite 400
Plymouth Meeting, PA 19462

8.9 No Third party Benciiciaries. 'I`his Agreement is not intended to and does not

confer any rights or obligations on any party that is not a signatory to this

Agreement.

8.10 Governing Law. This Agreement shall be interpreted in accordance vvith and
§ governed by the law of the Connnonweaith of Pennsylvania, without reference

to principles of conflicts ol"iaws.
( . 8.11 Venue. Any action to enforce this Agreement, or to interpret or construe the
meaning of this Agreement, shall be brought in the Federal District Court for the
Eastern District of Pennsylvania, and Purchaser and Seller hereby expressly waive

venue in any other Federal or State court.

assesssessssasss>rsa<=ssa=sss=s>:<>:<=ss*sseesss=5¢==.==1=*»:<s**#sa=>:<a>zsss>rsssss=ss*s==sasseea¢>r»r>:ot<»:<s
Signatures on Next Page

 

November 9, 2011 36

 

Case 2:15-Cv-003`96-.]D Document 1 Filed 01/28/15 Page 58 of 168

IN WITNESS. WHEREOF, the parties hereto have caused this Agreement to be

executed by their duly authorized.si_g`natel_'ies as of the date first above written.

SYCAMORE PETROLEUM, LLC

 
    

Title: J/ acid
Dat'e: ///%/j%?j/;/

GREENWO Ol) EN'l`,ERPRISES INC.

By:

 

P.`ri`nt N`a_me:_

 

'I"itle:._

 

Date:-

 

TRENTON PETROLEUM INC.,

By¢

 

'Pri_nt Name: .___________.,_.~»..._~

'l`itle:

 

Date:. _ 7
November -9, 20'11

 

" By:

KC oIL, INC.

 

Print N`am'e:

 

Title:

 

Date:

 

BUC-K_S COUNTY PETROLEUM LLC

By:

 

Print Nm`ne:

 

Title:

 

Date:

 

CREIGH'I`ON FAMILY PROPERTIES,
LLC

By.:

 

Print Name:

 

Title:_ _

Date: _

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 59 of 168

 

 

 

 

 

JAN CREIGHTON KIMBERLY CREIGHTON
Datc: Datc:
November 9, 2011 38

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 60 of 168

' 7 l l n » »¢ - - -
ll?l'.?;f.?'°_li. ‘4£'.‘*.3...5°5"52“`““"5” ““`“°“"°` ` °’ wm P.eo'wo_et

JAN CRE_IGHTON " ‘KIMBEHLY `CREI - TON

      

Date: //;'*/5."'//_ _, 17 t ._ Date: _i i-_ii¢? _'i i

 

 

November 9, 2511 ' 38

/m\

 

 

/f`\

\ .
ll{|$fdv|l

SDE|'FZOU'¢I

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 61 `of 168

|l.dd bUB”$ZHFUIUZ

Lawlsurorrey

50473 P.003/004

IN' WITNESS 'WI‘IEREOF, the parties herein have unused this Agreement in be

executed by their duly antbei*ized eignutdrles-"ns cf the date tir'st-al)evewl.'it'ten.

SYCAMORE“PETR.QIJEUM, LL.C‘.

 

 

cnnnwwonn Enafnneinsnstne.

,F»*“ a
PrintNanie: J.M 2 22..¢¢£/}%"?'

fritle: f nies a .-Jia¢j~;-)¢

baxter /’;»"* f"/ ' {-"‘

 

Tann'r'on anrnennnM'-nte,,

 

 

'PrintNam'ee z game _ 3 th'f/év
'I`ttle;.§;-.{,¢f-¢§,¢ Ai-¢»z- f

Dnte: /}~ .-'¢7/_“'! f

November 9`, 2011 57

(_XV.'.-l)'

.By¥%

'K.C-OIL, INC.

 

. ,. '~H“"- PF“ \
'Pii'nt.'r~tame:_ Ma/ f g §..'¢,f/;é‘___m/
'I‘ttle:. ».» 06 \, '

nine /./-" ré{"'!~/

nn erie corners emersoan LLC

By¢. bag % _ "".;;»_;é'
Priani'imet j:;#'»/ 7 :f~'/£gr¢.f:‘??-"V

.. ,,-,Jf.i_#-Je/e "’~
_.¢)/`» ;){ -u .

Ti'tle:
i_l)nte:

¢REIGHTON FAMILY I*RDPERTIB]S,
LLC '

  

P£"int.i§l'mne:

*.l’it!e: __ %W J/.{i ~»<.-»- vi

liath ./} f""‘." ‘/ "'/'/

BE¥M

11031`5 l..iLl.

 

_.__..:.,r“\?_._,____,_____,

Case 2:15-Cv-00396-.]D D'ocument 1 Filed 01/28/15 Page 62 of 168

 
 

` i§i"

   

EXHIBIT A

PROPERTY LIST

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Arcns Cai' Wash 640 Arena Dt’lve I-Imniltou
BMat Gnlf` 282 Route 72 Barnegat NJ 08005
Chambers Street Gaseo 1140 Chambers Street l~lamillon NJ 036]0
Greenwood Gaseo 1761 Greenwood Avenne Trenton NJ 08609
Lambertvi[[e Gasco 32 South Franklin Street Lambertville NJ 08530
Morrisville Gaseo 999 West Trenton Avenue Morrisviile PA 19067
Pemperton Gaseo 2 Arncy‘s Mounl: Roaci Pemberton NJ 08068
Sonthampton Gaseo 2344 Ronte 206&38 Southampton NJ 08088
Tri~Star Gaseo 1685 Nottingham Way Hamilton NJ 08619
West Creek Gaseo 439 Ronte 9 West Creek NJ 03092
Yarclvi[le Gasco 4364 South Broad Street Yardville 'N.l 08620
Oftloe/Warehonse 230 US Ronte 130 South Eol'dontown N.l 08505

November 9, 2011 39

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 63 of 168

EXHIBIT B
I’ERSONAL PROI’ER'I`Y

(Jason furnishes Depreeiatinn List)

 

November 9, 2011 40

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 64 of 168

EXHIBIT C
VEHICLES

(To be furnished by KC)

 

November 9, 2011 41

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 65 of 168

EXHLBIT D
DEED

('1`0 be furnished by Syemnore)

 

November 9, 2011 42

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 66 of 168

EXHIB]T E
BILL OF SALE-

('I`o be furnished by Sycamorc)

 

November 9, 2011 43

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 67 of 168

EXHIBIT F
PROMISSORY NOTE

(To be furnished by Sycamore)

 

November 9, 2011 44

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 68 of 168

C` EXHIBIT G
VEI'IICLE LEASES AND L()ANS

(To be furnished by KC)

 

November 9, 2011 45

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 69 of 168

EXHIBIT H
SELIJER DISCLOSURE STATEMENT

(To be furnished by KC)

 

November 9, 2011 45

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 70 of 168

EXHIBIT B

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 71 of 168

Schweder, |l, John L.

Subject: FW: 2011 volume
Attachments: doc20120120171734.pdf

From: Ken Morrison

Sent: Tuesday, January 24, 2012 6:35 PM
To: Jason Tarbart

Subject: 2011 volume

 

From: Jan J. Creighton [mai|to:Jan@|<-coi|.com]
Sent: Tuesday, January 24, 2012 3:27 PM

To: Ken Morrison
Cc: David R. Forrey
Subject: FW:

KC ENERGY GROUP`
K C OIL lNC. - GASCO
Jan J. Creighton, President
PH:609-208-2002 FAX:609-208-2012

Jan@k-coil.com

 

From: Joel Casterline

Sent: Tuesday, January 24, 2012 3:22 PM
To: Jan J. Creighton

Subject: FW:

Jan,

This is what l sent you on 1/20. l also sent this to you numerous times. Please let me know that this satisfies
this issue. Thanks again.

 

From: Joel Casterline

Sent: Friday, January 20, 2012 4:08 PM
To: Jan J. Creighton

Subject:

Best regards,

Joel Casterline
Vice President

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 72 of 168

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 73 of 168

 

 

1 Unoinst.,sune 203, Robbinsvin¢, NJ 085§`1 '
PH.»609~208-2002 FAX;609-203_2012
joel@k-coil.com

www.k~eoil.com

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 74 of 168

mr>_<_mmmm

  

   

 

mmmmz<<OOO

   

   

   

    

 

I>§=..~Qz _.>§mmm.“.<_:.m wm_<_mmx._.®z vmzz_zm._.O_/_ mOC._._I>§_o.M.Oz

xn O_....mmb.._.~Zm U>._.> <HO ZO<. NQ:.
<o_c=._m ~mm=os£

wmmc_m= _HSN-G.B m~e~@mm.$ cheyenne t_wmsu&_.w@ Eo.,wd_~e sessions _Bsmww.@@
25 m..rsn~.~m S~NS.S m-m~"w.$ §§er t_E.w~Hw~ newsome eggeth
950 ms.o_£.§_ mobmw.e~ mmbmw.d . weems.we… denies _m_~_u_mm-w~ wm_m_m.w_wm
esso z\> z\> z\> mmt_:@._mo _e@wow.sm z\…> …»m§%.s@
seems z\> z\_> _<> unwise z\> z\s m._w_~§w

1013 o_._ 23 23 z\>_ w_w_www._mm z\> z\> _ is
343 r~ww§~.§ ew~_.»_w».~w ~.wme_p_d.@m _§~Lm_o.§ sm.m_m_»_m.…$ §‘w~.$o.&. E...,.."__$HB

mm_mm ca qo=m~&

552 m~_.m$.ewm.@~ w ~.G$£.B ww~s.o.@um_,~w.ww me.mm@._-~.ms m rcww_r%w.m.s mwt_oww.wmew~ m HE_§,Q,_§@
_0_=_.... m ~se_....wwwd w ~B-£.B m EO.~G_.E m m_§.wmeo m wo.mww.$ m New,§w._…- m mm~__@.$.mm
§§ m §§~@.B m E§U-S w EP.G@._S m Bs_.~@_m.@.w w ewa§_.ww W _we§ww.@.m m .£._e~,ow.e
esa_ z\> z\_> 219 w ~m§mm.mm m sm._§,mw e§Em w sopd…§w
assumes z\> z\> _<> _.m Sm.§w.% ,,¢<>Em_ _n<>Em_ m H_mmo@.~m

1095 o_= z\> z\> z\> w §§w_.w.£ s<>Em s<>__.cm s<»&m
343 m>:w m w.~m-$m_bm m_~_m§~&m.wm ..,.,__w.~mo.£e.sw w r~.mmwtmme.$ M.,r_»$‘_m$.£ m wm_ms_b~n..$ M_, ~._$_w.m_~w.ew

m__.om.,,. _oBmH § .

assess w wmp$s.,£ NS.Q&._E _mmmb§.m~ _w_B~E_~.Nm "E.PEW.H …m@§mo.mm iwwm.we§
30 m ~NHG.G E_rmww.mw Sbm§w §t¢we_m.~s m.m~m.ws m§wo.% B__§m.ww
§§ m 5@3.3 S.m~e.wm B_mm~.~s wm-§_.mw §Bm.£ me._om_w.m@ S….dlw.$
gen z\> z\> 29 easemth §S.$ z\>_ nw._~.m_e.mm

§B.s=w z\> z\> z\> wsbmw_.,- z\> z_\> 355

renew om z\> z\> z\> N~rwmwew z\> z\>_ z\>.
B.B_. mxomm 305 m som_¢wm.d. w ~srdm.os m ms_ww~w.s_w w §m.e_~w.§ w Sw.._~_$.~m w _Bw_.wm...$ w sws.wo_~_,o_m

<o_E.=m Amm__o:&

 

  

Hx_m._.>m

. ¢<mm._. nxmmx
zn O_umxb._.:a_m _u>._.> <._.U ZO<. wm xn .G__l m_Hm _.m<m_. Ovmmb._._zm U>_.Dp 56 205 NQ:._

<>mc<_£.m

     

mdmzmm>._.

 

_<_Ox_~_m<=._.m

mmwc_m= om~.owm.% swmtemo-mw mwm-@o._.…§ _wow`w,ms.§ w_w§@_~.$
8 23 mob€..d Ebm@.§ “~_Ppo_m.ww z\> GL.£.-
w weems schemes ~e.m~w.s~ sm~mw@.§ ~P_~ws.wo ssm.$~wm
,.m o_mmm_ ~®~.mme..& ~w~.mow.ms_ wm.§w.% wmm~£m.@_@_. z_\>_
H xm_.omm:m Nmmm.qw w.omm.m.m z\> z\> z\.p
e Imm§m o= z\> z\> z\> z\> z\>
0 .§.>F ».E.o.bos.o@ .`.m».»£.cm urme_b~m.m» Bm.~$.~w .,.S_,~w».~m
mm_m.~. ca ao=m~&
w£:_m“ w_~..»~r$w.`.~ m H.w@@.n.mw.sm m_.._.m§.mmw.m~ m .`.Qw_,c_dm~iw@ m_»_._@_~.>w_m~.mw
25 m EPNE.S m mp§o.om m _mN.mwQ.S e<>_.cm m _s_wmmo.wo
§§ w Ew_omm.sm m cotwmw.w~ m BN@S..B m _S____B_,m.w~ m_»m£bmm_.oe
203 m USNG.B w EQ_BM.B w EPWB._E m m~m.b.~w.& s<>.rcm_
_s_a§m m ~Po.sw.m@ m §NQ.B e<»Em_ s<e.cm a<>Em__
1013 om_. e<>_.cm. n<>E_m e<>_.,cm_ ,e<>E mm m -

3§;>:$ m w.-w.$m.$ w ~.~3_~§.§ t m ~_»S.$Pwo w o.mw~..w~w.~m m ~.Sm.~@,m.~w

cV-00396-.]D Documentl Filed 01/28/15 Pa

mBmw 365 §
names wwm.mws.o» .~B._.m£.mw .ww@s@~.wm ee_tem_@.wm Emtmow.w~
35 ~§E.B B~@mm.wp E.S_N_.S 23 mt-w.ma
mesa E.PH.B ENE.B B`~mm.w~ "~Qu_,s.w.…~m .G@Qs~.@m
came E§£.m~ @§S.~Q S_SN,E E§E.E §P
_s§§m @.m~w.w@ w.mmw.wm z\> z\> z\>
:ms=:m o= z\> z\) z\> _z\> _,<>

_ 343 crown 255 w m£bmw.$ m wepm$.w» w www_w~w.£ w _Nw».swsnm m ~§_.EPS

Case 2:15

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 76 of 168

EXHIBIT C

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 77 of 168

Assa'r PURCI-Iasnj AGREEMENT~
(’fwo S_ites)
Il.`O_R .AND` IN CONSIDERAT,ION of the mutual benefits accruing and expected to
accrue 'tereun‘der, this Asset. Pnrchase Agreement ("‘Agreentent”)_ is entered into as of th`c'

c ay of November, 2011 (f‘Effective~ Date” , by and between SYCAMORE BNERGY,

  

LLC, a. Peimsylva_nia limited liability company with its principal place cf business at 630
Sltil)jiack Pike, Blue B.e'l`i, P'A 1-9422‘ or- ils designee, ("'Btlyer"), and KC OIL,` INC.,_
.GR'EENWOOD ENTERPRISES TNC., BUCKS COUNTY PE'l`ROLEUi\/l LLC,
TRJENTON"PETROLEUM INC., CRE`.IGH'ITON T"AMILY PROPERTIES, LLC and JAN &
KliviBERl_.Y CREIGHTON, with their principal place of business at l- Union Street, Suite
208, Rob_b_i'nsville, NJ 08691('individuai_ly and collectively the “Seiler” 'or ‘-‘Seliers”), all ol`

whoin,_ intending to be.l`e_ga'ily bound, hereby agree as'follows:

Seller desires to sell or assign to Buyer, and Buyer desires to purchase or accept
assignment front Seller, oh the terns set forth herein, certain ot` Seller's. assets used in the
operation of Seller’s business of supplying gasoline and heating oil to commercial and residential

accounts ("B`;us_iness_"_), including Buyer’s purchase ot"`two real property locations (“Prop.erties"~’)

more fully described in:Exhil)it'ri.
Aceordingly, the parties, intending to be legally bound, hereby agree as foilows:
l. PU.RCI‘IASI.€ AND SALE OF ASSETS.
l.i Assets to be Soid. Seller shall selI, transfer and assign to Buyer, at the Cios'ing
(as._detined in Section 215 belo'\y)`, and Buyer shall '13111'ciiase and receive, at the
Closin_g, all right,. title and interest ct` Seller .i"n the following assets [_"Assets".):

(a)- .F`ee .Property Assets.

 

November -1'0,_2011 `1

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 78 ot 168

- ---_.W-................_..._.____..,_~._..___._. __..__.........._ ,, _.__, . ... _

(1` il

inn

Real Prop_erty. Thc two (2) Fee Properties listed in attached
Exltibit A together with (A) all structures, buildings,
compressors, applianccs, electrical, plumbing, heating,
ventilating and air conditioning machinery and of every kind,
character and description appurtenant to thc Properties, and all
parking facilities and other improvements located on the
Properties, which machinery and equipment shall he in working
order at the time of the Closing; and (B) all the right, title and
interest of Seller in any land lying in the bed of any public street,
road or avenue opened or proposed in front of or adjoining the
Properties, and all riglit, title and interest of Seller in and to any
award made or to be made in lieu thereof and to any unpaid
award for damage to the Properties by reason ol" a change of
grade of any street, and all rights of way, privileges and
appurtenances pertaining to the Properties.

Personal Pi;op_er_ty. Thc tangible personal property, including
goods, furniture, i`urnishings, fixtures, equipment, usable supplies
and all other tangible personal property currently located on or at
the Properties by Seller, as listed on attached Exhibit B
("Personal Property").

Inventory. Inventories of itelproducts at the Fee Properties, to be

valued at the Ciosing in accordance with Section 2.3 below.

 

§ November 10, 2011

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 79 ot 168

(b)

(i)
(ii)

(iii)

(ir)

(V)

(Vi)

Heating Oii aniness.

Vehiclcs. All motor vehicles set forth in attached Exhil)lt C.

Customer List. A complete and accurate list attached as Exhibit

 

__D_ of commercial, retail and bid Cust'omers for commercial and
residential heating oil (“aniness”) as of the Closing Date,
includinga detailed listing of volumes purchased for the past
three (3) years and identification of those Customers who are pre-
paid budget or burner service contract customers and the
financial standing of each such customer as of the Closing Date.
Foel Inventory_. Bnik and bottled motor oil stored at the
Warehouse.

Burner and Service Pai'ts_. All non~obsolete burner and service
parts inventory.

Contracts. All budget cnstolner, burner service, contract distillate
bid business and other contracts as set forth in attached Exhibit E.
Other Assets Used in the Busines . All other assets used in
connection with the operation of Seller's heating oil and retail
gasoline and distillate business in Hunterdon, Mercer, Burlington
and Ocean counties (“Territory” , including copies, or originals
as agreed, of books, records and other papers which Seller and
Buyer agree are necessary for Buyer to service Seller's heating oil

or other petroleum customers

 

t November 10, 2011

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 80 of 168

(<>)

(d)

(vii) Name. The right and license for Buyer to use the names “KC

 

Oil”, “Marriott”, “Snyder”, “Kcenig” and all other trade names
and trademarks and similar derivatives used in the Business.

(viii) Phone Numbers: Web Siles. Transfer to Buyer of all phone numbers
and Web Sites used in the operation of the Properties and the
Business.

(ix} Bool<s and Reeords. All books, records, software (whet.her owned or
iicensed, and, iflicensed, assignment of such licensed rights), office
supplies and equipment

(x) Assigmnent of Lease. Assigimient of the Office Lcase for the office
space in Robbinsville, New Liersey.

Cash and Credit Card Rccoit)ts. Seller shall be entitled to keep all

cash in the drawer on the day of the Closing. Buyer shall be entitled to

keep all credit card payments arising from ali transactions at the Properties

Or arising from the Bllsiness prior tc, on and after the Closing.

No Merger; No Successor in Interest. Buyer and Seller affirm that they

intend this Agreement to provide the terms and conditions for the purchase

and sale ot` certain specified assets and the assumption of several explicitly
described liabilities; Buyer is not purchasing all of the Seller’s assets;

Buyer will not be offering employment to all of the Seller’s owners and/or

einployees; and tile parties expressly acknowledge and agree that neither

this transaction nor the Agreement ls intended to (i) create a merger

 

November 10, 2011

 

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 81 of 168

between the parties, either by contract or operation of laW, or confer

“successor in intercst" status on the Buyer.

1.2 Conveyancing Instruments. T he title to the Fee I’ropertics to bc conveyed by
Seller pursuant to Section l.l above shall be conveyed by means of bargain
and sale deed with covenant against grantor‘s acts in the form ot' attached
Exltibit' F. Thc remaining Assets shall be conveyed pursuant to one or more
bills of sale and assignments in the form of attached Exhibit G.

.1.3 Covenants Not to Compete, At the Clcsing, all Sellers shall agree to be bound
by the following restrictive covenants commencing at the Closing, each of
which is hereby acknowledged to be fair and reasonable and each of which
Will be memorialized in a separate instrument to be signed by each Seller:

(a) Covenant. Sellers covenant and agree that, for the Sixty (6{)) months
commencing at the Closing, Sellers shall not sell any distillate,
kerosene, diesel fuel, off road diesei, gasolinc, r treating oil, natural gas
or electricity to {I) any customers on the Customer List; or (Il) any
location in the Territory or any counties adjacent to the Territory.

(b) Non-Disclosure. Seller expressly acknowledges that the Ctlstomer Lisi
and other trade secrets of Seller associated with the Custoiner List
being purchased and sold pursuant to this Agreement are valuable
assets, and hereby further covenants and agrees that Seller shall not at
any time alter the Closing use or permit the usc, by Seller or any
person or entity under its control, of either the Customer List or any

such trade secrets or directly or indirectly communicate or divulge the

 

November 10, 2011 5

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 82 ot 168

contents of the Customer List or any such trade secrets to any person or
entity whatever.
2. PURCHASE PRICE AND TERMS OI=‘ I’AYMENT.

2.1 Purchase Priee. Subject: to the adjustments for advance payments pursuant to
Section 2.2 below, the purchase price for the Asscts ("Purchase Price") shall
be Two Million Dollars ($2,(}00,000) plus the (a) value of the Fuel lnventory,
calculated as set forth below, and (b) the Net Accounts Receivable:

2.?, Adiusnnent t`or Certain Customer Advance Payments. Au adiustment to the
Purehase Price set forth in Section 2.1 above shall be made to provide Buyer a
credit for monies received by Seller from customers on_t'lie Customer List
pursuant to prepaid budget plans, burner service plans or any other

prepayment arrangements to the extent the payments received by Seller exceed

...-. .......,."._.__.,.,__................ .

the value of the products or services delivered prior to the Closing, using the
calculation described in attached Exi\ibit I-I.

2.3 Det'ermination of Fuel Inventory. Buyer and Seller shall (i) jointly determine
the actual quantities of fuel at the two Fee Properties and bulk and bottled
motor oil inventory stored at the warehouse on the day of the Closing; and (ii)

i jointly compute thc value of the iith and bulk and bottled motor oil inventory
using the lower of Seller's delivered cost or market value as evidenced by
documentation furnishch by Seller.

2.4 Accounts Receivable. Seller shall deliver to Buyer at the C]osing a true and
accurate lists containing the name and address ol` each of Seller‘s customers

who are currently indebted to it as of the date of the Closing, together with the

 

( November 10, 2011 5

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 83 of 168

2.5

2.6

amount due from each such customer. Thc Buyer shall have the exclusive right

and responsibility to collect such accounts for its own account for ninety (90)

days from the Closing Date, and shall make the customary effort used in the

regular course of its business to collect the same. Within ten (10) days of the
end of the ninety (90) days following the Closing Date, Seller shall repurchase
all uncollected accounts receivable from Buyer at face value.

Payment of Pnrchase Price. At the CIosing, in lieu of payment in cash, the

Seller shall accept a Promissory Note from Buyer in the amount of Two

Million Dollars ($2,000,000), payable in equal monthly payments of principal

and interest over 'l`en (lO) years at Six Percent (6.00%), in the form attached

as Exhibit I. Thc Proinissory Note shall be secured by (a) a personal guaranty
from Mr. l<lennctll C. Morrison, one of the Members of the Purchaser, in the
form attached to the Promissory Note in Exhibit I; and (b) a mortgage on the

two Fee Properties listed in Exhibit A.

Lirnitecl Assuinption of Liabilities; Diselaimer.

(a) Liabilities Assurned. On the date of Closing Buyer shall assume and
undertake only Seller’s obligations with respect to (l) prepaid budget
customer agreements', {Il) all vehicle leases and loans; and (lll} the
other contracts set forth in attached Exhil)it E, referred to in Section
l.l (b) (iv) above, and‘no others; ;a"c;»vl'o'ca'lJ hou'evel‘, that Buyer shall
not be obligated to sell any petroleum product to any customer if the
customer‘s tank does not meet Buyer's reasonable requirements for

tank integrity and environmental conditions or does not meet

 

November 10, 2011 7

 

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 84 ot 168

(b)

regulatory requirements for tanks in effect on the date of the Closing.

liabilities Not Assurn§d.

(i)

(ii)

Buyer is not assuming, and Buyer hereby does not assume, anyr
commitment, liability or obligation of Seller as a result of Buyer's
purchase of the Business ortho Properlies except as expressly set
forth in attached Exhibit E, and Buyer expressly disclaims
responsibility for any liability not listed on Exhibit F.

With respect to equipment, Buyer is acquiring only those items of
equipment speciticatly identitich in attached Exhibit B and is not
acquiring or assuming any obligation or liability whatsoever
With respect to any underground or above-ground storage tanks

and related piping or any other equipment of Seller or third

parties -at any locations except the equipment specifically

identiiiecl in attached Exhil)it B, which are_to be conveyed
pursuant to the deeds and bills of sale as more fully set forth in
Section 6 beiow, and Buyer hereby expressly disclaims

responsibility for any liability not listed on Exhibit B..

2.7 Q_l_o_S_ing. The Closing of the transactions contemplated hereby and the transfer

of the Assets ("Closing*') shall occur on or before seventh calendar day

following expiration of the Due Diligenoe Period, at the offices of Hopewell

Valley Bank in Pennington, New Jersey or at such other time and place as

Seller and Buyer may agree in writing; provided, Buyer shall have the right to

postpone the Closing one time by up to eight (8) days by deiivcry of written

 

November 1(1, 2011

8

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 85 of 168

notice to Seller prior to the scheduled Closing datc.

3. EMPLOYEES AND BENEFITS.

3.}

32

Employees. Buyer shall have the right but not the obligation to offer
employment to any or all of Seller's employees who currently work as drivers,
burner~service technicians, office personnel and managers at the Fee
Propertics or in connection with the Basiness, such employinth offers being
under whatever terms and conditions that the Buyer shall deem appropriatel lt
shail be in the sole discretion of the affected employees or supervisory
personnel to elect to accept any such offers of employment Neithcr Seller ncr
any of its affiliate corporations shall offer employment to said employees
unless Buyer does not offer them employment inithin 30 days following the
Closing.

Benetit Ijl_ai§. Buyer is not assuming any liability for any employee plans,
programs, practices and arrangements including but not limited to any
employee benefit plan as that term as is defined in Section 3(s) of the
Employee Retirement Income Security Act of 1974 .("Einployee Plans").
Seller shall indemnify and hold Buyer harmless from any such liability arising

wider any Empioyee Plans in accordance with Section 6,3 below.

4. TAXES AND ALLOCATEI} EXPENSES.

4.1

Payment of Excise Taxes. Seller shall collect from Buyer at the Ctosing, make
all required reports, and pay directly to each and every taxing authority any
and all taxes, fees and assessments which arise as a result of this Agreement

(collectively "Excise Taxes"), to the extent that the statute imposing any such

 

November 10, 2011 9

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 86 of 168

Excise Tax imposes an obligation on a buyer, user or operator to pay such
taxes. Foilowing the Closing, Seller shall have no further obligation in this
rcgard. “Excise Taxes" shall include, without limitation, any Iieense,
registration or fees and all sales, use, excise, motor fuel, gross receipts, stamp,
plus any penalties or interest thereon, which shall be levied or assessed by any
foreign, fcdcral, state or iocal government or other taxing authority With
respect to the Assets conveyed, assigned or transferred pursuant to this
Agreement "Exeise Taxes" shall exclude incoine, franchise, or like taxes
levied on or measured by Buyer‘s net incoine.

42 Propetty 'l`axes. Ail real estate (except transfer), ad valorem and personal
property taxes and charges on any of the As_sets (colicetive[y "Propcrty
Taxes") shall be prorated between Seller and Buyer as of the date of the
Closing, With regard to any special or general assessments against any of the
Assets which are payable in instalhnents, Buyer shall be responsible for ali
payments which fait due subsequent to the date of the Closing and Seller shall
be responsible for all payments which fait due on or prior to the date of the
Closing. Buyer shall account to Seller for and shall pay to Seller at the
Closing, Buyer's pro rata share oi" any Property Taxes paid by Seller prior to
the date of the Closing.

43 Transfer Tax. The expense and cost of all federai, state and local documentary
stamp, conveyance transfer and other taxes or charges in lieu thereof relating
to the sale and conveyance of the Fee Property shall be paid by Seller. All

federal, state or local taxes, including sales taxes, relating to the sale and

 

November 10, 2011 10

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 87 of 168

conveyance of the personal property hereunder shall be paid by Buyer.

4.4 'l‘ax Liability. Exccpt as otherwise provided herein (i) Seller shall be
responsible for and pay all taxes levied or imposed upon or in connection with
the conduct or operation of the Busincss prior to the date of the Closing; and
(ii) Buyer shall be responsible for and pay all taxes levied or imposed upon or
in connection with the conduct or operation of the Business on and after the
date of the Closing. Any interest and penalties arising in connection with taxes
due under this Section 4.5 shall be the responsibility of the party required to
timely file correct tax returns concerning such taxes and pay the taxes required
to be paid thereunder.

4.5. 'i`ax Filings. Seller shall be responsible for timely filing of all tax returns
required by law to be filed in respect to the ownership of the Assets and the
operation of the Business as of the date of the Closing. All taxes indicated as
due and payable on such returns shall be paid by Seller as and when required
by law, except for such taxes as may be contested by Seller in good faith.
Buyer shall be responsible for timely filing of ali tax returns required by law to
be filed in respect of the ownership and the operation of the Busincss after the
date of the Closing. All taxes indicated as doe and payable on such returns
shall be paid by Buyer as and when required by iaw, except for such taxes as
may be contested by Buyer in good faith.

4.6 'l`ax information Eaeh party to this Agreement shall provide the other party
with access to all relevant document's, data and other information which may

be required by the other party for the purpose of preparing tax returns and

 

November 10, 2011 11

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 88 of 168

4.7

4.3

4.9

responding to any audit by any goverrunental agency. Each party to this
Agreement shall cooperate with all reasonable requests of the other party made
in connection with resisting or contesting the imposition oi` taxes.
Notwithstanding anything to the contrary in this Agreement, neither party to
this Agreement shall be required at any time to disclose to the other income
tax returns or other confidential tax information except to the extent required
by government subpoena

Der)osits and Prenaid Ext)enses, Any refundable deposits, prepaid expenses,
prepaid rents and similar items relating to the Assets shall be prorated between
the parties at and as of the date of the Closing.

Mes. Charges for water, gas, power, liglrt, Internet and other utility
services shall be Seller's with respect to service up to and through the date of
the Closing and shall be Buyer‘s with respect to service after the date of the
Closing.

Er_r_v_ir_“tnlr_nentai and Underground Systern 'I"esting. 'i`he cost of underground
system and environmental testing done in accordance with Section 6.1, 62 and

6.3 below shall be allocated in accordance with Section 6.1, 6.2 and 6.3 below.

REPRESENTATIONS AND WARRANTIES.

5.i

Disclcsures. information may be added to the disclosures iu attached ,I_L`_rgl_lil)£
§ (see beiow) between the date of execution of this Agreement and tirel date of
the Closing; providedl Irorrer'er, that if any additional disclosure materially
and adversely affects Buyer's ability to own or operate the Properties or the

Business, then Buyer shall have the right to terminate this Agreement

 

November 10, 2011 12

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 89 of 168

5.2 Scllcr‘s Re)rcsentations and Warranties. Seller re resents and warrants that,
____.,,_.H_l___.______ P

except as disclosed by Seller in writing prior to the Closing as shown on

attached Exhlbit J:

(a)

(b)

(C)

(d)

Corgoratc Organizaticn. Each of the corporate Sellers is a corporation
duly organized, validly existing, and in good standing under the laws
of the State of New Jersey and has the corporate power and authority to
own its property and to carry on the Business as now conducted, and to
enter into and to carry out the terms and conditions of this Agreement

Corporate Autiiorization. 'l`he execution and delivery of this
Agreement and the consummation oi` the transactions contemplated
hereby have been duly authorized by all necessary corporate action on
behalf of Seller. Seller is not subject to any by»law, agreement,
instrument, order or decree of any court or governmental bocl§t which
would prevent or prohibit, in whole or in part, consummation of the

transactions contemplated by this Agreement

No Brokers, Seller is neither a party to nor in any way obligated under
any contract or outstanding claim for the payment of any brokers or
iinder's fee or similar ageney, and no person is entitled to a
commission or other compensation in contraction with the origin, t
ncgotiation, execution or performance of this Agreement

litigation or Claims. There is no legal action, claim or controversy, or

governmental proceeding or investigation pending or tin'eatened

 

November 10, 2011

13

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 90 of 168

tel

{f)

ts)

{h)

against Seller which would materially and adversely affect Buyer's
ability to operate the Business and/or Assets in the manner in which
they are now being operated or which would materially and adversely
affect the value of the Assets.

Operation in Coinplianee with Laws. ’i`he Assets are being operated in
substantial compliance with all applicable laws, regulations and
ordinances in all material respectsl

Title to Personal Property. Seller has good and merchantable title to the
Personal Property transferred hereunder free of liens, charges or
encumbrances of any nature, except any liens to be discharged at the
Closing from the proceeds of the sale.

Title to the Properties. Seller's interest in the Properties transferred
hereunder shall be conveyed free of any rights of first refusal or other
encumbrances, mortgages, liens, mechanics liens, security interests and
other similar forms of financial obligations or liabilities, excepting
liens for real property taxes or franchises taxes which are not yet due
and payable Seller is not in material violation of any iaw, regulation or
ordinance relating to zoning or city planning at the Properties.

Custoiner List. Thc Customer List attached as Exllibit }) is trne, accurate
and complete, including (i) the volumes displayed; (ii) the identification of
those Customers who arc prepaid budget or burner service contract

oustomers; and (iii) the financial standing of each as of the Closing Date.

 

November 10, 2011

14

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 91 of 168

(i)

(i)

tk)

(1)

(111)

g§oliective Bargaining. Ncne ot` Seller's employees related to the
Business are covered under any collective bargaining agreements and
there are no labor unions or pending petitions to or for labor unions
representing employees cf Seller employed in any capacity related to
the Busiuess, nor are there any material grievances of employees that
Would' materially and adversely affect the Buyer's ability to operate the
Business or the l)roperties as they are now being operated at the
Properties.

Good Faith, Due Diiigence. Thc representations and warranties made
by Seller in this Agreement and any certificates to be furnished by
Seller pursuant to this Agreement are made in good i`aith, and Seller
has used due diligence to determine that there are no untrue or
misleading statements or omissions of material facts contained therein
All of the information in the Bxhibits and other material furnished by
Seller to Buyer is true and complete in all material a lien against
Assets, have been or will be paid by Seller.

Maintenance. The Assets have been maintained in operable condition
and repair, and all equipment at the Properties or used in the Business
is in good working order.

_'I_U All taxes, whether federal, state or local, which are or may

become a lien against Assets, have been or will be paid by Seller.

Einployment Contraots. There are no outstanding contracts for services

with officers, employccs, professional persons or firms or independent

 

November 10, 2011

15

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 92 of 168

00

{O)

(a)

contractors to which Seller is a party which materially and adversely
affects its Busincss or its employees and “ihich, as a result of the purchase
contemplated by this Agreemenl, Buyer shall be responsible to assu:ne.

Group Health and Pension Plans. Except the group health plan described
on Exhibit E, which Buyer has agreed to assume and maintain until the
Seller employees are transferred to the Buyer’s health plan, there are no

plans in effect or commitments for group health insurance, group life

insurance, profit_sharing, pension cr retirement or any other plans or

similar benefits to which any employees of the Business may he entitled
and which, as a result of the purchase contemplated by this Agreement,

Buyer shall he responsible to assume

Defaults on Contracts Assumed by Buyer. There has not occurred any
material default of Seller in respect of any contractor obligation to be
assumed by Buyer under this Agreement orally event which, With the
lapse of time, shall become a material default under any such contract

Compliance With i.laws. Seller has complied with ali applicable laws,
orders and regulations of the fcderal, state and/or local governments or
any agency thereof affecting the Business, including but not limited to
the provisions thereof relating to wages, hours, collective bargaining
and the payment of social security and unemployment taxcs, and Buyer
is not liable for any arrears of wages or any tax, damage or penalties

for failure to comply with any of the foregoing

 

November 10, 2011

16

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 93 of 168

(<1)

(1‘)

Execution and Delivery. ’i`he execution and delivery of this Agreement,
and the consummation of the transactions herein contemplated shall
not conflict with, cr result in the breach of, cr accelerate the
performance required by, any terms of any agreement to which Seller

is a party or constitute a default thereunder, or result in the creation of
any lien, charge or encumbrance on the Pee Property or any of the
Assets.

Qperations and Maintenance of Asseis Prior to Closing. After the
Eft`ective Date and prior to the Ciosing, Seller shall use and maintain the
Properties and the Business in substantially the same manner in which
they have been used and maintained prior to the date hercof, with a view
toward maintaining such Properties and the Business associated therewith
on at least as high a level as enjoyed on the date hereof Seller shall use all
reasonable efforts to preserve existing relations with the employees,
suppliers and customers associated with the Properties and Business.
Seller shall not materially alter the assets or remove any improvements
equipment or properties which comprise the assets, with the exception of
items sold, transferred disposed of or consumed in the ordinary course of
business, without the written consent of Buyer. Seller shall promptly
notify Buyer of any material matter affecting the Properties or the

Business which arises from the date of this Agreement to the date cf the

l Ciosing.

 

November 10, 2011

l?'

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 94 ot 168

(S)

(f}

Insnrance. Seller has maintained, and will continue to maintain
through the Ciosing, adequate insurance for the operation of thc Properties
and the Business, and such insurance coverage will remain in place for
claims arising after the Closing for events occurring on or at the Properties
or arising from operation of the Business on or prior to the Closing.
Sales and Volg:nes. The sales figures and volume history for each of the
Propeities and for the Business furnished by Seller to Buyer are accurate

and complete

5.3 Buyer's Renrescntaticns and Warranties. Buyer renrescnts and warrants:

(a)

(b)

wmatc Organization. Buyer is a limited liability Contpany duly
organized validly existing, and in good standing under the laws of the
Commonwealth ot` Pennsylvania, and has the corporate power and
authority to own its property and to carry on its business as now
conducted and to enter into, and to carry out the terms and conditions
of this Agreementd

Corporate Authorization. Thc execution and delivery of this
Agreement and the consummation the transactions contemplated
hereby have been duly authorized by all necessary corporate action on
behalf of Buyer. Buyer is not subject to any charter, by~law,
agreement, instrument, order or decree cf any court or governmental
body which would prevent consummation of the transactions

contemplated by this Agreement

 

November 10, 2011

18

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 95 of 168

(G)

§roker. Buyer is not n party to, is not in any way obligated under, and
has no knowledge of any contract or outstanding claim for the payment
of any brokers or iinder's fee in connection with tile origin,

negotiation, execution or performance of this Agreement

ADDITIONAL C()VENANTS.

6.] Environmental Definitions

 

(a)

(b)

Enviroznnental Liability. "Environrnental Liability" refers to any
causes of aetion, fine, penalty, ciaim, demand, action, proceeding,
liability, damage, loss or expense (including reasonable attorney fees)
with respect to (i) the generation, recycling, processing, handling,
presence, transportation, storage, treatment, or disposal of any
"contaminant", as said quoted term is defined below; (ii) the release,
emission, or discharge to surface soils, subsurface soils, surface Waters
or groundwater, including the release from the underground or above
ground storage system (inoinding products lines) or into air of any
containinant; (iii) exposure of any persons to eontaminants; or (iv) any
violation of any environmental ]aw, ordinance, rule or regulation or
cost recovery under any other law, regulation or order.

Remediating the Assets. "Remediating the Assets“ refers to ali efforts
to eieanup On~Site Contamination and Off-Site Contamination to
applicable state and federal regulatory levels as required by state and

federal regulatory agencies which may inelude, but not be limited t'o,

 

November 10, 2011

19

6, DUE DILLIGENCIB, ENVIRONMENTAL INVESTIGATION AND OTHER

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 96 of 168

(C)

(d)

(€)

free product recovery, clean-up of dissolved_hydrocarbons, soil and
water treatment or removal, equipment purchase and rental, well
drilling, permit and license fees, laboratory analysis, contractor and
subcontractor costs (excluding reasonable attorneys’ fees and costs of
Buyer‘s or Seiler‘s employees), preparation of any plans, documents or
filing required by regulatory agencies, groundwater treatment
monitoring costs and landfill and other costs for proper disposal or
treatment of contaminated water and soil and transportation costs.

Contaminant. "Contaminant“ means (i)” "hazardcus substances“ as
defined by the Cornprehensive Environtnental Response,
Compensation and Liability Act (“CERCLA“), 42 U.S.C. 9601 et. seq,;

(ii) "hazardous waste" as defined by the Resourec Conservation and

_Recovery Act (“RCRA"), 42 U.S.C. 6901 el. seq.; cr (iii} "nort-

hazardous" substanccs, materials, wastes," products, pollutants,
chemicals or raw materials that are subject to regulation as of the date
of the Closing and require monitoring investigation andfor remediation
by the appropriate govermnenta] agency.

On-Slte Contarnination‘ "On~Site Contatnination" means

 

contamination Witbin the legal boundaries of the Fee Property in
surface soils, subsurface soils, surface waters or groundwaterr

OEE-Site Ccntamination. "Ofi`-Site Contamination" means»

 

contamination outside the legal boundaries of the l?ee Property that is

present because of the migration of any contaminant from the Fee

 

November 10, 2011

¢

20

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 97 of 168

Properties.

6.2 Enviromnental Tests and Inspegtions.

(a)

Enyironmental Assessment Prior to the Closing, Buyer shall exercise
its best efforts to complete an Environmental Assessment ot` the
Properties. if the Enviromnental Assessment is not completed prior to
tire Closing, Buyer may elect to close on the transaction but continue
the Enviromnental Assessment after the Closing, whereupon the results
shall be presented to Seller. if the Seller in good faith does not agree
with the Enviromnental Assessment, the Buyer’s and Seller’s
consultants shall meet and mutually agree on the findings ot` the
Environmental Consultant. Thc Environmentai Assessment shall
include, where necessary, the drilling and development of observation
wells (or soil borings only where groundwater is not encountered) and
review of existing samples, analytical"~results and other tiles and
records Buyer shall bear the costs of all tests and inspections that it
elects to conduct pursuant to this Section 6.2(a). Copies of the written
results of the Enviromnental Assessment shall be promptly forwarded
to Seller, and Buyer shall formulate and submit all reports required by
law regarding contamination discovered by the Environmental
Assessment in accordance with the reporting requirements ol"
regulatory agencies, including a copy to Seller, and in all events prior
to the Closing or sooner if the regulations so require, if Seller‘s

Environmental Assess:nent suggests the presence of Ot`l"~Site

 

November 10, 2011

21

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 98 of 168

(b)

November 10, 2011

Contamination, Seller shall, within one year following the Closing,
conduct an assessment to identify the existence and extent of such

contamination and to fully delineate the extent of such contamination

I_an_l,<_s. Within two weeks prior to the Closing, Seller shall have the
right, in its sole discretion to decide whether to (i) arrange for (X)
Seller and Buyer jointly to visually inspect all the above ground tanks
and for (Y) Buyer to perform line testing and sticking of the tanks for
interstitial contamination or leaks on all underground tanks located at
the Fec Properties at Buyer’s expense, which results shall immediately
be submitted to Seller; or (li) accept Seller’s most recent tank and line
inspection results, copies of which have been furnished by Seller to
Buyer. The test procedure used shall be mutually agreed to by the
parties on gasoline tanks and waste oil or heating oil tanks, if any, to be
acquired Buyer shall promptly furnish Seller with copies of all system
integrity test reports. Tests shall identify whether a defect is in a tank
or line. In the event a line or tank fails testing, Seller shall correct such
defect and any other defects until such line or tanks pass such test. In
the event a tank cr line does not test or retest tight, the cost of labor and
materials associated with the repair or replacement of individual
underground tanks and lines that fail testing and any associated
treatment or disposal of contaminated soil and water associated with
the tank or line removal shall be assumed by Seller, and all

replacements shall be of lines or tanks as required under current
22

 

`Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 99 of 168

(C)

federal, state or local underground storage tank regulations

Legal Complia nee in Investigation and Reinediation. Ii`Bnyer or Seller
does not materially comply with the law in conducting the
investigation and remediation of Assets, Buyer or Seller, as the case
may be, shall be entitled to notify the other party in writing of the
shortcoming, and such other party shall have sixty (60) days in Which
to eomply, unless an agency With jurisdiction orders such party to
comply within a shorter deadline in which case such shorter deadlines

shall apply.

6.3 Environmental Liability.

tel

(b)

Retention by Seller. Subject to the limitations set forth in this Agreement,
Seller shall retain all liability and risk related to the Environmental
Liability, directly or indirectly arising out of or related to the Assets and
existing or occurring on or prior to the Closing. 't`his provision with
respect to Environmentai Liability constitutes a fundamental part of the
bargain between Seller and Buyer.

Seller‘s Respcnsibiliti_e_s. Seller shall he responsible for:

(i} Ahandoned underground storage tanks discovered by the Buyer
that require ciosure, removal and/or remediation, and ticor drains
discovered that require cicsure and cleaning

(ii) The costs associated with the treatment, proper removal,
transportation and/or disposal or bio treatment of contaminated soil and

groundwater existing on or prior to the Closing at the Fee Properties.

 

November 10, 2011

23

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 100 ot 168

(iii) Costs of remediation of any Contarninants to applicable state or
federal regulatory standards or for any diminution in value of any
properties other than the Fee P-roperties arising from the presence of Off~
Site Contarnination if the Contaminants have been identified in the
Baseline Data as defined below. and if the Contatninants are attributable to
the operation of the Fee Properties or the Busincss prior to the Closing or
it is established that Seller withheld material facts regarding contamination
occurring dining Seller's period of ownership In determining whether the
Contaminants are attributable to the operation of the Pee Properties prior
to the Closing, there shall be a rebuttable presumption that Contaminants
first detected Within two (2) years after the Closing date are attributable to

the operation of Fee Properties prior to the Closing, and that Contatninants

first detected more than two (2) years after the Closing date are not

attributable to the operation of the F'ee Properties prior to the Closing. The
presumption that the Contaminants are attributable to the operation of the
Fee Properties prior to the Closing may be successfully rebutted by a
determination, by a preponderance of the evidenee, by a third party
consultant engaged by Seller, that the Contarninants are not attributable to
the operation of the Fee Properties prior to the Closing date. Similarly, the
presumption that the Contarninants are not attributable to the operation of
the Fee Properties prior to the Closing may be successfully rebutted by a
determination, by a preponderance of the evidence, by a third party

consultant engaged by Buyer, that the Contaminants are attributable to the

 

November 10, 2011

24

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 101 ot 168

(C)

operation of the Fec Properties prior to the Closing datc. rl`he method of
selection of the environmental consultant will be as follows: If Seller
Wishes to rebut the rebuttable presumption, Seller may engage a consultant
of its cboico; if Buyer wishes to rebut the rebuttable presumption, Buyer
may engage a consultant of its ehoice.

Seller's Indemnifrcation of Buver. Subjeet to the limitations contained
herein Seller shall defcnd, indemnify and hold harmless Buyer from any
Environmental Liability arising from or relating to an environmental
condition existing or occurring on or prior to the Closing; provided
however, that Buyer shall notify Seller and seek input horn Seller before
incurring any expenses arising from any Enviromnental Liability except in
the event of an emergency

(i) `{f Seller fails to discharge any or all of its environmental
responsibilities under this Section 6.3, and if such failure continues for
more than twenty {20) calendar days following written notice from Buyer
to Seller, Buyer shall have the right, but not the obligation, to complete
Seller’s environmental responsibilities until they are fully discharged

(ii) lf Buyer exercises its right to assume part or all of Seller’s_
environmental responsibilities under this Section 6.3, Buyer shall be
entitled to be reimbursed l)y Seller for any and all expenses incurred by
Buyer in the performance of such responsibilities n

(iii) Buyer shall have the right to collect such reimbursement by

deducting tile corresponding amounts from the monthly payments

 

November 10, 2011

25

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 102 of 168

(d)

(¢)

(f)

otherwise due to be paid to Seller under the terms of the Promissory Note
referenced in Section 2.3 and set forth in Bxhibit F.

Buyer Responsibility. Subject to the limitations set forth in this
Agreement, Buyer shall be responsible for ali liability and risk related to
the Envirolunentai Liability, directly or indirectly arising out ot` or related
to the Assets and occurring alter the Closing. This provision with respect
to Envirorunental Liability constitutes a fundamental part of the bargain

between Seller and Buyer.

Buyer‘s indemnification of Seller. Subjth to the limitations contained
lierein, Buyer shall defend, indemnify, and hold harmless Seller from all
claims, causes, of action, fines, penalties, losses, liabilities and expenses
(including reasonable legal fees} which Seller may suffer because of the
presence of Containinants arising during Buyer’s ownership or operation
of the Assets after the Closing as indicated by the Baseline Data as defined

below.

Connningling. If, following the Closing date and While Seller is
Relnediating the Assets pursuant to Section 6.1 (b), there is a spill, leak
or release or a suspected spill, leak or release ("New Release“) of a
Contaminant which impacts the Seller's remediation, Seller shall have
no responsibility for the New Release. if there is a New I{elease, Buyer
and Seller will mutually agree on an environmental consultant to make

a determination as to (i) Whether there is a New Release; (ii) if there is

 

Novem ber 10, 2011

25

 

 

,"'-r

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 103 of 168

a New Release, the type and quantity of Contaruinants resulting from
the New Release; and (iii) the increase in the cost of remediation due to
the New Release. Buyer will assume the additional eost, responsibility
and liability for the reporting requirements emergency response
actions, investigation and remediation of Contaminants in excess of the

"ancline Data” as set forth below. All reporting requir'ernents,

emergency response actions, investigation, monitoring or remediation

of the New Release where it has not impacted Seller's remediation
shall be the sole responsibility of the Buyer. if the New Release has
impacted Seller's remediation, Buyer shall be responsible for any
Contaminants above the Baseline Data and/or Seller's most recent
available soil and groundwater analytical results. if the New Release
represents less than 50% of the Contaminants present, as determined

by the consultant, Seller shall have responsibility for the remediation of

l the New Release and Buyer shall reimburse Seller for its allocable

share of the remediation costs. lf the New Release represents greater
than 50% of tire Contarninants present, as determined by the
eonsuitant, Buyer shall assume responsibility for the remediation and
have Seller reimburse Buyer for its allocable share of the remediation
cost's. Seller as set forth in the preceding sentence, or trn'ning the
remediation over'_)to the Buyer and reimbursing the Buyer for only its
allocable share of the remediation costs. ln the event of any New

Release which impacts Seller's remediation, Buyer shall have full

 

November 10, 2011

27

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 104 of 168

(s)

responsibility for all reporting requirements emergency response
actions and investigation ol" the New Release. Both Buyer and Seller
agree to reimburse tire other party for their respective allocable share of
remediation costs within thirty (30) days of receipt of copies of original
invoices for such costs. d

"Baselinc Data" means the Contaminants and their concentrations
identified in the Envirornnentai Assessnrent chort to be prepared

pursuant to Paragraph 6.2 (a} of this Agreement

6.4 Rcal Property Title Review.

(s)

Title Insurarree Conrn:\itrncnts. TWithin twenty one (21) calendar days
following execution of this Agreement by both parties, Buyer shall secure
title insurance commitments for the Fee Properties, which shall provide,
upon recordation or Jfiling of appropriate deeds, for the issuance of ALTA
Form B title insurance policies insuring fee title to the Fee Pr'operties to
the Buyer or its assignees as provided herein, free and clear of all liens,
encumbrances, defects in title and other matters of record except real
estate taxes and assessments not then due and payable or such matters as
are acceptable to Buyer. Buyer shall pay the cost of title examination and
title insurance coverage in amounts Buyer may require Buyer shall have
Seven (?) days alter receipt to review said commitments lf Buyer, in its
opinion, determines that there exists any exception to insurance coverage
which is not reasonably aceeptabie, then Buyer slrali notify Seller within

such seven (7) day period cf such exception Any liens or encumbrances

 

November 10, 2011

28

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 105 of 168

or other instruments affecting title which are recorded after said seven (7)
day period may be considered objections to title.

(b) Defect§ in Title, Seller shall within seven (7) days following notification
of any defect diligently endeavor to cure, or to make arrangements

reasonably satisfactory to Buyer to cnrc, any such defect.

6.5 Bnyer's Investigation; Due Diligenc§. Buyer will have the right for twenty

one (21) days (“Due Diligence Period”) after Effeetive Date to inspect the

Properties and the aniness, review the contracts and agreements relating to

the Properties and the Business, review the status of title to the i’rcperties and

to make such other inspections (including environinental), feasibility

determinations or other studies as Buyer determines Based on the

conclusions that Buyer derives during the Dne Diligence Period, Buyer may
notify Seller within said Dne Diligence Perioci in writing of its intent not to
close the proposed transaction it if is not satisfied in its sole and absolute
discretion with any matter relating to the Properties or the aniness, in vvhich
case neither party shall have any further liability to the other. Each party shall
be fully responsible to pay for all costs of its dnc diligence activitiesl
6.6 Indemnitigatio_n.

(a) Snrvival. Thc representations, warranties, indemnities, covenants and
other agreements herein set forth shall be deemed to be continuing and
shall survive the Closing for three years.

(b) Seller's Indeninificatign to Bnycr. Seller shall indemnify and hold Buyer

and its affiliates harmless from and against all claims, expenses (inclnding

 

November 10, 2011 29

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 106 of 168

(C)

(d)

reasonable attorney's fees), losses and liabilities resulting from (i) any
material breach by Seller of any of Seller's representationsl warranties and
covenants set forth in _this Agreement or instrument of conveyance
delivered by Seller pursuant to this Agreement or (ii) any obligation or
liability relating to the ownership or operation of the Assets prior to the

Closing ("Loss" or "Losses"); provident hoistever', any obligation and

\liability that may arise as a result of envlromnental contamination and

tanks ("Enviroimiental Loss"] shall be governed by Section 6.1, 6.2, 6.3
and 6.4 above.

Buyer‘s Indemnitication to Seller. Buyer shall indemnify and hold Seller
and its affiliates harmless from and against all elairns, expenses (ineluding
reasonable attorneys' fees), losses and liabilities resulting from (i) any
material breach by Buyer of any of Buyer's representations warranties and
covenants set forth in this Agreement or in any agreement or instrument
delivered by Buyer pursuant to this Agreement or {ii) any obligation and
liability relating to the ownership or operation of the Assets subsequent to
the Closing; provided hcwerer, that any obligation or liability that may
arise as a result of envirolunental contamination and tanks shall be

governed by Sections 6.1, 6 .2 and 6.3 above.

 

Notiee of Clahns. Thc indemnified party shall give prompt written notice
of any claim against it which may give rise to a claim against the
indemnifying party under the foregoing indeinnities and the indemnifying

party shall undertake the defense, compromise or settlement of any such

 

November 10, 2011

30

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 107 ot 168

matter. ‘I`he indemnified party shall cooperate in and provide reasonable
assistance with respect to any such defense, compromise or settlement.
Failurc to provide prompt notice of a claim as provided in this Section
6.8(d) shall constitute a waiver of the right to indemnification with respect
to such claim to the extent the indemnifying party is prejudiced by the
delay in providing such notification

7. CONDlTlONS PRECEDENT TG CLOSING.

 

 

7.1 Seller's Conditions Precedent. Thc obligation of Seller to consummate the
transactions contemplated by this Agreement is subject to each of the
following conditions:

(a) Representations and Warrantie . The representations and warranties made
by Buyer in this Agreement shall be true in all material respects when
made and on and as ot` the date of the Ciosing as though such
representations and warranties were made on and as of the Ciosing. Seller
shall have received from Buyer at the Closing satisfactory certificates to
such effect signed by an authorized officer of Buyer.

(b) Compliance. Buyer shall have performed and complied with all provisions
of this Agreement required to be performed cr complied with by Buyer
prior to the Closing.

(c) No Litigation. No action or proceeding by or before any goverrmiental
authority shall have been instituted (and not subsequently dislnissed,
settled cr otherwise terminated), which might restrain, prohibit or

invalidate any material portion ot` the transactions contemplated by this

 

November 10, 2011 31

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 108 of 168

(d)

(E)

(T)

Agreement

Gggrgpty_. Seller shall have received a personal guaranty from Mr.
Kenncth C. Mon‘iscn in the form set forth in the attachment to the
Prornissory note in § xhibit I.

Mortgagc. Seller shall have received a mortgage from Buyer on the 4
two Fee Properties listed on Exhil)it A. a
Exhibits. All of the Exhibits attached to this Agreement shall be completed

to the mutual satisfaction of Buyer and Seller.

7.2 Buver’s Condition Precedent. The obligations of Buyer to consummate the

transactions contemplated by this Agreement are subject to each of the

following conditions:

(€1)

(b)

@

Representation§ and Warranties. 'l`he representations and warranties made
by Seller in this Agreement shall be tree in all material respects when
made and on and as of the date of the Closing as though such
representations and warranties were made on and es of the Ciosing, Buyer
shall have received from Seller at the Ciosing satisfactory certificates to
such effect signed by an authorized officer of Seller.

Compliance. Seller shall have performed and complied with all provisions
of this Agreement required to be performed or complied with by Seller
prior to thc Closing.

No Litigation. No action or proceeding by or before any governmental

authority shall have been instituted (and not subsequently dismissed,

 

November 10, 2011

32

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 109 of 168

(d)

(G)

(f)

tel

settled or otherwise terminated), which might restrain, prohibit or
invalidate any material portion of the transactions contemplated by this
Agreement

Title Commitments. A reputable title company acceptable to Buyer shall

 

have issued to Buycr, at least seven (7) business days prior to the Closing,
the commitments to issue owner’s policies of title insurance referred to in
Section 6.4 above. `

Environntental Evaluations: Title Seat‘ch: and Due Dilinence. 'l`he results
of the Environinental Evaluations, title search and due diligence conducted
in accordance with Sections 6.2, 6.4 and 6.6 shall be satisfactory to Buyer
in its sole diseretion; provided, ii' Buyer has not completed its
Environmental Evaluations by the conclusion of the Due Dlligence Perlod,
Buyer may elect to waive this prc-condition and proceed to Closing, in
which case Buyer and Seller agree that ali of the provisions in Sections
6.1, 6.2 and 6.3 shall remain in full force and affect.

Robbinsvi|le Lease. The office lease for the Robbinsville office shall have
been property assigned from Seller to Buyer with landlord approval, if
required by the terms of the office lease.

Bxhibits. All of the Exhibits attached to this Agreement shall be completed

to the mutual satisfaction of Buyer and Seller.

S. MISCELLANEOUS.

B.l Bulk Sales. Atl cicbts, obligations and liabilities of Seller, including taxes, not

expressly assumed pursuant to this Agreement with respect to the Busincss

 

November 10, 2011

33

 

 

/'-L`

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 110 ot 168

shall be promptly paid and discharged by it as and when they become due and
payable Seller agrees to indemnify'Buyer against and in respect of any and all
loss, liability and damage sustained by Buyer as a result of the failure of Seller
to pay and discharge as and when due any such debt, obligation or liability,
including taxcs, not assumed by Buyer. Seller further agrees that Buyer has the
right to offset any damages or costs incurred against payments required to be
paid to Seller under Section 2 aboye.

8.2 Payment_of Bxpenses and Fees. Buyer and Seller shall each bear their own
costs and expenses, except as may be otherwise provided in Section 6.1, 6.2
and 6.3 above, including but not limited to attorneys‘ fees incurred in
connection with thc transactions contemplated in this Agreement

8.3 Publicity. Seller and Buyer shalljointly plan and coordinate all notices to third
parties and all other publicity concerning the transactions contemplated by this
Agreement. Seller and Buyer agree not to disclose the Purchase Price in such
notices or publicity or otherwise

8.4 Additional Assurances. From time to time at the request of Buyer, Seller shall
execute and deliver, or cause to be executed and delivered, such instruments
and documents and take such other action as Buyer may reasonably request to
more effectively assign, transfer and convey to Buyer or its permitted
assignees any of the Assets and to protect the right, title and interest of Buyer
therein and the enjoyment by Buyer thereof and otherwise to carry out the
intent of this Agreement Fran time to time at the request of Seller, Buyer

shall execute such further documents and instruments as Seller may

 

November 10, 2011 34

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 111 ot 168

reasonably request to consummate cr evidence the transactions contemplated
by this Agreement or otherwise to carry out the intent of this Agreement

8.5 Assigrnnent. Noithcr Seller nor Buyer may assign rights or delegate duties
hereunder without the prior written consent of the other party.

8.6 Entire Agreement This Agreement, including the Exhibits and other writings
referred to herein or delivered pursuant hereto, constitutes the entire agreement
between Seller and Buyer with respect to the subject matter hereof, and
supersedes all prior oral 01' written agreements, commitments or
understandings with respect thereto. No amendment hereof shall he binding on
the parties unless in writing and signed by authorized representatives of both
parties. Tlte headings used in this Agreement are for convenience of reference
only and shall not be used to define the meaning of any provision

8.7 Severability. The provisions of this Agreement shall be severable, and in the
event any provision hereof shall be finally determined to be illegal or
unenforceable the remaining provisions shall remain in full force and effect
Any provision finally determined to be illegal or unenforceable may be
reformed to make lt legal and enforceable Thc parties agree to negotiate in
good faith any such reformation

3,8 Maes_. All notices and consents to be given hereunder shall be in writing and
shall be deemed to have been duly given if delivered personally, telefaxed
with confirmation of rcceipt, mailed by certified mail or delivered by a
recognized commercial courier to the party at the address set forth above or

such other address as any party shall have designated by 10 days' notice to the

 

November 10, 2011 35

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 112 ot 168

other party at the address set forth in the preamble to this Agreement, together

with a copy to counsel as follows:

If to Seller: {Nante of Seller]
l Union Street
Suite 208
Robbiusville, N.I 08691

If` to the Creightons: Mr. and Mrs. .]'an Crcighton
l Union Street
Suite 208
Robbinsville, NJ 08691
With a copy to: David R. Forrey, Esq.

l..ewis & Morey, T.,.L.C.
34 Charnbers Street
Princeton, NI 08542

lt` to Buyer: Sycamore Bnergy, LLC
630 Sltippaclc Pike
Blue Bell, PA 19422

Wit.h a copy to: David A. Fcldheim, Esq.
600 W. Germantown Pil<e
Suite 400
Plyniouth Mceting, PA 19462

8.9 No Third nartv Beneficiaries. This Agreement is not intended to and does not

 

confer any rights or obligations on any party that is not a signatory to this
Agreement

8.10 G~overni_ng Law. This Agreement shall be interpreted in accordance with and

 

governed by the law of the Comnionwealth of Pennsylvania, Without reference

-tc principles of conflicts ot` laws

 

November 10, 2011 36

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 113 ot 168

8.11 Venne. Any action to enforce this Agreement, or to interpret or construe the

 

meaning of this Agreement, shall be brought in the Federal District Court for the
Eastcrn District of P_ennsylvania, and Purchaser and Seller hereby expressly wa ive
venue in any other Federal or Statc court.

asa*e»k»z=»k»i¢e=a»z=**ea>tseas-assessess<**s$ar=s=#s***s*a>:=sa*#»tsease>z==i=ease**eser=r<a¢***sae>t*

Signatures on Next Page

 

November 10, 2011 37

 

- ... _____. -~_.A

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 114 ot 168

IN WITNESS WI-IEREOF, the parties hereto have caused this Agreement tc be

executed by'their duly authorized signatories ns cf the date first above writt`cl\.

KC OIL, INC.

By-:

 

Pr'illt Nmnet

 

Ti tlc:

 

l)ate:

 

GREEN-WOOD ENTERPRISES INC.

By :-

 

Print Nalne.:

 

'I`itlc:

 

Date:

 

TRENTON PETROLEUM INC.,

By:

 

Priut Natne:

 

 

 

SYCAMORE PETROLEUM, LLC

By: H/%~//%”M";”Z

P:,'iilt'Nz\rrie: /°/);$'M/% . &A/)MWZ/
Tiue= /%?WML
])ate: /IW§}/¢?£§/

BUCKS COUNTY PETROLEUM LLC

By:

 

Print Name:‘

 

Title:

 

Datc:

 

CREIGI'ITON FAMILY PROPERTIES,
LLC -

By:

 

Print.,Nnmc:

 

 

 

 

Title: Til_‘le':
I)at'c: I)atet
November 10, 2011 38

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 115 ot 168

JAN CREIGHTON KIMBERLY CREIGI'ITON

 

 

Date: Date:

 

 

 

November 10, 2011 39

'Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 116 ot 168

EXHIBIT A

PROPERTY LIS'I`

PROPERTY LIS'[‘

 

    
   

_ _ _i _ _ 'l"tl _.
Hamilton Square Gasco 21 il Rontc 33 Hamiiton N.i 08690
Pennington Circle Gasco 226 Route 31 Souti\ Pennington Nl 08534

   

 

 

 

 

 

 

 

 

¢- . **`\.t

 

Novem her 10, 2011 40

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 117 ot 168

EXI~IIBIT B
PERSONAL PROPERTY

(Jason furnishes Depreciation List)

 

November 10, 2011 41

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 118 ot 168

EXI-IIBIT C
VEI'IICLES

(To be furnished by KC)

 

November XO, 2011 42

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 119 ot 168

E)U~IIBIT ])
CUSTOMIBR LIST

(To be furnished by KC)

 

November 10, 2011 43

 

Case 2:15-cv-00396-.]D Documentl Filed 01/28/15

EXHIBIT E

)

ASSUMED LIABILITIES

(To be furnished by KC)

Page 120 ot 168

 

November 10, 2011 rid

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 121 ot 168

EX_H IBIT F
])EED

('l`o l)e furnished by Sycarnore)

 

November 10, 2011 45

 

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 122 ot 168

EXI~IIBI'I` G
BILL OF SALE

('I`o bc furnished by Sycamore)

 

November 10, 2011 46

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 123 ot 168

EXHTBIT I~I
ADVANCE PAYMEN‘I‘ CALCULATION METHODOLOGY

(To be furnished by Sycarnore)

 

November 10, 2011 47

 

.Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 124 ot 168

EXHIBIT I
PROMISSORY NOTE

(To be furnished by Sycamore)

 

November 10, 2011 48

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 125 ot 168

t" ’ extrian J
snLLnR’s nIscLosurur, sTATnMnN'r

('l`o be furnished by KC)

 

November .'tO, 2011 49

 

CaS€ 2:15-CV-00396-.]D

l.- |l,'l!*i.»"`dU|l lb'fi.it.i iJ`UB”-‘JZ¢J"UlBZ

ll`llv:l.ull |u.\q

||f lt\,Jf LVI\ ll¢ \" UU\( U¢¢‘f VlUCl

JAN 'CRIE!GHTGN

j
:z;;gg: `Féz;¢j?#{%§:;

cea //-/:)“'~M r/

nderan sc, earn

Document 1 Fi|eo| 01/28/15

Lerlsarorrey
\rna;
LU'J,§UPU\ l V¥
KIMBERLY CREIG

59

Dater:i\

iD\f l 519le

Page 126 ot 168

#043? P.001/001
P.UU]!UUl

rev-tro r.uu¢:r\¢'ve

laier

 

 

Case 2: 15- -c\/- -00396- .]D Document 1 Filed 01/28/15 Page 127 ot 168
torts r 002/004

. l|lequ|l ||. dd bUd” 324“ U|UZ

l l`,l

|u{¢..v|r rlrrY \Jvu vn*rvl\“-

LGWlS&bOrFBY

\'I'\"'!l'l I\Vvl!VV¢-

\-Ull\'l-\l\v¢l Ul l U’

IN 'i?-VITNESS WHEREGF.;, the hamilton hereto have caused this Agreement to he
executed by-rlrotr drin antaartzeu.s‘tgrmiartrs-as at the data numbers miners
SY¢AMORE PIBTRDLEUM. LLC

tro oIL, mo
By: 7&71»: %/ )L

‘.'t’rtntl*`¥cnr'er "M!Ag 7:%’.¢,»@/
'Titie:- gets LJ.¢:»=, /

lister r'/ f /»’»/: / /

saneuweoonrtrnaantsns nrc

‘,5;7‘ .
`Brt ‘§Z %£W/é
rurr.naera""“,g»w M./ée'r/Fémg
'Pt_t,te:. v ssa/fo 7’
,r/

Date=. // '~ /-’»/» r/

‘I‘RERT€)N I'E'I`RULEUM lN{-'»r

et___§;¢ prize/aec

Prlnil‘~iarucr digsz 72 2a2/z /,.¢:~
Tit_ls; %*H// .¢:,, F-

.Datei //*' /¢;'/'//

 

 

l Datc: //F/:?Fl.':"

BUCKS C{}UNTY FETROLEUI\'I-LLC

 

`.PrturNarust ZM/ T':/:£¢-'/e=»éaw

‘Tttler_ y.%w’.))dle:»s )*‘

notes . //' /’7.'“//

E§§IGRTDN' FAMI.L`§' FROPERTIES,

list .»»'
Priatlllurast »j"'$'>’ ~/ /j¢’-r'.;¢"%"ae/
Tmt=t /,'F -P.fl r / t,g,? ;/

z_,.»'

Datot // ‘;/ d/- /./

 

November tt't.l¢ witt

EB¥J! LUIJ'd (XV=!¥

33

§€ili.

 

 

 

i
LLOZ:`E hill

 

 

Case 2:15-Cv-00396-.]D Documentl Filed 01/28/15

EXI~IIBIT A

REAL PROP`ERTIES

Ha_milto'n Square Gasco
2111 Route 33
Hamilton, NJ 08690

Pennington Circle Gasco
226 Route 31
Pennington, N.T 08534

Page 128 of 168

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 129 of 168

EXH|B|T B - PERSONAL PROPERTY

Case Excavator Cx47
S!<id Steer

Snow Pfow

Snow PloW

Snow Plow

Trucf< Radfos

ga

1111

 

 

m%/y/mu/\d 01

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mzmm®< om>r 388 _ _ _
Zcox 8 omwom_§oz <_z 8 388 8 05 858 8 ro>z 19me >_<_oczH

88 888 Dm_m:§zmw o_r 888 12:8§§8§8888 >_.88<< >8882
888 888 88_»:2@ oF Bcox 8~>8®>§8>8888 >_.882< >@8888
88 88 825 <>z 5838>8>1 388 888 >F< 888_§.%1
888 888 memo 8:08¥ Bcox 180<<8888§_…8888 §88~

6 888 88 _z.:…_»_/_>l:oz>_l oF 888 1_1§§>28§8.:88 >_.888< >I885

w 88 88 ago 688 50,§08881888 8688,_

0 818 888 memo 888 1_“@<<_~88_888§8888 588

1_ 881 88 memo 888 83818%8_8>88888 88888

mg 88 82 memo 888 <>z 8328#8§>888

p 888 88 memo _u_ox cv 8311883<§§>8888 xN88<<x .

q 888 1888 memo 588 oP BCQA 13<§.»._…8<>888,_ >E£<< >8882

m 888 888 Zsz>do_/_>_. 0=. 888 1_588,,_/_88§._88888 >_.888<< >8882

9 888 888 _z.`mwz>.:oz>r m_.>§mc 1380>_8§8:88838 888

m 888l 88 885 888 - wz>F oc_<_“v 80§888_…0888 §88¢

m ,_omFl 88 880 >o>§> 1858§888,:88888 <<8<88,_

n >zomm<< 888 §>No> QQ ¢__<_8§8§828838 <_8~<_83\

. 88 o>§ B>__.m_» 888:88§88888 838

8 88 m>Q.m 18me 381>2888_.8888 §_<_82

g 88 § 805 82088>83888888 888 __8> _.o>z 88.818.88

H 1888 me 888 \_><88888 L,\
§§§8€{§4
888 1888 Dm 88 13<§<80#.\8888.\. .

m

8

9

3

0

0

w

C

5

1

2

€

S

8 §§

2

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 131 of 168

EXHIBIT D

CUSTOMER LIST '

 

'§ £._,\\Q-\J§ S€?°§"§:§

888

\1\`”

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 132 of 168

EXHIBIT E

ASSUMED LIABILITIES

l. Bank ofPrinceton Loan No. 2110141622 in the OIiginal Amount of $73,481.50

2. Ba_ulc ofPrinceton Loan No. 2110141622 in Thc Original Amount of $117,498.84

 

Case 2:15-Cv-OO396-.]D Document 1 Filed 01/28/15 Page 133 of 168

1 /'
DAVID A. FELDH_EIM _ (; §\‘\‘°A §
Attomey at Law '
Suite 400
600 W. Germantown Plke
Plymouth Mce'ting, PA 19462

 

Tel.: (610} 940-1640

Fa_x.: (610) 940-1641
Website: Feldhe.imlnw.com

B-man= David@F¢»-=ldhgimlaw.com

February 16, 2012

Mr. Kermeth C. Molrison
Presiclen’c

Atlantis Petroleum, LLC
636 Skippaok Pil<e

Blue Bell, PA 19422

RE: 226 Route 31 South. Honewell. NJ: Svcamore 'Fuels -- JP I. LLC

Dezu' Ken:
l have enclosed the Original Owner’s Title Po]icy and recorded Deed for the captioned
property -
Thank you.
Sinoerely,' _
53

®

David .A. Feldheim

Case 2:15-cv-OO396-.]D Document 1 Filed 01/28/15 Page 134 of 168

BRENNAN COMMERCIAL ABSTRACT, LLC
216 Haddon Avenue, Suite 400
Westmont, N.T 08108
Phone 856-240-1358 Fax 856-240-1958

February 14, 2012

David A. Feldheim, Esq.`

600 W. Germantown Pike
Suite 400 . '
Plymouth Meeting, PA 19462

Re: Bom'ower: Sycamore Fue]s - JP I, LLC
Property: 226 Route 31 South, HopeweH Townsh;ip, NJ
Our File #: CA-_6093

Gentlcmen:

Enclo§ed is the_follovsdng:

[X] Original Owner's Polic§,r and recorded Deed. » Please forward the originals to your
client.

.Please feel free to contact us with any questions you may have or if We can be of any
further assistance to you.

Sincerely,

BREM\IM coMMERCIAL ABSTRACT, '-
LLC

Kaxen Jones

Enelosure

 

Case 2:15-cv-OO396-.]D Document 1 Filed 01/28/15 Page 135 of 168

(_' ‘.ercer County Clerk'S Offic:e

Ret:urn ‘I'o:

BRENNAN`COMMERCIAL ABSTRACT
216 HADDON.AVE

SUITE 400

WESTMONT, NJ 08108

CREIGHTON PRDPERTIES FAMILY

SYcAMoRE FUELS~JP i

Index DEEDS

Book 06139 Page

No. Pages 0005

Instrument REGULAR DEED

Date 2/06/2012

Timé 9:17:26

Control # 201202060056
INST# RD 2012 004392

Employee ID KWISNIEW

Detail
RECORDING $ 24.00 Consideration Amount$ 300,
RECORDING $ 21.00 t
DDl Tl CO $ 150.00 RTF Standard Tier 1 $
DDl Tl PUB $ 75.00
DDl Tl ST $ 375.00 RTF Standard Tier 2 $
DDl TZ CO $ 50.00
DDl TZ EX $ 60.00 RTF Standard Tier 3 $
DDl TZ NPN $ 75.00
DDl TZ PUB $ 25.00 TOtal ` $ 1,
All Other $ 933.00
Total: $ 1,788.00

l-IOPEWELL TOWNSHIP

Pursuant to Hopewell Township Ordinance'Adopted 7_/1/1996, please be advised`that you
must present a copy of the attached Deed_ having been duly recorded in the Mercer

§ County Clerk’S Ot"flce, to the Hopewell Township Assessor’s Offlce, Municipal Buifding
201 Washington Crossing-Pennington Road. Titusville New Jersey 08560`within 30 days.
for the purpose of plotting on the Township Maps and to reflect change of ownership on
Township records. along With the required fee of 345.00.

tva "‘ '

Mercer County Clerk"s Oftice

0281

000

600.

`335.

780

715

.00

00

00

.OO

.00

 

Case 2:15-cv-OO396-.]D Document 1 Filed 01/28/15 Page 136 of 168 \
910

` ._ . &>\g£%§ l
;_ ' -\ _ 16 ,03
\\.\.OO

- C{{\/_. 6 Ol/" \C_
DEED _ Reoord 8- Return C/Q/;\'\// 03
_“'"~“__ Bnennan Commcro|al Abstract _,\ \"§ 1

218 Haddcn Ave.. Suite 400
\U\o\

westmom. N_J came \ l

This Decd is made on \5 O\/UUJLOt 993 3 i f Q~O fS/ OL
BETWEEN ‘

Creighton Propcrtics Family Limited Partnership

Whose address is 1'espectively, 1 Union Street, Suite 208, Robbinsville, New Jersey 08691 referred to
_ as the Grantor,

AND
Sycamore Fuels - J'.P I, LLC,

whose post office address is 630 Sl<'_ippack Pike, Blue Bell, PA 19422,
' referred to as the Grantee.

Thc Words “Grantor” and “Grantee” shall mean all Grantors and all Grantees listed above

1, Tr‘ansfer of Ownerskip. Thc Grantor grants and conveys (transfers ownership oi) the
property (called the “Property”) described below to the Grautee. 'l`his transfer is made for
the sum of $3 00,000.00 DOLLARS. 'i`he Grantor acknowledges receipt of this money.

2. Tax Map Reference. (N.J.S.A. 46:15-1.1) Municipality of the Township of Hopewell
Bloclc No. 69 Lot 7

i:l No property tax identification number is available on the date‘of this Deed. (Check
box if applicable.)

3. . Property. Thc property consists of the land and all the buildings and structures on the
land in the Township of Hopewell, County of Mercer and State ofN'.ew Jersey. Thc legal
description is: ' ' '

|:| Please see attached Legal Description annexed hereto and made a part hereof.
(Clteck box if applicable).

BEING the same premises conveyed to the G'rantor(s) herein by Deed from BP Products of
North Amcrica Inc., to Creighton Properties Famin Limited Partncrship dated October l 1, 2001
and recorded in the l\/lercer County Clerk’s Ofr"lce on November 5, 2001 in Deed Book 4165

'Page 24.

 

 

 

 

 

 

 

 

Prepared by: (print Signer’s name below (FO]; Recordey’g Use Only)
signature __ ;_/_¢,._--//_` ,
_// v -…sa asahi/232

 

g;) ¢~~F&i t*'s`f`("’j

 

Case 2:15-cv-OO396-.]D Document 1 Filed 01/28/15 Page 137 of 168

226 Rt 31 South, Hopewell New Jersey

4. Promises by Grantor. Thc Grantor promises that the Grantor has done no act to
encumber the properW. Tln's promise is called a “covenant as to grantor’s acts” (N.J.S.A.
46 :4-6). 'This promise-means that the Grantor has not allowed anyone else to obtain.any
legal rights which affect the property (such as by making a mortgage or allowing a
judgment to be entered against the Grantor).

5. Signatures. Thc Grantor signs this Deed as of the date at the top of the first pagc. (Print

amc below each si nature.
n g ) Ci£€leiitott PQOPEP.T¢€S Fifi-iw 1.\/
Ll WHTED ita-rita easa/ii>

-WTNES$ED BY: %¢_/

1 ever ewrnm me@am
in compliance with thie statute l have @ €N E- BA.{_ paz/THE [2/
presented an abstract ct the within -

to the Assessor of the taxing district

therein mentioned
"~an_A SOLLAMl-COVELLO

i\flE‘r?CEFl COUNTY CL§' `iK

 

 

aaa (seal)

STATE or NEW JERSEY, COUNTY or MERCER: SS `
' C) 1a jan Caslaiat) il , C"/€NE @/J(L FM@WZ"L
l CBRTIFY that on mm 51 20,' *** , personally came before
me and stated to my satisfaction that this person (or if more than one, each person):
(a) Was the maker of the attached deed;
(b) executed this deed as his or her own act; and,
(c) made this Deed for ‘”//:3 0 05 000 ./‘ and other good and valuable
consideration as the full and actual consideration paid or to be id for_the transfer of title (Such

consideration is defined in N.J.S.A. 46:15~5.) .
i it d 0 -
7 “l'

' anna onsite transact
Notaiy Pai:!lc ct starr Jersey
lilly Ccmmise!cn Exe\res

‘_§‘Q_c_toher t 7, 2013 _M

 

RECORD AND RETURN TO~`
` aaa
§;c&rd &CReturn
an ommerciaiAbsfract-
216H dd n ` r n
Westn$oni?riii?e%igéme 400 gill b' l 3 q Plth 383

oa-&an

 

Case 2:15-cv-OO396-.]D Document 1 Filed 01/28/15 Page 138 of 168

fill filliif‘wl‘shlllfilillian 11 hire all 1’1"1’ hinti(lt§lfhtlfihlflt ellis "it*tt@*(iii"i‘l’lt*"`i‘l“"l""1{1*"
""itl<rftl… lirfltfillriil‘hl*llhl t”l{h‘al"”i tashatti’€illll*r"li€*\lilrfl* still lhtittill@tllliiltlil‘"til(l@hlll
llllhl’@tit%"‘illilia\il:"l"itillltifl§llaiil§tiil’lati §"Yl illllhi'li>fl<<t@lll ll thill hesitant install

intifliililhtf lilliit‘\"nlthi‘”n{td~fnfhh dillias.@t?l@t'te`lil@ililsh §§thllildlhlllfs§lltnlhln{i 11

Fiie No. cA~soss
` LEGAL oEscR1PT10N

ALL that certain lot parcel or tract of land, situate and lying in the To_wnship of Hopewel|, County of |Vlercer, State
of New Jersey, and being more particularly described as follows:

BEG]NN|NG at a point in the Northerly line of the Washington Crossing~Penningtcn Road (60 feet wide), said
point being the Southwester|y end of the curve having a radius of 70 feet that connects the said line of
Washington Cro_ssing- -Pennlngton Road with the Westerly line of New Jersey State Highway R_oute 31 (variable
wldth) and running thence

('l) ,So'uth 81 degrees 53 minutes 38 seconds West, along the Northerly line of the
Washington Crossing- Pennington Road, 82 feet to a point; thence

(2) North 08 degrees 06 minutes 30 seconds V\_l'est, 100 feet to a polnt; thence
(3) North 20.degrees 211 minutes 09 seconds East, 116.98 feet to a polnl; thence

(4) North 83 degrees 33 minutes 06 seconds East, 100 feet to a point in the aforesaid
Wester|y line of New Jersey State Highway Route 31; thence

d (5) South 06 degrees 26‘mlnutes54 seconds East, along the Westerly line of New Jersey
'State Highway Route 31, 132 feet to a polnt; thence

(6) Sciuth\ivesterl},r along the aforesaid curve bearing to the right having a radius of 70 feet
that connects the said line of Washington Crosslng- Pennington Road with the Westerly
line of New Jersey State nghway Route 31, an arc distance of 107. 93 feet to the point-
end place of l:ie§.]ir_inlngl

FOR |NFORMATIONAL PURPOSES ONLY: Also known as Lot? in Blocl< 69 on the Townshlp of i-|opewe|| Tax
Map.'

NJRB 3-08 Effectlve: 02115»'07 Last Revised: 051'16109

ORT Form 4311 A NJ
ALTA Plein Language Title lnsurance‘CommilmentAdopted 06/17!06 't'-m_ ij i.?l Ci pawl 2 8 tr

 

Case 2:15-cv-OO396-.]D Document 1 Filed 01/28/15 Page 139 of 168
elr/REP-a

(s-io)
State of New Jersey

'$;`»E-.LLER’S RESIDENCY CERT|F|CAT|ON/EXEMPT|ON
(c.ss, P.L. 2004)- '

 

(Plaese Prlnt or Type) `
SELLER(S) lNFORllllATlON (Sec lnstructioris, Page 2)

Name(s) l

Creighton Properties Family Limited Partnership, a Delaware Limited Partnership

Current Residenl:Address: '

Slreet: l i)lf\ l 0 l/\ §`i`r€_'@‘l" S/U\/l"f€ &O g

City, Town, Post Ollice y State
¢MMn$vMM;. AJUH

PROPERTY !NFORMATlON (Brief Properly Descl’ipfion)

Zip Code

@Seql

    
 

       

 

 

 

Block(s) Lct(s) Qualifier
69 l 7

Street Address:
226 Route 31 South -

City. Town. Post Oifice State Zip Code
Hop`eweu NJ

Seller’s Percentage of Ownership Consideration ` C|osing Date
100 - 300,000.00 11311'12

SELLER ASSURANCES (Check the Appropriate Box) (Boxes 2 through 8 apply to Residents and Non-residents}

‘l. [:| l em a resident taxpayer (individual, estate, or trust} of the State of New Jersey pursuant to N-J.S.A. 54A:‘l-'l et seq. and
will tile a resident gross income tax return and pay any applicable taxes on any gain or income from the disposition of this

property.

2. |:| The real property being sold or transferred is used exclusively as my principal residence within the meaning of section 121
of the federal lnte`rnal Revenue Code of 1986, 26 U.S.C. s. 121.

3. ij i am a mortgagor conveying the mortgaged properly to a mortgagee in foreclosure cr in a transform lieu of foreclosure with
no additional conslderation.

4. |:] Seller, transferor or transferee is an agency or authority of the United States cf America, an agency or authonty of the State
of New Jersey, the Federel Netional Mcrtgege Assoclation, the Federal Home Loan Mortgage Corporation, the Govemment
Naiicnal Mcrtgage Asscciatlon, or a private mortgage insurance company

5. Seller is not an individua|, estate or trust and as such not required to make an estimated payment pursuant to
N.J.S.A.54A:l-'l etseq.

6. |:| The total consideration for the property is $1,000 or less and as such, the seller is not required to make an estimated
payment pursuant to N.J-.S.A, 54A:5-'l-1 et seq. -

7. g The gain from the sale will not be recognized for Federal income tax purposes under I.R.C. Section 721, 1031, 1033 or is a
cemetery plot (ClRCi_E THE APPL|CABLE SECTlON). lf such section does not ultimately apply to this transaction, the
seller acknowledges the obligation to tile a New Jersey income tax return for the year of the sale (see instructional

l___] Nc non-like kind property received

0. f:] Transfer by an executor or administrator of a decedent to a devisee or heir to effect distribution of the decedents estate ln
accordance with the provisions of the decedents will ortho intestate laws of this state

 
      

SELLER(S) DECLARAT|ON

The undersigned understands that this declaration and its contents may be disclosed or provided fo the New Jersey Divislon cf Taxation and that any
false statement contained herein could be punished by tine, imprisonment or bolh. l furthermore declare thatl have examined lhls declaration and, to
the best of my knowledge and bellef, lt ls true, correct and complete By checking this box |:l | certify that the Power of Altcmey to represent the

' seller(s) has been previously recorded or ls being recorded simultaneously with the dead to which this form is attached

January 31, 2012 %%Cd'/‘“~" 1`:»:‘1-:'11 11» 1 y
Date y Signature
ill la ll fill 1092-655

(Seller} 1 Please indicate if Power of A'llorney or Atlomey ln Fsct
Date Slgnalu rs

(Seller) P|ease indicate lf Pcwer of Atlcmey orAltcmey ln Fact

 

Case 2:15-Cv;00396-.]D Document 1 Filed 01/28/15 Page 140 of 168

w

UWN_ER‘S'~ PD LlCY DF--TlT-LE lNS URANCE
Pollcy lssucr:
BRENNAN COMMERC|AL ABSTRACT, LLC
216 HADDON AVENUE, ,
SUlTE 400
WESTMONT NJ 08108
PHON_E: 556-240-1953

* * * `k ` ' .. - '
` * . * _ Policy l\lur_nber OX"‘08547266 Flie Number' CA-6093
*. ' * lssued by Old Hepublic Na_tiona| iitls insurance Ccrnpany
ulr' . ** Any notice of claim and any other notice or statement 1n writing required to he given to the
* 1b . Company under this Policy must he given to the Company at the address shown' m Section18
` of the Conditions. '
CDVERED RISI{S

v l SUBJECT TO THE EXCLUS|ONS FHOlvl CUVEHAGE, THE EXCEPT|ONS FROl\rl COVEHAGE CONTA|NED lN SCHEDULE B. AND THE COND|T|UNS. Dl.lJ
. HEPUBl_lC NATIONAL TlTi_E lNSURANCE COMPANY. o Minnesota corporation (the "l]ompany"j' insures as of Date ot Folicy and, to the extent stated
in Ccvered Hisl<s 9 and ill after Date of Policy, against loss or damage not exceeding the Amuunt of |nsurance, sustained cr incurred by the insured

__by reason of:

i. 'Title being vested other than a_s stated in Scbeduls A.

2 Any defect` 1n or lien cr `encumbrance on the Title. lhis Covered Hislc includes but' 1s not limited to insurance against loss from:
(a} A defect 1n the iitle caused by '
'.[ij forgery. fraud undue influence duress incompetency incapacity or impersonation;
{iil failure ct any person or Enrityto have authorized a transfer or conveyance
liii} a document affecting Title not properly creetéd, executed witnessed sealed acknowledged notarized or delivered;
jiv} failure to perform those acts necessaryto create a document by electronic means authorized by law;'
[vj a document executed under a falsified expired cr otherwise invalid power of attorney. ,
(vil a document not properly filed. recorded or indexed` 1n the Public ilecords including failure to perform those acts by electronic
means authorized by law; or
' . .{viij a defective judicial or administrative proceedingl
(b) Thc lien of real estate taxes or assessments imposed on the '|itio by a governmental authority due or payable but unpaid
{1:) Any encroachment encumbrance violation variation or adverse circumstance effecting the Titie thatvvould be`. disclosed by an accurate
and complete land survey ofthe Land. The term' 'encroachment' includes encroachments of existing improvements located on the tend
onto adjoining lendr and encroachments onto the Land of existing improvements located on adjoining land.

3. Unmari<etable Title
4 No right of access tp and from the l_and

5. Thc violation crenforcement of any law ordinance permit or governmental regulation [including those relating to building and zoning} restrictingl
regulating prohibiting or relating to _ , -
' {a] tire occupancy use or enjoyment of the tand;
ibi the character dimensions or location of any improvement erected on the Land;
jcj the subdivision of land; cr '
- g [dj environmental protection
. if a notice describing any part ct the Land is recorded 111 the Public Flecords setting forth the violation cr intention to enforce but only to the extent

of the violation cr enforcement referred to in that notice

OLD REPUBL|C NATIDNAL TlTL£ INSUBANCE DDMPANY

A Stoclr Company
403 Second Avenue Soutl‘r Minneapoiis Mr'nnesota 5541]1

{672) 371-1111

Court tersr;qned."

 
 

 

 

Pre_sr'dent

‘ ‘ FQQ Secreiary

Authorr'zeo’ Ul‘ricer or tic`cnseo‘ Agent

oct Form cans
ALTA Owncis Pollcy ofT:'|le insurance 6-17-05

 

.-,.;

Case 2:15-Cv-00396-.]D Document 1_ Fiied-_Q`l_/_Z_S{'lB Page 141 of 168

B. An enforcement-action based on the exercise of a governmental police power not covered by Covered liisl< 5 if a notice of the enforcement
action, describing any part_of the Land, is recorded in the _Public iiecords. but only to the extent of the enforcement referred to in that notice.

7. The exercise of the rights of eminent domain ii a notice of the exercise, describing any part of the Land, is recorded in the Public iiecords'.

. 9. Title being vested_other than as stated_in Schedule A or being defective

' 8. Any taking by a governmental body that has occurred and is binding on the rights of a purchaser iorvaiue without Knowiedge.

ial as a result of the avoidance in whole or in part, or from a court order providing an alternative remedy, of a transfer of all or any part of
the title to or any interest in the Land occurring prior to the transaction vesting Titie as shown in Schedule A because that prior transfer
constituted a fraudulent o_r preferential transfer underfedera| bankruptcy state insolvency, or similar creditors' rights iaws: or

- ibi because the instrument of transfervesting Tit|e as shown in Schedule A constitutes a preferential transfer under federal bankruptcy,
state insolvency or similar creditors‘ rights laws by reason _of the failure of its recording in the Public Hecords

iii to be timelyr or

iiil to impart notice of its existence to a purchaser'for value or to a ,

judgment or lien creditor.

¢

‘tU. Any defect in or iie_n or'_encirrnbrance on_the Titie or other matter included in Covered iiisirsl_ through Bthat has been created or attached or _bas

been filed or recorded in the Fubiic Hecords subsequent to Date of Policy a

Public Hecords that vests_Titie_-_as shown in Schedule A.

nd prior to the recording of the deed _or other instrument of transfer in the

Thc Company will also pay the costs, attorneys' fees, and expenses incurred in defense of'any matter insured against by`this Policy, but only to the ,

extent provided in t_he [_]onditions.

‘ ExcL_usloNs -r=nom severance

The following matters are expressly excluded from the coverage of
this policyr and the Company will not pay loss or damage, costs,
attorneys' fees, or expenses that arise by reason of:

‘i. ial Any law, ordinance. permit, or governmental regulation
iinciuding those relating to building and zoning) restricting,
regulating prohibitingr or reia_ting_to

iiitbe occupancy user or enjoyment ofthe Land;
iiil the character, dimen`sions,-or location of any
improvement erected on.the l.and; ` `

iiiil the subdivision of i`and; or

'iiv} environmental protection;

orthe effect of any violation of these |aws, ordinances or govern-
mental reguiations. This Exc'iusion i[ai does not modify or limit the
coverage provided under Bover_ed Fiisk 5.

{b] Any governmental police power. ihis Exciusion libl does not
modify or limit the coverage provided under Covered Fiisk B.

2. Higbts of eminent domain ihis E_xc|usion does not modify or iimit
the coverage provided under Covered Riskii or B.. '

3. Deiects, liens, encumbrances adverse ciaims, or other matters

ial creeted, sufferedl assumed, or agreed to by_the insured
Ciaimant; , __

{b] not-Knovvn to the Eompany. not recorded in the Public
Flecords at Date of Poiicy, but Kno.wn‘to the insured Ciaima_nt
and not disclosed in writing to the Eompany by the insured
C|aimant prior to the date the insured Ciaiman`t became an
insured underthis policy;

(ci resulting in no loss or damageto the insured Claimant;_
idl attaching oi' created subsequent to Date of Policy
ihowever. this does not modify or limit the coverage provided _
under Covered Hislt 9 and 10]; or

ie_} resulting in' loss or damage that would not have been
sustained if the insured Cia_imant had paid value for the Ti'de.

4, Any claim, by reason of the operation of federal bankruptcy state

insolvency or similar croditors' rights iaws, thatthe transaction
vesting the Title as shown in Scheduie A. is- '

ia] a fraudulent conveyance or fraudulent transfer; or
ibla preferential transfer for any reason not stated in Covered

Risk 9 of this poiicy.

5. Any lien on the Tit|e for,reai estate taxes or assessments imposed
by governmental authority and created or attaching between Date
of Policy and the date of recording of the deed brother instrument
of transfer in the Public Fiecords that vests Title as shown in
Schedule A.

Page2

 

Case 2:15-Cv-00396-.]D Document 1 Fiied 01/28/15 Page 142 of 168

COND|TIONS AND STlPUi.ATlUNS

i. DEFil\llTlUN DFTERMS
The following terms when used in this policy mean:
ial "Amount'of insurance": The amount_stated in Schedule A, as may
be increased or decreased by endorsement to this poiicy, increased
by Section Bibl, or decreased by Sections ii and 12 of these Conditions._
, ibi ”Date _of Poiicy": The date designated as "Date of Poiicy" in
' 'Schedule A. -
ic] ”Entity": A corporation partnership trust limited liability
company or other similar legal entity.
idl "insured": The insured named' rn Schedule A.
lilThe term "insi_rred‘ also includes-
iAl successors to the 'iitie ofthe insured by operation of.Iaw as
distinguished from purchase including heirs, devisees, survivors.
personal representatives or next of kin;
[Bl successors to an insured by dissolution merger consolidation
distribution' or reorganization;
. iGl successors to an insured by its conversion to anotheri<lnd of
Entity;
[D] a grantee of an insured under a deed delivered without
payment of actual valuable consideration conveying the 'iitie

_ iilifthe stock shares membershipsl or other equity

interests of the grantee are whoiiy- -ovirned by the
named insured
i2l if the grantee wholly owns the named lnsured,

[3l if the grantee is wholly-owned by an affiliated
‘Entity of the named-insured provided the affiliated `
Entity and the named insured are both wholly-owned

by the same person or Entity. or

fill if the grantee is a trustee or beneficiary of a trust
created by a written instrument established by the
insured named in Schedule A.for estate planning
purp poses.

iiil With regard to iAl iBl iCl. Cland iiJi reserving however all rights .
and defenses as to any successor that the Company would have had.

against any predecessor insured

iel "insured Cleimant": An insured claiming loss or damagel

- if) "l<nowiedge" or "Known': Actual knowledge not constructive '
knowledge or notice that may be imputed to an insured by reason of

- the Public hiecords orany other records that impart constructive
notice of matters enacting the Titie. -
llg] “i.and“: The land described in ScheduieA, and affixed improvements

‘ that by law constitute real property The term "i.and” does not_
include any property beyond the lines of the area described in
Scheduie A, nor a`ny right title. interest estate, or easement in
abutting streets, roads, avenuesf alieys, lanes, ways, or waterwaysr
but this does not modify or limit the extent that a right of access to
and from the Land is insured by this poiicy-.
ih)' iviortgage": iviortgage deed of trust trust deed or other security

instrument including one evidenced by electronic means authorized `

by law

ill "Public Hecords" . hecords established under state statutes at
Date of. Poiicy for the purpose of imparting constructive notice of
matters relating to real property to purchasers for value and without
Knowiedge. With respect to Covered firsk hidi, "F'ubiic Fiecords"
shall also include environmental protection liens filed in the records
of the clerk of the United States District Court for the districtwhere
the l.arid is located. `

ill "Title": T|'re estate or_ interest described 111 Scheduie A.

ikl "Unmari<etablei'itie“: iitie affected by an alleged or apparent
matterthatwould permit a prospective purchaser or lessee of the
Titie or lender on the 'i"ttle to be released from the obligation to

purchase iease, or lend ifthere' is a contractual condition requiring
the delivery of marketable title.

2. CUNT|NUAT¥ON DF iNSUiiANCE

The coverage of this policy shall continue in force as of Date of
Poiicy in favor ofan lnsured, but only so long as the insured retains
_an estate or interest in the Land, or holds an obligation secured by
a purchase money Mortgage given by a purchaser from the insuredr
or only so long as the insured shall have liability by reason of
warranties in any transferor conveyance of the Tit|e This policy
shall not continue in force' in favor of any purchaser from the
insured of eitherii] an estate or interest in the Land or iiil an
obligation secured by a purchase money ivlortgage given to the
insured

_1 i\iUi'iCE OF Cl.AliVl TU BE GIVEN BY lNSURE[l CLAlMANT

The insured shall notify the i'_$ompany promptiy' in writing iii 111 c'ase
of any litigation as set faith in Section 5(al of these Conditions lii]
in case Knbwledge shall come to an insured hereunder of any claim
of title or interest that rs adverse to the Title as insured and that
might cause loss or damage for winch the Company may be. liable
by virtue of this policy o_r iiii) if the Title as insured. is rejected as
Unmarketabie Titia. ii_th'e Company' is prejudiced by the failure of
tbe' insured C|airriant to provide prompt notice the Compan`y's `
liabilityto tbe' insured Ciaimant under the policy shall be reduced
to the extent of the prejudice

. PRODF OF LDSS

in the event the Company` is unable to determine the amount of loss
c`r damagef the Company may, at its option, require as a condition of
payment that the insured Clarmant furnish a signed proof of loss.
The proof of loss mustdescribe the defect. _iien encumbranco, or
other matter insured against by this policy that constitutes the
basis of loss or damagel and shall state to `the extent possibie, the
basis of calculating the amount of the loss or damage

. DEFENSE AND PRQSECUT|DN UFACTIONS

ial Upon written request by the insured and subject to the options

' containod' in Section 'I of these Ccnditions, the ,Company at its

own cost and without unreasonable delay shall provide for the
defense of an insured' rn litigation in which any third party asserts
a claim_covered by this policy adverse to the insured. _This obligation
is limited to onlythose stated causes of action alleging matters
insured against by this poiicy. ~The Company shall have`the right to
select counsel of its choice (subjcct to the right of the insured to

_object for reasonable causal to represent the insured as to those

stated causes of action. lt shall not be liable for and will not pay
the fees of any other counsel. The Cor'npany will not pay any fees,
costsl or expenses incurred by the insured in the defense of those .
causes of action that allege matters not insured against by this policy.

- ibi The Company shall have the right, in addition to the options

contained in Section 7 of these Conditions, at its own cest, to
institute and prosecute any action or proceeding or to do any ,
other act that in its opinion may be necessary or desirable to
establish the Tit|er as insuredr or to prevent or reduce loss or
damage to the insured The Company may take any appropriate
action underthe terms of this pciicy, whether or not it shall be
liable to the insured. Thc exercise of these rights shall not be an
admission of liability or waiver of any provision of this policy.
if the Company exercises its rights under this subsectionl it must
do so diligently
ici lWheneverthe Company brings an action or asserts a defense
as required or permitted by this pciicy, the Company may pursue
the litigation to a final determination by a court of competent

' jurisdiction and it expressly reserves the right in its sole

chscretion,_to appeal any adverse judgment or order.
Pach

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 143 of 168

nitainiiitibiniiriitdmtnieinfniititdrinttitiulitniidndt€tt<rte<it@tit@fhiiumbdr€e@ldide‘hie<niitn y
indispensableeuteituidlinie€uiaia<it€e@teiiu ' .entiainstliiniritiitiitiitbi@daiiiitiiic.‘n§ltteiit@titit
1 511attesteaeeeeeeeeeeesreeasaenaaaanerunasceraaannnaaane
5aetititiinisitiitstttr‘atiititstielhindininiefelnet<rtlnitdttidisaleiniitlniitstit@t%a®iiénunearned
Name and Address of the Titlel insurance Cornpany: .
Oid Republic Nationai Titie insurance Company ‘

400 Second Avenue South ~
i\ilinneape|is, Minnesota 554thl

sue ivo.: cA-eoea Poiicy No.; 0)<_-03547266

Address Reference: 226 Route 31 South, Township`of Hopewei|, NJ _

' Amoont or meantime ssco,ooo.oo - Pre'mium: s 1,315.00
Poiicy Date: February S, 2012 ' 4 - '
1. blame of l_nsured:

_Sycarnore Fue_ls -1 JP i, LLC
2. The estate or interest in the Land that is insured by this Poiicy is:-
Fee Sirnple

3. rare rs vested rn;-
Sycamore-'Fue|s .- JP'i, LL-¢ by virtue of a deed front Creighton Properties Family Limited' 1
- Partner`shtp,-dated_ January 31, 2012, and recorded Fe_bruary 6, 2012, in `the C|erk's Office for_ ' '
the C_ot.`rnty of Mercer, in Book §139, at page 28'i, as instrument No. RD`Z(_}'12004392.= _
' 4. The Land referred to in this policy is described as follows:-_ n
.Located'in: Township of.i-lopeweil, Mercer County, New Jersey

_S_ee Scheduie A continued for Legal Descript-ion.. 1

BRENNAN coMMERcmL AesTR'AcT, LLC

 

issued at:
216 Haddon Avenue '
l 1 ' - Suite 400 . _
` ' Countersigned: ~ ` Westmont, NJ 08108-
Authorized Ofticer or Agent ,
ALTA Owner's Poiicy (6/17!06) _ y NJRB 1-15
Schedule A _ Effectlve: 211 5107

Revised: 911 OIDY

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 144 of 168

 

§§§§'§§§dessef§§r§e§§§§§eeeses§§se§§e§§eee§§<e§§s§§eeeee§§ee@§§§<i@_.<§e<§§§e§
§eisstere§ese§§eset§§§§i§ee@a§§f§§§see§§eseef§eee§§eees§e§§§§:§ef§§eee<§§§
§ ‘_..§§§§§§.<§i§§§§<§eee§§§§§e .tree.f§§sees§eee§§sstresse§§§§s§§§§f§e§§§sf§§<§§§e¢§e
ees§§§e:§s§§§§§te§ees§§§§§§ee<§§§i<§§§§e§§§§§§§f§§§§fr§§§§§§§§eemeese§§sees§§ ..

File No.: CA-6093 ~ Policy No.: ox-08547266

LEGAL DESCRIPTEON

ALL that certain lotl parcel or tract cf land, sitcate and lying in the Tcwnship of'l-lopewell, County of Mercer, Stetel

_of New Jersey, and being more particularly-described as .fcllows:

BEGINN!NG' at'a point in the Northerly` line of the Washingtcn C':rossing~Penn'ington Road (60 feet wide), said'
point being the Southwesterly end of the curve having a radius of_70 feet that connects the said line` o_f
Washington Crcsslng-Penningto'n Road with the Westerly line of New Jersey State l-lighway Route 31 (v_ariable.

wldth), and running thence

{'l)‘ South 81 degrees 53 minutes 36 seconds West, along the Northerly line of the Washington .Crosslng~

t Penningfon Road, 82 feet to a point; thence
- t (2) _ `t\lcrth 08 degrees 06 minutes 30. seconds West, 100 feet tca point; thence
(3) '_ Ncrth 20 degrees 24 minutes 09 seconds 'East, 11-6._98 feet'to a p'o`int; thence _

_(4) North 83 degrees 33 minutes 06 seconds East, 1_00 feet'to`:a point in the' aforesaid \_Nester|y line of New
Jersey.State l-iighway Route 31; thence ` § .

_ (5) Sc`)uth 06 degrees 26 minutes '54 seconds East;` along the Westerly line cf New Jersey State'l~lighway
f Route 31, "132 feet to a polnt; thence ` ‘ - ‘

(6)` Scuthwesterly afon'g the aforesaid curve bearing to the right having‘a radius of 70 feet that connects the
.-said line of Washington Crossln_g-Penningt`on Road with the Westerly line of New Jersey State nghway

Route 31', an arc distance of 10?.93 feet to the point and place of beginning .

' _EOR` lNFORNlATlONAL PURPOSES ONLY: Also known as tot? in Blocl< 69 on the Township~of Hcpewel|'Tax
Map`. ‘ -. ' _

ALTA Owner‘s Policyl (6)'1?!06] - . NJRB 1-15
' ' Effeclive: 2f15!07

Schedu|e A
- .. _ Revised: 9110/07

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 145 of 168

eittee§§seseesssesssf§esr§seesssersie§eeseesseeeseeree
seesr§§§see<reeeetree§§z§§searles-esseesses§r<§r§eresr§§§§e§r§
ireiseeerer§es§eeesssessesessie§§er§§iiseesssseeteese
sirresreiterateewee§eeeeegteer@aeeeess<§eee§erereeee

' Fiie No.: cA-sosa Poiicy No.: ox`~oas¢rz`ss

Notwithstanding any` provision of the policy to the contrary, the following matters are expressly excepted from the
coverage of the poiicy, and the Company will not pay loss or damage, costs, attorney's fees or_ expenses that "

arise by reason of: '

1. Any encroachment encumbrance iriolation, variation, nor adverse circumstance affecting the Title that `
- would be disclosed by an accurate and complete land survey of the Land. (Foran.additional charge and
uponl submission of'an acceptable survey, this exception will be deleted by endorsement and the poiicy

will set forth those matte_rs, if any, affecting title.)

The Poiicy does not insure acreage and quantity of land. _

S_ubsurface conditions and/or encroachments not disclosed by an.in,strument of records

Taxes paid through March'St, 2012'; Sewer paid through July 'l, 2012. _ _
Possitile additional taxes and assessments assessed o'r levied under N.J.S.A. 54:4‘-63.1 et seq._' '
slope and drainage rights or the state cr New Jersey as in Bcol< 733, page 64. '
Restrictions'as'contained in Book 4165, page 23. l .

rum-sheets

ALTA Owner's Poiicy (6/17/06) NJRB 1~15
‘ Efiective: 2115/07,

Scheduie B
~ . _ _Revised: 9110!07

 

Case 2:15-cv-00396-.]D Documentl Filed 01/28/15 Page-146 of 168

 

nrc assessean ,

assessments sss §S% sss `assessesitereseetsssessrer

`f*‘?°“ryi@@@»tir@i(sir“tre`d ti®§i§§$?i?&@t@&t%®@in®@ét%n®in@n@r®%@

¥* >e* - ' Atrac'hedto Poirey No 0)<-08547266 v - - - - _
>t' 4 _ l .
l _ -l< - § *‘ issued By
>r- ' * ' 4
sr _¥~ x_`k . Old Repubiic National Title insurance ,Cornpany

'Fiie No.: CA-6093'

Exception No. 1 is removed. Notwithstanding any provision in the poiicy to the contrary,:un|ess an exception is taken inl
Schedule B, the‘policy insures against loss arising from any encroachment, encumbrance, violation. variation, or adverse
circumstance affecting the Tit|e. The following matters shown on a survey made by Stout & Caldweil, dated _1'|_10112011 are

added to Sche_dule Ei:

This policy does not insure against errors or inaccuracies in the survey with respect to matters which do'not'affect title. '

T_his endorsement its issued as part of the policy. Ex'cept as it expressly states, it does-not (E) modify any of the terms'and

" provisions of the policy, (ii) modify any prior.endorsements, (iii)' extend the Date of Poiicy, or Gv)`increase the Amount of
insura_.nce To the extent a provision of the policy or a previous endorsement is inconsistent with an express provision of this'
endorsement this endorsement controts. Otherwise, this endorsement is subject to all of the terms and provisions of the policy
and of any prior endorsements ' ` ‘ ' n

DLD HEPUBL!C NAT|DNAL TlTi.EiNSURANCE CDMPAHY

   
 

issued through th A Smkcampmy
400 Secuna'Avenue South, Mr'nneepot`is. Minnesota 55401 »
Brennan Comm (812}371-111!

 
 

 

_ By _ _ Presidsnt
('- - ` Authorized Slgnaturs l 0 '

' - y Attsst Secrstary

NJRB 5~01

Effective: 10120,'75

SURVEY ENDORSEMENT Last Revised.' SHOID? '

 

Case 2:15-cv-00396-.]D Document 1 Filed 0_1/28/15 Page 147 of 168

CUN_DITIONS AND ST|PULATIONS (con't}

11.‘ LiABILITY NONCUMULAT|‘\[E

The Amount of insurance shall be reduced by any amount the Company _

pays under any policy insuring a Mortgaga to which exception is taken
in Schedulc B or to which the insured has agreed assumed or taken '
subjectl or which is executed by an insured after Date of Poiicy and

which is a charge or lien on the Title, and the amount so paid shall be _

deemed a payment to the insured underthis policy.

12. PAYMENT OF LUSS

When liability and the extent of loss or damage have been definitely
tixed' m accordance with these Conditions, the payment shall be made
within 30 days.

~ 13. RlGl-I_TS DF RECOVERY UPtll\i PAYMENT OR SETi'i.El'l_JiEl\|'l'.
_(a] Wheneverthe Company shall have settled and paid a claim

underthis policy, it sheli be subrogated and entitled to the rights of _

the insured Claimant in the Title and ali other rights and remedies
in respect to the claim that the insured Claimant has against any
person or property. to the extent of the amount of any loss costs,
attorneys' fees. and expenses paid by the Company. if requested
by_ the Company the insured Claimentshall execute documents to
_ evidence the transfer to the Cornpany of these rights and remedies
The insured Claimant shall permit the Co`rnpany to sue, compromise_
or settle' in th_s name of the insured Clalmant and to use the name
- of th_e'ln_sur_ed Ciaiment in_a`ny transaction or titigation involving ‘
these rights and remed_ies.'
if a payment on account of a claim does not fully coverthe loss of
the insured Giaiment, the Company shal|'doier the exercise of its
right to recover until afterthe insured Claimantshall have recovered
lts loss.
ibi Tho Cornpany s right of subrogation includes the rights ot the
insured to indemnities, guaranties other policies oi` insurance or
bondsl notwithstanding any terms or conditions contained 11`1 those
instruments that address subrogation rights

14 ABB|TRAT|DN
Either the Com_pany ortho insured may demand that the claim o_r
. controversy shall be submitted to arbitration pursuant to the Title

' insurance Arbitration Huies of the American Land Title Assoc_iation
l"Flules"l Except as provided' 111 the liulss, there shall tie no joinder
or consolidation with claims or controversies of other persons.
Arbitrable matters may include butera not limited to, any controversy
or_ claim between the Company and t_he insured arising out of or relating
to this policyl any service in connection with its issuance or the breach
of a policy provision, or to any other controversy or claim arising out of
the transaction giving rise to this policy. All arbitrable matters When
the Amount of insurance is $Z,UBG.ODU-or less shall be arbitrated at the
` option of either the Company ortho lnsured; A|l arbitrable matters
` when the Amount of insurance is in excess of $2,000,000 shall be

arbitrated only when agreed to by_both the Company and the insured .

. Arbitration pursuant to this policy and under the Hules shall be binding
upon the parties Judgment upon the award rendered by the Arbitratorls)
maybe entered in any court oi competentjurisdiction.

15. L|ABIL[TY i.ll'llilTED Tl.`i THiS Pl}l_ICY; P{_li_lCY ENTIRE CDN-
THABT
ial This policy togetherwtth eli endorsements if any, attached to it
bythe Bompany is the entire policy and contract between the
insured and the Company. in interpreting any provision of this

policy. this policy shall be construed as a whole.

{b] Any claim ot loss or damage thatarises out cl the status of the
Title orby any action asserting such claim shali be restricted to this
policy.

lc] Any amendment of or endorsement to this policy must be in
writing and authenticated by an authorized person. or expressly
incorporated by Schcdule A oi this poiicy.

.- ldl Each endorsement to this policy issued at any time ls made a
part of this policy and is sub]e'ct to all of its terms and provisions
Except as the endorsement expressly`states, it does not iii modify
any of the terms and provisions ot the policy. [iil modify any prior
endorsement iiiii extend tha Date of Poiicy, or (ivl increase the
Amount of insurance

16. S_EVERABIL|TY

in the event any provision of this policy in whole or in part. is held
invalid or unenforceable under apphcable law the policy shall be
deemed not to include that provision or such part held to be invalid. but
all other provisions shall remain in full force and effect

l'i. Ci~iU_lCE UF LAW; EDR_UM‘
lai Choic`e of l_avv: The_|nsured acknowledges the Company has
underwritten th'e risks covered by_this poiicyand determined the -

` . .prernlum charged therefor in reliance upon the law affecting interests

in reel property and applicable to the interpretation rights remediesl -
or enforcement of policies oi titie' msurance ot the jurisdiction
where the Land` rs located

‘ Thc-refers the court or an arbitrator shall apply the law of the
jurisdiction where the Land' is located to determine the validity ot
claims against the Title that are adverse to the insured and to
interpret and enforce the terms ofthis policy. in neither case shatl
the court or arbitrator_apply its conflicts of law principles to deter-'
mine_the applicable law.
lbl Choice of. Forum: Any litigation or other proceeding brought by

' the insured against the Compeny must be filed only in a state or
federal court within the United States of Americe or its territories
having appropriate jurisdiction

18. NO_T|CES WHERESENT
Any notice of claim and any other notice or statement in writing
required to be given to the Cornpany under this policy must be given to

`the Company at 400 Second Avenue South, lvlin`neapolis,
, Mlnnesota 554[]1-2499.

Page §

 

_Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 148 0f 168

CUNDlTii]NS ANiJ STiPULAT|DiilS (con' ti

n DUW UF 'NSURED cLA'nnANT. m BUUFERATE _ policy. in addition the Company will pay any costs. attorneys' tees,

' ial in an Cases Wner,e tn'S n°|'°ll penn'ts or renu"fis the Cnmpan_i" and expenses incurred by the insured Ciaimant that Werc authorized
to prosecute or provide for the defense of any action or proceeding by the Company Up w the time of payment and that the Companv- ls
and any appeais, tha insured -shai| secure to the Company the rigiit obligath m pawl or

. in nn nmsnn"tn nn inn‘"inn defense _in inn minn °r Prnnnnd'ng- liii To pay or- othenivise settle with the insured Ciairnant the loss
including the right to use. at i_ts option, the name of the insured for or damage pmw'ded for under mls punch togetherwjth any sums
tn'S nurP°Se' Wnene”er requesten binns C°mnani" the insured' attorneys' fees and expenses incurred bythe insured Clalinant that
.ai inn Cnmpnni"$ Bxpnnsn» Snn" Q'Vn inn nn[ni’nnii nn 'nnsnnnnin were authorized by the Company up to the time of payment and that
aid ill in securing evidence obtaining witnesses, prosecuting or_ the company rs obligated to pay
defending the action or proceeding or effecting settlement and

liil in any other lawful act that in the opinion of the Company may
'be necessary or desirable to establish the Title or any other matter
as insured. if the Comp`any is prejudiced by the failure of the
insured to furnish the required cooperation the Company’s obligations
to the insured under the policy shall terminate including any
liability or obligation to defend..prosecute..'or continue any litigation
with regard to the matter or matters requiring such cooperation
{bl Tha Company may reasonably require the insured Clairnant to
submit to examination under oath-by any authorized representative
of the Compariy and to` produce for examination inspection and
copying. at such reasonable times and places as maybe designated
by th`e` authorized representative of the Company. ali records,` in
whatever medium maintained including books, ledgers_ checks,
memorandal correspondence reports, e- -mails, disi<_s tapes, and
videos whether bearing a date before or after _.Date of Poiicy, that
reasonably pertain to the loss or damage Further. if requested by
any authorized representative of the Cofnpany the insured Ciaimant
` - shall grant its permission in writing for any authorized representative

of the Cornpany to examine, inspectl and copy all of these-records »

in the custody or control of a third party that reasonably pertain to
the loss or damage Al| information designated as confidential by
tire insured Cleimant provided to the Cornpany pursuant to this `

Section shall `not be disclosed to others uniess, in the reasonable
judgment of the Company. it is necessary in the administration of

the claim. Fallure of the insured Claimant to submit for examination '.

under oath produce any reasonably requested information or
grant permission to secure reasonably necessary information from

» third parties as required in this subsection unless prohibited by
law or governmental regulation shall terminate any liability of the
Company under this policy as to th_at ciaim.

7. DPTIONS 'i'O PAY fill UTHERWISE SE'i'i'LE Ci.AlMS;

TERMINA°{[DN uF LliilBiLlTY
in case of a claim under this policy, the Cornpany shall have the

following additional options:

ial To Pay or Tender Payment of the Amount of insurance

To pay or tender payment of the Amount of insurance under this
policy together with any costs, attorneys' iees, and expenses
incurred by the insured Claimant that were authorized by the
Company up to the time of payment ortender of payment and that
the Company is obligated to pay.

Upon the exercise by the Company of this option all liability and

Upon the exercise by the Company of either of the options provided
for in subsections lbliil or liil, the Company's obligations to the insured
under this policy for the claimed ioss`or damagel other than the
payments required to be made, shall terminate including any iiabllity.

or obligation to defend, prosecute. or continue any litigation

B. DETERM|NAT|UN'AND EX`I`ENT OF LIAB|L|TY cr

This policy is a contract of indemnity against actual monetary loss or
damage sustained or incurred by the insured Clairn_ant who has suffered .
loss or damage by reason of matters insured against by this policy.

lai The extent of liability ot the Company for loss ordamage under
this policy shall not exceed the lesser of

{ll the Amount of insurancc; or

(ii) the difference between the value of the Title'as insured and the
'value of the Title subject to the risk insured against by this poiicy.
ibi if the Company pursues its rlghts'under Section 5 of these
Conditions and is unsuccessful in establishing the Title, as insured
iii the Amount of insurance shall be increased by 1'_0%, and

{iii the insured Clalmant shall have the right to have the loss or

` damage_determiried either as ofthe date the claim was made by

the insured Claimant or as of the date it is settled and paid '
ic] ln'addltion to the extent of liability under leland (b]. 'tbe Company
will _also pay those-costs. atto`rneys!' tees, and expenses incurred in
accordance with Sections 5 and 7 of these Concii_tlons.

e. timirnriciv oi'='.uneiiir`r

lai if the Con'ipany establishes the Title. or removes the alleged
defect lien or encumbrance or cures_the lack of a right cf access
to or from the Land. or cures the claim of Unmarl<etab|e Title, alias

. insuredl in a reasonably diligent-manner by an_y method,' including

litigation and the completion of any appealsl it shall have fully
performed its obligations with respect to that matter and shall not
be liable for any loss or damage caused to the |nsurecl.

lbl in the event _of any litigation including litigation by the Company
or With the Company's consentl the‘[]ompany shall have no liability
for loss or damage until there has been a final determination by a
court of competentjurisdiction, and disposition of all appeals
adverse to the Title,.as insured.

lcl The Cempany shall not be liable for loss or damage to the
insured for liabllityvoluntarily assumed by the insured in settling
any claim or suit without the prior written consent of the Company.

id. RED UCTlGl'il DF iNSURANCE; REDUCT|DN 'UR TERM|NAT|DN

tJF LIABii.l'l'Y
Ali payments under this policy, except payments made for costs
attorneys‘ fees and expenses, shall reduce the Amountof insurance

by the amount of the payment _ _

obligations of the Cornpany to the insured under this poiicy, other `
than to make the payment required in this subsection shall terminate
including any liability or obligation to defend prosecute or contin-
ue any litigation .
(blTo Pay or Otherwlse Settle With Paities Utherihari the insured
orWlth the insured Clalmant. _

iii To pay or otherwise settle with other parties for or in the
name of an insured Ciaimant any claim insured against under this

_Page 4

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 149 of 168

ease C-

BILL OF SALE

THIS BILL OF SALE from KC OIL, INC., GREENWOOD ENTERPRISES
lNC., BUCKS COUNTY PETROLEUM LLC, TRENTON PETROLEUM INC.,
CREIGHTON FAMILY PROPERTIES, LLC and JAN & KIMBERLY
CREIGI-ITON, With their principal place of business at 1 Union Street, Suite 208,
Robbinsville, NJ 08691(individually and collectively the “Selier” 01' “Sellers”), to
Sycamore Energy-KC Oil, LLC, a Pennsylvania limited liability company
("Purchaser“), is dated January 31, 2011 and provides as follows:

WITNESSETH:

`WHEREAS, Sellers and Purchaser are parties to a certain Agreement of Sale
dated November 14, 201l, as amended by a First Amendment to Asset Purchase
Agreement dated Decernber 22, 2011 and a Second Amendment to Asset Purchase
Agreement dated January 31, 2012 (, the Asset Purchase Agreement, as amended, the
"Purchase Agreernent"), pursuant to Which Sellers have agreed to sell to Purchaser,
and Purchaser has agreed to purchase from Sellers, certain assets of the Seller,
including the personal property listed in Exhibit B and the vehicles listed in Exhibit C
of the Purchase Agreement (“Property”) on the terms and conditions set forth therein;
and

WHEREAS, capitalized terms used herein shall have the same meaning as in the
Purchase Agreement unless defined herein.

NOW, THEREFORE, pursuant to the terms and conditions of the Purchase
Agreement, Sellers, for valuable consideration paid to it by Purchaser, the receipt,
adequacy and sufficiency of Which is hereby acknowledged, have granted, bargained,
sold, assigned, transferred, set over and delivered, and by these presents do hereby
grant, bargain, sell, assign, transfer, set over and deliver, unto Purchaser, its successors
and assigns, all of Sellers’ right, title and interest in and to the Property as the same
shall exist as of the date hereof

TO HAVE AND TO HOLD the same unto Purchaser and its successors and
assigns forever free and clear of all tax claims, liens, security interests and
encumbrances of every kind, nature and description

This Bill of Sale is subject in all respects to the terms of the Purchase Agreement,
and all of the representations, Warranties, ccvenants, and agreements contained in the
Purchase Agreement Which shall survive the execution and delivery of this Bill of Sale
according to the terms of the Purchase Agreement

.......................................................................................................

.......................................................................................................

SIGNATURES ON NEXT PAGE

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 150 of 168

IN WITNESS WHEREOF, this Bill of Sale has been duly executed as of the date
set forth above.

SELLER: I{C OIL INC.

j/'\/

` /

PRrNTNAME: T:M/ f/W'¢/%

SELLER:W ENTERPRISES, INC.
By: / /»- 75¢~//)&

PRINTNAME: '_///,a/ d ;//~

SELLER: BUCIYTY PETROLEUM, LLC
By: /% l f,//'

PRINT NAME; “7///»/ ja ;,,-»//,~.

TRENTON PE'rno EUM, LLC
./.../.'-~

BY= /jé/z

PRINTNAME: "7;;1 %Zp////¢

 

 

CREIGHTON ;ROI:,E IES, FAMILY LIMITED PARTNERSHIP

PRlNr NAME: '7,;; %#///¢'

By:

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 151 of 168

SELLER: JAN AND KIMBERLY CREIGH'I`ON

.///17‘\)

JANc manion

   

BUYER: SYCAMORE ENERGY-KC OIL, LLC

By' /%I/ %%M‘\
…M W//%Mf/

 

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 152 of 168

seeds '\n

TRUCK ENDING INVENTORY 1/30/12

‘ rach eAL PmcE/GAL To'rAl.
r" ' . 303 236.9 3.1902 $ 755.76
306 seas 3.1902 $ 3,090.67
358 1,908.0 3.1902 $ 6,086.90
360 296.2 3.1_902 5 944.94
$ 10,378.26

`5¢’@ )76`1>"W .
a amy »~ seem sat

 

/;/ acre 7’*%

(_ §%\,,ge AW%»¢%I- _jfay.s-’¢’O

dial /é"’ %a_lfjj/
___,/
/g @/é¢é‘¢
//M/// par /¢/7@» 06
/,_/_

/// ///a 92 5a l »'T“

/ai away bb
/'// !VO- 25

r’x_-`~'/
/;5/{5/5'¢9.3/ 1
\s 0-*‘1>'§

 

Case 2:15-Cv-00396-.]D Documentl Filed 01/28/15 Page 153 of 168
\'_; esse-mak mail
Pnoivnssoav Norn

$1,000,000 Pennington, New Jersey

January 31, 2012 (“Efl:`ective Date”)

. FOR VALUE RECBIVED, the undersigned, Sycamore E'nergy-KC Oil, LLC (the

“Maker” , pursuant to the terms of an Asset Purchase Agreement, as amended by the
First Amendment to Asset Purchase Agreement dated December 22, 2011 and the Second
Amendment to Asset Purchase Agreement dated January 31, _2012 (the Asset Purchase
Agreement, as amended, hereinafter referred to as the “Purchase Agreement”) entered
into between Malcer and KC Oil, Inc. (the “Payee”), hereby promises to pay to Payee the
principal sum of One Million Dollars (31,000,000) together with interest on the unpaid
principal balance from the Effective Date until paid at the annual rate of six percent (6%),
calculated in accordance With a ten year amortization rate.

1T Payrnent Terms. The principal and interest shall be payable in One
Hundred Twenty (120) monthly installments cf principal and interest, amortized over a
ten year period. Maker agrees to make One Hundred Twenty (120) equal monthly
payments, calculated in the amount of Eleven Thousand One Hundred Two Dollars and
Five Cents ($11,102.05) each, the payment due and payable by electronic ere transfer
beginning on the first day of each calendar month following the date of this Note and on
the first day of each calendar month thereafter.

2. Prepa§@ent. The Malter may prepay principal at any time in Whole or in"
part Without penalty or notice; pro_vided, however, that any such prepayment shall be
applied first to pay all accrued interest and thereafter to principal.

3. Events of Default. Each of the following shall constitute an “Event of
Default” hereunder:

{a) Failure of the Maker to make any payment of principal or interest
vvhen due after the Payee has given the Maker Written notice of the delinquency, and said
delinquency continues for fifteen (15) days after the giving of such notice;

_(h) Application for or consent to the appointment of a receiver, trustee
or liquidator by Maker for its assets ;

(c) Admission in Writing by Malcer of its inability to pay debts as they
' mature; v

(d) The making of a general assignment for the benefit of creditors by
Malcer;

(e) Adjudication that Mal<er is bankrupt or insolvent;

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 154 of 168

(f`) Filing by Maker of (i) a voluntary petition in bankmptcy; or (ii) a
petition or an answer seeking reorganization or an arrangement with creditors, or to take
advantage of any insolvency, readjustment of loan, dissolution or liquidation lanr or
statute; or (iii) an answer admitting the material allegations of a petition Hled against
Mal<er in any proceeding under such law; or

(g) rl`he entering of an order, judgment or decree, without the
applicaticn, approval or consent of Maker by any court of competent jurisdiction,
appointing a receiver, trustee or liquidator for Mal<er, if such order, judgment or decree
shall continue unstayed and in effect for a period of sixty (60) days.

4. Conseguence of Default. Upon the occurrence of an Event of Default, the
Payee rnay,_at the Payee's sole election and without prior notice to Maker, declare the
entire unpaid balance of principal under this Note and interest thereon to be immediately
due and payable

5. Set~Off. Maker has the right to off-set amounts due under the Note against .
(a) liabilities of Payee arising from Payee’s failure to pay New Jersey taxes, including
interest, penalties, and (b) expenses incurred by Malcer in defending claims made against
Maker by the Statc ofNew Jersey arising from Payee’s failure to pay such taxes.

6. Waiver. Except for notices expressly required herein, the Malcer waives
presentment for payment, demand, notice of dishonor, protest and notice of protest of this
Note and all other notices in connection With delivery, acceptance, performance, default
7 or enforcement of the payment of this Note. Liability hereunder shall be unconditional
and shall not be affected in any manner by an indulgence, extension of time, renewal,
Waiver or modification granted or consented to by Payee.

7. Notices and Payments.

(a) All notices hereunder must be Written. Notices to the Maker shall
be deemed to be given when hand-delivered with a receipt, or mailed certified mail,
postage prepaid and return receipt requested, and addressed to Mal<er at 630 Skippaclc
Pil<e, Blue Bell, PA 19422, or to such other person or address as the Mal<er shall from
time to time designate by notice to the Payee at the address at which payments hereunder
are directed to be made.

(b) Payments of principal and interest shall be made to the Payee
electronically by Payee drafting from Mal<er’s bank account beginning on the first day of
the first calendar month following the date of this Note and on the first day of each
calendar month thereafter until paid in full.

(c) Any payments or notices required herein Which pursuant to the
terms of this Note shall be due on a Saturday, Sunday or federal government holiday shall
be considered timely if given or made on the next succeeding business day.

8. Late Fee. If any payment or installment of interest or principal due
hereunder is not paid within ten (10) days after the same becomes due (without reference

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 155 of 168

to any grace or cure periods set forth herein), then Maker shall pay to Payee a late charge
in an amount equal to five percent of the overdue sum, in order to reimburse Payee for
the costs and expenses of handling such delinquent payment Neither the imposition nor
the collection of such late charge shall constitute Payee’s waiver of any default or Event
of Default of Mal<er hereunder, and shall be in addition to and not in lieu of any other
rights and remedies which may be available to Payee hereunder. Such late charge, if not
paid by Mal<er, shall, at the option of Payee, be added to and become part of the
outstanding principal balance of this Note.

9. Governing Law. This Note shall be governed by the laws of the State of
New Jersey, without giving effect to the principles of conflict of iaws.

10. Guaranty. This Note shall be guaranteed by Kenneth C. Morrison
pursuant to the terms of the Guaranty attached hereto.

IN WI'I'NESS WHER.EOF, and intending to be legally bound, the Maker has duly
executed this Note on the day and year first above written.

ATTEST: _ SYCAMORE ENERGY- KC OIL, LLC

 

 

 

Print

Date:

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 156 of 168

ATTACHMENT 1 TO PROIVlISSORY NOTE

GUARANTY

For value received, the undersigned unconditionally guarantees to KC Oil,
Inc., a New Jersey corporation (the “Payee”), the payment of all funds owed by
Sycamore Energy-KC Oil, LLC (“Maker”) to Payee as provided in that certain
Promissory Note dated as of January 31, 2012, amounts owed by Maker to Payee
pursuant to Maker’s purchase of certain assets from Payee under the terms of an Asset
Purchase Agreement, dated November 14, 2011, as amended by a First Amendment to
Asset Purchase Agreement dated December 22, 2011 and a Second Amendment to Asset
Purchase Agreement dated January 3 0, 2012.

Any default by Malcer in making any payment owed to Payee under the
Promissory Note shall oblige the undersigned to pay all damages, costs and reasonable
expenses that Payee may incur or be awarded from Malrer by reason of such default

This Guaranty by the undersigned is unconditional and Payee need not
exhaust its remedies against, or seek relief or satisfaction from, Maker prior to exercising
such remedies or seeking such relief or satisfaction from the undersigned

This Guaranty shall be binding on the undersigned and on his legal

representatives and assigns

Executed this 3_1"“ day of January, 2012.

 

KENNETH C. MORRISON

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 157 of 168
E~a\<\¥v-§s high

SELLER’S DISLCOSURE STATEMENT

- Pursuant to the terms of the Asset Purchase Agreement regarding 12
Service Stations, entered into among BUCKS COUNTY PETROLEUM LLC,
CR.EIGHTON PROPERTIES FAMILY LIMITED PARTNERSHIP, TRENTON
PETROLEUM, INC. GREENWOOD ENTERPRISES, INC., K. C. OIL, INC.
JAN CREIGI-ITON, KIMBERLY CREIGHTON with their principal place of
business at 1 Union Street, Suite 208, Robbinsville, NJ 08691, ("Seller"), and
SYCAMORE ENERGY-K.C. OIL., LLC, a Pennsylvania limited liability
company with its principal place of business at 630 Sl<ippack Pil<e, Blue Bell, PA
19422, (“Buyer”j dated as of November 14, 2011, as amended by the First
Amendment to Asset Purchase Agreement dated December 22, 2011 and the
Second Amendment to Asset Purchase Agreement dated January 30 2012 (the
“Agreement”), the Seller hereby certifies that:

(a) 'The representations and warranties made by Seller in the
Agreement are true in all material respects when made and on and as of the date
hereof; and

(b) The Seller has nothing to disclose to the Buyer since the
Agreement was signed by the parties which would materially and adversely affect
Buyer's ability to own or operate the Properties.

Execut_ed this "’>\6\ day of January, 2012

  

Bucks County Petroleum LLC., Creighton Properties Family Lirnited
Partnership 7
Br:/ dan ’”” By= %/Z(

 

 

an reightbn, President /Iai'i Gi‘§fgliton, General Par_tner

Greenwood Enterprises, Inc d K. C. Oil, Inc. -

B)J%% By=

/ l an %igdton, President

    

an Creighton, President

 
 
 

 

 

an~C_reighton Kimberly Creighton

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 158 of 168

EXHIBIT D

CaS€ 2:15-CV-.00396-.]D DOCUm€nl l Filed 01/28/15 Page 159 Of 168

sECOND AMENI)MENT rro AssET PURCHASE AGREEMENT
(2)

This Second Amendment To Asset Purchase Agreement (“Amendment”) is made
effective as of the 313t day of January, 2012 (“Effective Date”), by and among SYCAMORB
ENERGY, LLC, a Pennsylvania limited liability company with its principal place of business at
630 Slcippacl< Pil<e, Blue Bell, PA 19422 or its designee, ("Buyer"), and KC OIL, INC.,
GREENWOOD ENTERPRISES INC., BUCKS COUNTY PETROLEUM LLC, TRENTON
PETROLEUM lNC., CREIGHTON PAMILY PROPBRTIES, LLC and JAN & KIMBERLY
CREIGHTON, with their principal place of business at l Union Street, Suite 208, Robbinsville,
Nl 08691 (individually and collectively the “Seller” or “Sellers”), all of Whorn hereby agree as
follows:

WITNESSETH:

WHEREAS, the parties entered into an Asset Purchase Agreement dated as of
November 14, 2011, (“Asset Purchase Agreement”) for Purchaser’s purchase of a heating oil
company and the two (2) properties described in Exhibit A to the Agreement (the “Properties”);
and

WHEREAS, the parties have amended the Asset Purchase Agreement by a First
Amendment to Asset Purchase Agreement dated as of December 22, 2011 (“Amendment”); and

WHEREAS, the parties now wish to further amend the Agreement as amended by the
Amendment to make certain changes and additions as set forth in this Second Amendment to
Asset Purchase Agreement (the Asset‘Purchase Agreement, as amended by the Amendment and

this Second Amendment, hereinafter referred to as the “Agreement”).

 

Case 2:15-Cv-00396-.]D Document 1 Filed 01/28/15 Page 160 of 168

NOW, THEREFORE, in consideration of the mutual promises, terms and conditions set

forth herein and intending to be legally bound hereby, the parties agree as follows:

l. New Terms. Thc parties agree to the following additional terms and
conditions:

l.l Vehicle and Equiprnent Loans. The parties have determined that
several of the vehicles and items of equipment to be` transferred from Seller to
Buyer are encumbered by Loans, and the parties have agreed to the following
terms and conditions:

1.1.l The loan from ALLY in the amount of $24,609.27 will be paid off
by Seller; Seller will deliver clear title to the vehicles encumbered by the loan;
and Buyer will give Seller a Prornissory Note in said amount to be paid by Seller
in accordance with the terms set forth in the Promissory Note, whose payment
tenn shall not exceed the remaining tenn of the ALLY foan.

l.1.2 The loan from KIA Motors in the amount of 36028. 12 will be paid
off by Seller; Seller will deliver clear title to the vehicles encumbered by the loan;
and Buyer will give Seller a Promissory Note in said amount to be paid by Seller
in accordance With the terms set forth in the Promissory Note, whose payment
term shall not exceed the remaining term of the KIA Motors Loan.

' 1.1.3 Thc loan from PNC, whose payoff was $63,592.12 as of January
20, 2012 plus a per diem of $7.90, shall be paid off in full by Seller; Seller will
deliver clear title to equipment encumbered by the loan; Buyer and Seller have

agreed that Buyer will accept responsibility for half of the final payoff as of
2

 

Case 2:15-ov-00396-.]D Document 1 Filed 01/28/15 Page 161 of 168

January 30, 2012, i.e. $32.339.64, and Buyer will give Seller a Prornissory Note
for $32,339.64 to be paid by Seller in accordance with the terms set forth in the
Promissory Note, whose term shall not exceed the remaining term of the PNC
Loan.

1.2 Sct-»Off. Thc parties have agreed that, because there is no cash

. proceeds from this transaction and the parties are not able to place Three Hundred
Thousand Four Hundred Dollars ($3 00,400) of the Purchase Price in escrow, as
recommended by the New Jersey Departrnent of Revenue, Bull<s Sales Section,
Buyer shall have a right of set-off against the One Million Dollar ($1,000,000)
Note to reimburse Buyer for its losses due to (a) liabilities of Seller arising from
Seller’s failure to pay New Jersey taxes, including interest, penalties, and (b)
expenses incurred by Buyer in defending claims made against Seller by the State
ofNew Jersey arising irom Seller’ s failure to pay such taxes; provided, such right
of set-oH` shall terminate upon Buyer’s receipt of a Tax Clearance Certiticate from
the State of New Jersey for each of the corporate Sellers..

1.3 Inventory; Operations. The Buyer has agreed to pay for the
inventory in the heating oil delivery trucks and the calculation of the amount
owed by Buyer to Seller for the Inventory will be made in two steps, i.e., (l)
representatives of Buyer and Seller shall take inventory in these trucks as of
Midnight before the Closing scheduled for Tuesday, January 31, 2012; and (2) the
amount to be paid by Buyer for such lnventory at the Closing shall be calculated
by matching the lnventory against the last load delivered price. All sales shall be

for Buyer’s account starting at 12:01 a.m. on Tuesday, January 31, 2012.
' 3

 

Case 2:15-ov-00396-.]D Document 1 Filed 01/28/15 Page 162 of 168

1.4 Account Receivables. Seller and Buyer have agreed that Buyer
will purchase Seller’s current accounts receivable, i.e., receivables that are due no
more than sixty (60) days from their billing date, for the face value of such
accounts; provided that (a) Seller furnishes Buyer with accurate written records of
the amounts owed and by whom no later than the Closing; and (b)- payment shall
be made by Buyer to Seller for such current accounts receivable promptly
following Buyer’s receipt of such payments Seller shall retain the right and
responsibility to collect all accounts receivable due more than sixty (60) days.. All
amounts received by Buyer shall be applied first to receivables for which Buyer
has agreed to pay Seller as provided herein.

1.5 Sales. The Seller represents and warrants that the heating oil sales
volumes depicted in the Bxhibit A to this Second Amendment are true and
complete l

1.6 Supply Relationship. Seller has agreed, for a forty five (45) day "
period ending March 16, 2012, to maintain Seller’s supply contracts and
relationships with existing fuel suppliers, including any and all guaranties in place
to secure such purchases, to afford Buyer time `to establish its own independent
contractual and credit relationships with these fuel suppliers ; provided, during this
forty five day period (a) Seller shall purchase fuel where and when instructed by
Buyer for pickup by Buyer; Buyer will take delivery of the purchased fuel; Buyer
will pay Seller for such fuel within seven (7) days of each piclcup;»and (b) Buyer

will secure a Letter of Credit for the benefit of l an Creighton and _Seller in the

 

Case 2:15-ov-00396-.]D Document 1 Filed 01/28/15 Page 163 of 168

amount of Five Hundred Thousand Dollars ($ 5 00,000)l for a term of sixty (60)
days.

1.7 Seller will pay off the outstanding balance owed on a loan incurred
for Seller’s purchase of a Skid Loader and will arrange for the lender’s prompt

removal of the lien filed against the Skid Loader to secure such loan.

2. Terms & Conditions. lt is expressly understood and agreed that the remaining
terms and conditions set forth in the Agreement, as amended by the First Amendment,
shall be and remain in full force and effect in all respects

3. Execution. This Amendment may be executed in several counterparts, each of
which shall be deemed an original,’ and as executedshall constitute a single Amendment
binding-on all parties hereto, notwithstanding that all the parties are not signatory to the
same counterpart However this document shall not be binding on or constitute evidence
of a contract between the parties until such time as a counterpart of this document has

been executed by each and every party.

IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be

 

 

 

 

 

 

 

 

executed by their duly authorized signatories as of the date first above written. ,_`
\c ¢;, 5 \\ Cs.ae M$~’scb_m§\\ene ee‘<:<l\lr\) \_\- L
)
:a%://»a ¢% By: MM %)¢@h
/
Print Namc: T/M/ gay ;/%/f/ Print Name:
rise %¢d rise
V
Date: /" 3 // / 9_ Date: \ F`_S\ H\B'

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 164 of 168

GREENWOOD ENTERPRISES INC.

By: §,Z/ :%/Z

~..,./"
Print Name: ,//,¢>1/c f n».-’»/;»1//{//
Title: ,»7’(~)-
Date: // j / '/ 01

TRENTON PETROLEUM, INC.

 

f
Print Name: ,//M/ H/AZ

Title: gaf

(/’

Date: /'/`¢7/’/9-

JAN CREIGHTON

 

Date: /f Z/ f /?‘

BUCKS COUNTY PETROLEUM LLC
By: //L

' 2
Print Name: //:";V ,/»d/z‘//@`
Title: %U
C./
Date: / ’ j/’ /JL

CREIGHTON FAMILY PROPER'I`IES,
LLC

By: %%/;%%

____,,.
Print Name: \/W ,é/.¢./'//;_h

Titie: %C)
y

Date: -/' j/”/\=l-

KIMBERLY CREIGHTON

 

Date: l _3]"¢>§6(:55/ n

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 165 of 168

aims n \\ ss isin \\Wsi_\

 

ill/2008 TO 12/31/2008

 

 

 

 

 

 

 

 

 

 

 

F TERMINAL | PRooocT | cALLonsJ |_PRooocT | ToTALs |
consoMERs #2 HEAT 365,103 #2 'HEAT 1,034,4_12
oucr< rst/inn #z HEAT 251,227- otso 1_,104,145
oocr<tsr_Ano oLsc 396,673 o\_so DYED 12,710
oocK rsLAno oLso oven 1‘2,7:10 oLso PREM. 135,955
oocK rsl_Ano otso PREM 135,955 \<-1 r<ERo so,ozc
sPRAcoE #2 HEAT 418,077_ .oYEo Kan 20_,003=
sPRAcoE . oLsn 269,26;_ -
coo= oLso 32,006 2,337,245
HEss oLso 43,512 -
HEss K~i l<ERo t 30,02_0
HEss DYED KERo_ 20,003
conoco oLso zas,sss
sonoco ol_so 23,004
1/1/'2009 To 12/31/2009 .
l TERMtnAL l PRooocT | cALLons._| . i_PRoouc'r | 'ToTALs | _
consonERs #2 HEAT 385,784 #2 HEAT - l 93_1;;1,43
oocr<rsL-Ano #2 HEAT 338,020\ ' o-Lso ' 2,0_18,929
oocz<rsLAno utso 287,741 oLso PREM .zs,_s'/s
DocK tsLAno oLso PREM -5_7,91_4‘ oLso o\rEo . .-10,492 _
oocK rst/inn oLso oon 6,974 K-i KERO 40,365
conoco oter 534,121 DYED KERo ~'6,359
sPRAcoE #2 HEAT 257,344‘ ‘_ _` . 1
'sPRAcoE oLso 466,209 3,133,959
' sPRAGoE ULSD PREM 18,762 -
sPaAcuE oLso oYEo 3,518
conoco ol_so 557,545
brass otso 's,soa
sonoco oLso 63,009
coo= oLso 101,301
HEss K-i KERo 40,3-65‘ h
HEss oYEo KERo 6,359
111/2010 To 12/31;2010 . _ l
| TERMINAL 1 Paooocr .| cartons | ' | PRooocT l TorrALs |
consonERs #2 HEAT ' 332,3_83 #_2 HEAT 34.2,692
oocr<rsr_.anc #2 HEAT 323,'347 oLso 1,310,451
oocr_<tsmno ur_so 452,637 otso PREM 6500'
oocK rsLAno .oLso PREM. s_soo oLso DYED ~ ‘2_5,223
oocK rsLAnD 'oLso DYED 13'603 K-r KERo 29,343
sPRAcoE #2 HEAT 136,9'62‘ DYED Ksao 11,6.20- -
sP_RAcoE otso 252,oss »- --
conoco otst> 274,318 . 2,226~,32_9-
conEcTrv oLSo 2_5,500 - -
GULF oLso 118,859
MoTI\/A oLso 2,500-
HEss oLsD 2,502.
PETRocoM oL_so 126§350
sess K-i KERo 28,-443 -~
sonoco K-i'KERo 1,400' ' /><
HEss oon KERo 11,620 _' "' . .
vALERo ol_so 5,000'

 

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/151 Page 166 of 168

SUNOCO ULSD 50,697

111/2011 To 12/31/2011

 

 

l TERMINAL l PRooocT | GALLon`sj FPRooocT l ToTALs_'j

 

 

DocK rsLAno #2 HEAT 228,731 #2 HEAT ~ 709,574
oocr< rsLAno otso. 461,994 oLso 1,260,255
DUCK IS'LAno ol_so DYED 24,402 oLsD P'REM

consunERs #2 H:‘E`AT 245,7`78 oLso D'YED 31,729
sPRAGoE_ #2 HEAT 235,065 l<-i KE'RO 33,709
sP_R_AG`oE .oLso ' 209,865 DYED KERO 9,222
sPRAGoE oLso oYEo 7,001

conoco oLsD 139,176 2,044,439
PETRocoM oLso` 294,03,4

PETRocoM oLso _DYED 326

HEss oLsD 17,001

ness 1<-1 KERo` 14,036

HEss oYEo KERO 1,000

sonoco K-l _KERo 19,673

sonoco D‘{ED KERO 3,222

sonoco oLsD 24,052

GULF oLso 114,133

 

Case 2:15-cv-00396-.]D Document 1 Filed 01/28/15 Page 167 of 168

EXHIBIT E

Case 2:15-cv-00396-.]D Documentl Filed 01/28/15 Page 168 of 168 -

SELLER’S CERTIFICATE

Pursuant to the terms of Section 7.1 of those that certain Asset Purchase
Agreement entered into among BUCKS COUNTY PETROLEUM LLC,
CREIGHTON PROPERTIES FAMILY LIMITED PARTNERSHIP, TRENTON
PETROLEUM, INC. GREENWOOD ENTERPRISES, INC., _K. C. OIL, INC.
JAN CRBIGI-ITON, KIMBERLY CREIGHTON with their principal place of
business at 1 Unicn .Street, Suite 208, Robbinsville, NJ 08691, ("Seller"), and
SYCAMORE ENERGY-K.C. OIL., LLC, a Pennsylvania limited liability
company With its principal place of business at 630 Skippacl< Pike, Blue Bell, PA
19422, (“Buyer”) dated as of November 14, 2011,' as amended by the First
Amendment to Asset Purchase Agreement dated December 22, 2011 and the
Second Amendment to Asset Purchase Agreement dated January 30 2012 (the
“Agreement”), the Seller hereby certifies that::

(a) Thc representations and Warranties made by Seller in the
Agreement are true in all material respects When made and on and as of the date

hereof; and

` (b)' Thc Seller has performed and complied in all material ,
respects with all provisions of the Agreement required to be performed or
complied with by Seller before or at Closing.

 

 

Executed this day of Ianuary, 2012
Bucks County Petroleum LLC Creighton Properties 13 amin Limited
Partnership
B%,// d/7A d B '%7;,#
J an &r?'.-,i§hton, President 1 %n Crei‘gphton, General Partner
Greenwcod Enterprises, Inc K. C. Oil, Inc.

By IZJ/ B

/Fan Creighton, President

%`
an C ighton

 

`\_[L\

 

 

